Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 1 of 141. PageID #: 165907




                               EXHIBIT 290
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 2 of 141. PageID #: 165908

              HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


_______________________________________
                                               )
IN RE NATIONAL PRESCRIPTION OPIATE )
LITIGATION                                     )
                                               )
This document relates to:                      )
                                               ) MDL No. 2804
The County of Summit, Ohio, et al. v. Purdue )
Pharma L.P., et al., Case No. 18-op-45090      ) Hon. Dan Aaron Polster
                                               )
The County of Cuyahoga, Ohio, et al. v. Purdue )
Pharma L.P., et al., Case No. 17-op-45004      )
                                               )
                                               )
                                               )



                               Expert Report of Carlos Aquino

                                         June 6, 2019
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 3 of 141. PageID #: 165909




                                                             Contents

I.     Introduction......................................................................................................................... 1

II.    Qualifications...................................................................................................................... 1

III.   Scope and Summary of Opinions ....................................................................................... 4

IV.    Materials Considered .......................................................................................................... 6

V.     Regulatory Landscape......................................................................................................... 7

       A.         Controlled Substances Act...................................................................................... 7

       B.         Regulations Issued under the CSA ....................................................................... 11

       C.         The Requirements Not Imposed by the CSA and the Regulations ....................... 24

       D.         DEA Audits Registrants to Assess Their Regulatory Compliance....................... 31

       E.         The Ensuring Patient Access and Effective Drug Enforcement Act of 2016
                  Did Not Weaken DEA’s Enforcement Capabilities.............................................. 34

VI.    What is Diversion?............................................................................................................ 37

       A.         Definition of Diversion ......................................................................................... 37

       B.         Primary Causes of Diversion ................................................................................ 38

       C.         The Vast Majority of Orders Meeting the Regulatory Definition of
                  “Suspicious Orders” Are Legitimate and Not Likely to be Diverted ................... 42

VII.   McKesson’s Section 55 Suspicious Order Monitoring Program Complied with the
       CSA and Regulations........................................................................................................ 44

       A.         Overview of McKesson’s Section 55 Program..................................................... 44

       B.         McKesson’s Daily and Monthly DU-45 Reports Satisfied the CSA and
                  Regulatory Requirements...................................................................................... 47

       C.         DEA Approved of Distributors Submitting Suspicious Order Reports to
                  DEA After Shipping the Order ............................................................................. 50

       D.         McKesson’s Section 55 Program Complied with the CSA and Regulations ....... 52

       E.         McKesson’s Section 55 Program Followed Models of Industry and DEA
                  Approved of Industry Practice .............................................................................. 53
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 4 of 141. PageID #: 165910




VIII.   Diversion Trends and Changing Technology ................................................................... 59

        A.       Rise of Rogue Internet Pharmacies....................................................................... 60

        B.       Rise of Pill Mills ................................................................................................... 61

        C.       Improvements in Technology Used for Anti-Diversion Efforts ........................... 61

        D.       The CSA and Its Regulations Have Not Changed ................................................ 62

IX.     DEA Only Offered Informal Guidance in Response to Changing Diversion Trends
        and Advancements in Technology.................................................................................... 63

        A.       DEA’s Distributor Initiative ................................................................................. 63

        B.       DEA’s New Guidance: Transitioning from Excessive Purchase Reporting
                 to Suspicious Order Monitoring............................................................................ 67

        C.       DEA’s New Guidance During the Distributor Initiative Resulted in
                 Confusion Within the Industry.............................................................................. 80

X.      McKesson’s Suspicious Order Monitoring Program Changed in Response to
        Evolving Diversion Trends and Changing DEA Guidance .............................................. 85

        A.       McKesson’s LDMP Program................................................................................ 85

        B.       McKesson’s 2008 Controlled Substance Monitoring Program ............................ 89

        C.       McKesson’s Enhanced Controlled Substance Monitoring Program from
                 2013 to Present...................................................................................................... 95

XI.     McKesson Settlement Agreements ................................................................................... 98

        A.       2008 Settlement Agreement.................................................................................. 99

        B.       2017 Settlement Agreement................................................................................ 100

XII.    DEA Rarely Relied On or Used Suspicious Order Reports............................................ 102

        A.       DEA Rarely Used Suspicious Order Reports ..................................................... 102

        B.       Submission of Additional Suspicious Order Reports by Distributors
                 Would Not Likely Have Helped Combat Diversion........................................... 104

        C.       ARCOS Provided DEA Extensive Information.................................................. 105

XIII.   Distributors Do Not Possess DEA’s Law Enforcement Powers..................................... 111

        A.       Distributors Have Limited Information .............................................................. 111

                                                                 ii
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 5 of 141. PageID #: 165911




        B.       Distributors Do Not Possess Law Enforcement Powers..................................... 113

        C.       Distributors Cannot Police the Closed System of Distribution .......................... 114

XIV. Response to the Expert Report of James Rafalski .......................................................... 118

        A.       Mr. Rafalski’s Assumption That McKesson Did Not Conduct Due
                 Diligence Is Incorrect.......................................................................................... 118

        B.       Mr. Rafalski’s Assumption That Recent Policy Interpretations Were
                 Always in Place Is Incorrect ............................................................................... 120

        C.       The Five Methodologies That Found Over 90% of Orders Shipped into
                 Cuyahoga and Summit Counties Are Suspicious Contradicts Reality ............... 120

        D.       Any Lack of Suspicious Order Reports Does Not Contribute to Diversion ....... 121

XV.     Response to the Expert Reports of Seth Whitelaw ......................................................... 123

        A.       DEA Does Not Use or Rely on the Federal Sentencing Guidelines When
                 Evaluating Suspicious Order Monitoring Programs ........................................... 123




                                                               iii
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 6 of 141. PageID #: 165912




I.     Introduction

       1.      My name is Carlos Aquino. From 1997 through 2009, I worked as a Diversion

Investigator and as a Diversion Group Supervisor in DEA’s Philadelphia Field Division. I am

the founder of PharmaDiversion LLC, a compliance consulting firm specializing in federal laws

and regulations relating to the manufacture and distribution of pharmaceutical Schedule II-V

controlled substances and regulated chemical products.

       2.      This report contains my opinions on issues relating to the distribution of

pharmaceutical controlled substances and diversion of controlled substances from legitimate

sources, including, among other things, DEA’s efforts to combat such diversion, and the scope of

distributors’ duties under applicable federal laws and regulations to maintain effective controls

against such diversion. In addition, I have been asked to review and respond to certain opinions

expressed by James Rafalski and Seth Whitelaw. My opinions are based on my knowledge,

skill, experience, education, and training, as well as my investigation and study of relevant

materials. I reserve the right to supplement my opinions based on additional evidence or

information that is made available to me after the date of this report.

       3.      I am being compensated $245 per hour for my time spent working on issues in

this case. I am also being reimbursed for any reasonable and customary expenses associated

with my work and testimony. My compensation does not depend on the outcome of this matter

or the opinions that I express.

II.    Qualifications

       4.      My background, qualifications, and experience relevant to the issues in this case

are summarized below. A copy of my curriculum vitae is attached as Appendix A to this report.

       5.      I worked for the Philadelphia Police Department for 24 years from March 1971

through January 1995. I began my career as a police officer, and I was later promoted to the
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 7 of 141. PageID #: 165913




rank of sergeant. While working for the Department, I earned a Bachelor of Arts degree in

Criminal Justice from Temple University in May 1981. From 1985 through 1995, I was assigned

to the Philadelphia DEA Task Force. In this role, I supervised and performed undercover

investigations into illicit drug activities, including the illicit distribution of pharmaceutical

controlled substances.

        6.      I began working full-time at DEA in January 1995, immediately after I retired

from the Philadelphia Police Department. I was assigned to the Philadelphia DEA Division

Asset Forfeiture Unit as a Legal Technician to handle assets seized from the subjects of federal

DEA investigations. These assets, which included cars, boats, and other high value items, were

proceeds obtained from illicit drug activities.

        7.      In July 1997, I became a Diversion Investigator in DEA’s Philadelphia Field

Office. I attended Basic Diversion Investigator Training at the Xerox Training Center in

Lynchburg, Virginia. This program involved 12 weeks of intensive training on federal laws and

regulations pertaining to controlled substances and regulated chemicals, regulatory on-site

inspections, and administrative and civil investigations involving pharmaceutical controlled

substances.

        8.      As a Diversion Investigator, I worked to make sure that manufacturers,

distributors, pharmacies, and physicians followed federal laws and regulations. I participated in

unannounced inspections of regulated facilities, which focused on recordkeeping and physical

security of controlled substances or regulated chemicals. For example, during inspections of

distributor facilities, I would review records to ensure that distributors were verifying DEA

registrations and state licenses for pharmacy customers, and I would verify the security of vaults

and cages containing controlled substances or regulated chemicals.



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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 8 of 141. PageID #: 165914




       9.      In March 2004, I attended a DEA special operations training program covering

Internet pharmacy investigations. Not long after that, I became involved in Operation

Cyberchase, which was a year-long investigation into international Internet pharmaceutical

traffickers. Operation Cyberchase was an operation that is now public that targeted traffickers

who shipped Schedule II-V controlled substances directly to buyers without physicians

conducting medical examinations. These traffickers distributed drugs internationally using rogue

Internet pharmacies and used over 200 websites to illegally distribute controlled substances.

Eighteen federal agencies in the US along with state Attorneys General and various law

enforcement organizations from Australia, Canada, Costa Rica, and India took part in the

operation. The operation resulted in more than 23 indictments and 20 convictions. DEA’s

Philadelphia Field Office played a key role in breaking open this investigation.

       10.     After working as a DEA Diversion Investigator for eight years, I was promoted in

July 2005 to be a Diversion Group Supervisor in DEA’s Philadelphia Field Office. I supervised

a staff of eleven DEA employees, including diversion investigators, intelligence analysts, and

investigative assistants. In this role, I managed complex pharmaceutical investigations that

resulted in civil and criminal actions by federal, state, and local prosecutors. In May 2007, I

attended the Instructor Developmental Course at DEA’s Training Center in Quantico, Virginia.

During this three week course, I received guidance on how to provide effective training to

diversion investigators and special agents assigned to DEA’s Office of Diversion Control. I

retired from DEA in January 2009.

       11.     After retiring from DEA, I founded PharmaDiversion LLC, which is a compliance

consulting firm that specializes in federal laws and regulations that govern the manufacture and

distribution of Schedule II-V controlled substances.



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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 9 of 141. PageID #: 165915




        12.        My clients include manufacturers, distributors, importers/exporters,

hospitals/clinics, labs, researchers, pharmacies, and practitioners. I work to make sure that my

clients comply with federal laws and regulations, including the Controlled Substances Act and its

regulations. I also provide training programs designed to meet the needs of various DEA

registrants. With my work as an industry consultant, I maintain an understanding of DEA’s

policies, practices, and expectations regarding diversion control and regulation.

        13.        I am a member of a number of professional organizations, including the National

Association of Drug Diversion Investigators (“NADDI”). NADDI is the nation’s leading drug

diversion training organization and is the largest networking platform for professionals involved

in the field of pharmaceutical drug diversion. I am also a member of the National Association of

State Controlled Substances Authorities (“NASCSA”), which is an organization that identifies

and develops strategies to reduce the abuse, misuse and diversion of controlled substances. I

have listed in my curriculum vitae additional professional organizations with which I am or have

been affiliated.

III.    Scope and Summary of Opinions

        14.        Counsel for McKesson have asked me to share my opinions and provide expert

testimony on certain topics. I have provided a brief overview of the scope of my opinions in this

section. My complete and detailed opinions on these topics can be found in my report.

        15.        In my report, I provide an overview of the regulatory structure that governs the

distribution of controlled substances. I explain the requirements imposed on distributors by the

Controlled Substances Act, including the “maintenance of effective control against diversion of

particular controlled substances into other than legitimate medical, scientific, and industrial




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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 10 of 141. PageID #: 165916




 channels.” 1 I also discuss what requirements are not imposed on distributors under the CSA.

 My report then provides an overview of what is required by regulations issued under the CSA,

 and I walk through what is not required under the regulations.

          16.     Then, I describe McKesson’s Section 55 Suspicious Order Monitoring Program. I

 walk through the elements of McKesson’s Section 55 program and its submission of DU-45

 reports to DEA. I also explain how McKesson’s Section 55 program followed the generally-

 accepted models of industry and reflected guidance that distributors received from DEA.

          17.     My report then provides context for the changes to McKesson’s suspicious order

 monitoring program over the past 20 years. I describe the rise of rogue Internet pharmacies and

 pill mills, and explain how McKesson continually enhanced its programs to respond to these

 trends. I also explain how advances in technology over the last 20 years have been incorporated

 into McKesson’s suspicious order monitoring programs.

          18.     I also explain how DEA’s guidance to distributors shifted beginning with DEA’s

 Distributors Initiative Program, which focused on the rise of rogue Internet pharmacies, through

 the letters written by Joseph Rannazzisi and the presentation at the 2007 Pharmaceutical Industry

 Conference in Houston held by DEA. The report also explains how DEA’s guidance to

 distributors changed on the issue of whether distributors should “block” or not ship an order that

 meets the definition of a suspicious order.

          19.     My report then walks through how McKesson’s suspicious order monitoring

 programs adapted in response to diversion trends and changing DEA guidance. I provide an

 overview of McKesson’s Lifestyle Drug Monitoring Program, the 2008 Controlled Substance

 Monitoring Program, and the enhancements to McKesson’s Controlled Substance Monitoring


 1
     21 U.S.C. § 823(b).

                                                  5
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 11 of 141. PageID #: 165917




 Program. I also offer my opinions on McKesson’s 2008 and 2017 Settlement Agreements. I

 also explain that lack of submission of suspicious order reports by McKesson did not contribute

 to diversion because, in my experience, DEA rarely relies on suspicious order reports and

 because DEA possessed extensive information through its ARCOS database.

        20.     My report next explains that distributors, unlike DEA, are unable to police the

 closed system of distribution. I explain that distributors lack DEA’s law enforcement powers

 and distributors do not possess the same information as DEA, such as information regarding the

 doctor-patient relationship.

        21.     I conclude my report by offering my response to certain opinions offered by

 Plaintiffs’ witnesses James Rafalski and Seth Whitelaw.

 IV.    Materials Considered

        22.     My opinions are based upon my review of documents in this case, as well as upon

 my knowledge, skills, training, experience, and education as a police officer, DEA Diversion

 Investigator, DEA Diversion Group Supervisor, and consultant for over 40 years. A list of the

 materials that I considered in forming my opinions is attached as Appendix B.

        23.     After the submission of my expert report, I may amend my opinions based upon

 additional information that is made available to me in the future. I also reserve the right to: (1)

 rely on supplemental materials that are produced during this litigation; (2) respond to any report

 filed by Plaintiffs’ expert(s) relating to the issues I have discussed in this report and any expert

 reports that I have not reviewed, (3) submit a supplemental expert report based on further

 analysis of additional evidence or information, and (4) make additions, deletions, or

 modifications in the future that would be reflected in my trial testimony.




                                                   6
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 12 of 141. PageID #: 165918




 V.        Regulatory Landscape

           A.     Controlled Substances Act

           24.    I am looking to the Controlled Substances Act, which is commonly referred to as

 the “CSA,” and the regulations issued under the CSA to explain the regulatory responsibilities of

 distributors. 2 Relevant requirements of the CSA and its regulations have stayed essentially the

 same since the 1970s. 3 Even though the CSA and the corresponding regulations have remained

 unchanged, diversion trends have continually changed over the last 40 years.

           25.    DEA is the federal agency responsible for enforcing the CSA, 4 and DEA controls

 the closed system for drug distribution in the US. 5 As Joseph Rannazzisi testified to Congress,


 2
     21 U.S.C. § 801 et seq.; 21 C.F.R. § 1301.01 et seq.
 3
   Joseph Rannazzisi (“Rannazzisi”) Tr. (Apr. 26, 2019) at 68:1-11 (“Q. The way distributors
 report suspicious orders to the DEA has changed in the last 40 years-plus since 1971; isn’t that
 correct? . . . THE WITNESS: I would say that the regulation hasn’t changed.”); Thomas
 Prevoznik (“Prevoznik”) Tr. (Apr. 17, 2019) at 90:10-13 (“Q. And have either [21 U.S.C. § 823]
 or [21 C.F.R. § 1301.74] been amended or altered since 1971 to your knowledge? A. No, they
 have not.”); Prevoznik Tr. (Apr. 18, 2019) at 661:15-18 (“Q. And has [21 C.F.R. § 1301.74]
 materially changed since it was originally enacted in 1971? A. No.”); Prevoznik Tr. (May 17,
 2019) at 820:2-5 (“Q. And is [21 C.F.R. § 1301.74(b)] the same in all meaningful ways to what
 it looked like when it was enacted in 1971? A. Yes.”); Demetra Ashley (“Ashley”) Tr. at 28:7-
 12 (“Q. To your knowledge, has [§ 1301.74(b)] ever changed since it was promulgated in 1971?
 … A. I don’t think so.”).
 4
   Pursuant to 21 U.S.C. § 871(a), the Attorney General has delegated administration and
 enforcement of the CSA to the Administrator of DEA. Rannazzisi Tr. (Apr. 26, 2019) at 49:24-
 50:1 (“Q. It’s true that DEA controls the closed system of drug distribution, right? A. Yes.”);
 Kyle Wright (“Wright”) Tr. (Mar. 4, 2019) at 297:6-14 (“[A.] I’ll try to say it in a nutshell: to
 maintain, oversee and protect the closed system of distribution at all levels. … Q. Was that the
 role of the Drug Enforcement Agency [sic], as you understood it in your experience? A. Yes,
 sir.”); Rannazzisi Tr. (Apr. 26, 2019) at 58:21-59:3 (“The regulation change would be under the
 authority of the administrator of the Drug Enforcement Administration and Department of
 Justice. … [T]he final decision [to change a CSA regulation] is [up to] the Department of Justice
 and the Drug Enforcement Administration leadership.”).
 5
   James Rafalski (“Rafalski”) Tr. (May 13, 2019) at 346:4-13 (“Q. But you agree that DEA is
 the agency in the federal government that has authority and responsibility for the controlled
 system of drug distribution in this country, correct? A. In -- yes, sir. In regards to the regulation,

                                                   7
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 13 of 141. PageID #: 165919




 DEA “register[s] all persons who handle them [i.e., Schedule II substances]; we inspect the

 documentation of their distribution; we control their import and export; and we control the

 amount produced, bought, sold, and otherwise transferred.” 6 The controls in the CSA “allow

 DEA to monitor and regulate a controlled substance and its movement.” 7

        26.     The CSA, which was signed into law in 1970, is the federal law that controls the

 import, manufacture, distribution, and possession of controlled substances. The CSA created a

 “closed loop system” of distribution of controlled substances. As part of the closed loop system

 of distribution, every manufacturer, distributor, pharmacy, and prescriber in the supply chain that

 handles controlled substances must be registered with DEA. 8 DEA must approve the

 applications for controlled substance registrations before these entities and individuals are

 permitted to handle controlled substances. 9 And, because DEA approves the registrations for

 handling controlled substances, other registrants are permitted to rely on DEA’s approval of the




 they’re delegated that by the Attorney General, by Congress to the Attorney General, so I agree
 with that statement, yes, sir.”).
 6
  Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 68, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 7
  Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 68, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 8
   21 U.S.C. § 822(a); Rafalski Tr. (May 13, 2019) at 383:12-17 (“Q. Now, it’s true that each
 pharmacy, distributor and manufacturer must register with the DEA in order to lawfully handle
 controlled substances in the closed system of distribution, correct? A. Yes, sir.”); Rannazzisi Tr.
 (Apr. 26, 2019) at 51:2-8 (“Q. It’s true the DEA registers all manufacturers, distributors,
 pharmacies and doctors that handle Schedule II controlled substances? A. That’s true. If -- if
 their registration allows them to handle Schedule IIs, yes.”).
 9
   Rannazzisi Tr. (Apr. 26, 2019) at 52:10-53:2 (“Q. When deciding to grant registration to a
 manufacturer, distributor, pharmacy or doctor, the DEA inspects documentation from each of
 these potential registrants, correct? … THE WITNESS: Yes. … Q. And all of the materials that
 each of these potential registrants submits with their application, correct? A. Yes.”).


                                                  8
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 14 of 141. PageID #: 165920




 registration when complying with their obligations. 10 DEA also controls the amount of Schedule

 II controlled substances entering the closed loop system of distribution by setting annual quotas

 for the particular controlled substances. 11

          27.    The CSA establishes five schedules of controlled substances, which are labeled

 Schedule I, Schedule II, Schedule III, Schedule IV, and Schedule V controlled substances. 12 The

 determination of what schedule a substance is assigned is based on various factors, including

 whether the substance has a currently accepted medical use in treatment in the United States, the

 substance’s relative abuse potential, and the likelihood the substance may cause dependence

 when abused. 13 Common prescription opioids, including those containing fentanyl and

 oxycodone, are typically classified under Schedule II. Hydrocodone combination products are




 10
    Rafalski Tr. (May 13, 2019) at 386:5-25 (“Q. My apologies for that. It’s true that distributors
 are to rely on active DEA registrations when complying with 1301.74(a)? A. Yes, sir. They are
 required by regulation to make a good-faith effort to confirm that the person that they’re going to
 distribute drugs to has a valid DEA registration.”); 21 C.F.R. § 1301.74(a) (“Before distributing
 a controlled substance to any person who the registrant does not know to be registered to possess
 the controlled substance, the registrant shall make a good faith inquiry either with the
 Administration or with the appropriate State controlled substances registration agency, if any, to
 determine that the person is registered to possess the controlled substance.”); Diversion
 Investigators Manual, 04/16/1996 (CAH_MDL2804_02203353 at -3356) (“DEA field offices
 will provide the supplier with the related registration information (i.e., whether the customer is
 currently registered with DEA) needed to assist the supplier in making an independent decision
 on whether to ship controlled substances.”).
 11
   21 C.F.R. § 1303.11; Stacy Harper-Avilla (“Harper-Avilla”) Tr. (Apr. 11, 2019) at 43:6-10
 (“Q. DEA sets aggregate production quotas for each individual class of controlled substances; is
 that fair? A. DEA sets quota for each class of Schedule I or Schedule II controlled substance.”);
 Rannazzisi Tr. (Apr. 26, 2019) at 30:12-15 (“Q. DEA established quotas for controlled
 substances for each year, didn’t they? A. Yes, sir.”).
 12
      DEA, Drug Scheduling, available at https://www.dea.gov/drug-scheduling.
 13
    DEA, Controlled Substances Schedules, available at
 https://www.deadiversion.usdoj.gov/schedules/.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 15 of 141. PageID #: 165921




 now listed under as a Schedule II narcotic, but hydrocodone combination products were listed

 under Schedule III until 2014. 14

                  1.        “Controlled Substance” Definition from 21 U.S.C. § 802(6)

           28.    The CSA provides definitions for certain terms that are used in the statute. A

 “controlled substance” is defined by the CSA as “a drug or other substance, or immediate

 precursor, included in schedule I, II, III, IV, or V of part B of this subchapter. The term does not

 include distilled spirits, wine, malt beverages, or tobacco, as those terms are defined or used in

 subtitle E of the Internal Revenue Code of 1986.” 15

                  2.        Requirements for Distributors under 21 U.S.C. § 823(b) and (e)

           29.    Section 823 states that the Attorney General shall register an applicant to

 distribute controlled substances, unless she determines that the issuance of such registration is

 inconsistent with the public interest based on various factors, including “maintenance of

 effective control against diversion of particular controlled substances into other than legitimate

 medical, scientific, and industrial channels.” 16 As described below, the reference in Section 823

 to evaluating whether a prospective distributor is maintaining “effective controls against

 diversion of particular controlled substances” was historically understood to refer to a

 distributor’s compliance with the detailed physical security of controlled substances and

 recordkeeping requirements for controlled substances.




 14
   Schedules of Controlled Substances: Rescheduling of Hydrocodone Combination Products
 From Schedule III to Schedule II, 79 Fed. Reg. 49,661, 49,682 (Aug. 22, 2014).
 15
      21 U.S.C. § 802(6).
 16
      21 U.S.C. § 823(b).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 16 of 141. PageID #: 165922




                  3.        Record Retention Requirements under 21 U.S.C. § 827

           30.    Section 827(a) requires that registrants must make a complete inventory of all

 relevant controlled substance stocks on hand when (1) the registrant first becomes licensed, (2)

 the Attorney General classifies as controlled a substance that was not previously considered

 controlled, and (3) every second year after that. 17 Registrants are required to keep and maintain

 biennial inventory or other inventory records required under the statute for “at least two years.” 18

 This retention requirement applies only to inventory records.

           B.     Regulations Issued under the CSA

                  1.        Regulatory Definitions under 21 C.F.R. § 1300.01

           31.    The regulations issued under the CSA provide definitions of various entities

 within the closed system of distribution, including definitions for “dispenser,” “manufacturer”

 and “pharmacist.” 19 The regulations do not include definitions for “distributor” or “prescriber.”

           32.    According to 21 CFR § 1300.01, a “manufacturer” is “a person who manufactures

 a drug or other substance, whether under a registration as a manufacturer or under authority of

 registration as a researcher or chemical analyst.” 20

           33.    A “pharmacist” is “any pharmacist licensed by a State to dispense controlled

 substances, and shall include any other person (e.g., pharmacist intern) authorized by a State to

 dispense controlled substances under the supervision of a pharmacist licensed by such State.” 21




 17
      21 U.S.C. § 827(a).
 18
      21 U.S.C. § 827(b).
 19
      21 C.F.R. § 1300.01.
 20
      21 C.F.R. § 1300.01.
 21
      21 C.F.R. § 1300.01.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 17 of 141. PageID #: 165923




           34.    A “dispenser” is “an individual practitioner, institutional practitioner, pharmacy

 or pharmacist who dispenses a controlled substance.” 22

                  2.     Registration Requirements under 21 C.F.R. § 1301.11

           35.    Section 1301.11 requires entities that want to join the closed loop system of

 distribution to register with DEA. The regulation requires that “[e]very person who

 manufactures, distributes, dispenses, imports, or exports any controlled substance or who

 proposes to engage in the manufacture, distribution, dispensing, importation or exportation of

 any controlled substance shall obtain a registration unless exempted by law or pursuant to §§

 1301.22 through 1301.26.” 23

           36.    Prior to registration, DEA conducts an on-site preregistration inspection. 24 This

 inspection is usually only conducted for manufacturers, distributors, importers, exporters, and




 22
      21 C.F.R. § 1300.01.
 23
      21 C.F.R. § 1301.11(a).
 24
    Rafalski Tr. (May 13, 2019) at 383:22-384:7 (“Q. The DEA then conducts an on-site
 inspection of each applicant’s facilities, correct? A. They do not conduct on-site investigations
 of pharmacies, at least not in the Detroit division. Q. Your testimony here today is that they
 conduct on-site inspections of distributors? A. Yes, sir, and manufacturers prior to approval of a
 registration.”); Rafalski Tr. (May 14, 2019) at 640:14-22 (“Q. You mentioned pre-reg. Is that a
 preregistration inspection by the DEA? A. Yeah, I’m sorry, that’s kind of a term. Yes, sir,
 that’s going on-site and prior to issuing the DEA registration, making sure that you’re confident
 that the registrant is in compliance with the regulations and has an understanding before you
 issue the DEA registration.”); Diversion Investigators Manual, 9/20/2011 § 5012.5
 (CAH_MDL2804_00953317 at -3331) (“Preregistrant investigations reduce the possibility of
 registering unauthorized subjects, ensure that the means to prevent diversion are in place, and
 determine whether registration is consistent with the public interest. Preregistrant investigations
 must be conducted at the earliest possible time following receipt of the application by the
 Division.”).


                                                   12
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 18 of 141. PageID #: 165924




 analytical labs, and researchers. 25 An inspection is conducted for pharmacies only in some

 offices. 26

           37.    All registration applications must be submitted for filing to the Registration Unit

 at DEA. 27 The regulation provides that DEA may inspect, or cause to be inspected, the

 establishment of an applicant for registration or a registrant. 28 The regulation also provides that

 DEA will review the application for registration to determine whether the applicant has met the

 standards of the CSA. 29

                  3.     Security Requirements under 21 C.F.R. § 1301.71-1301.76

           38.    Sections 1301.71 through 1301.76 establish “security requirements” to guard

 against theft and diversion of controlled substances. These particular regulations focus on

 physical security controls and operating procedures. When members of DEA’s field offices



 25
    Diversion Investigators Manual, 6/11/2012 § 5221.3 (CAH_MDL2804_00953317) at -3446
 (“An on-site investigation is required for each applicant who proposes to manufacture,
 distribute, import, or export controlled substances in any schedule, or manufacture,
 distribute, import or export list I chemicals, or to treat for opiate addiction.” (emphasis
 added)); Rafalski Tr. (May 13, 2019) at 383:18-384:15 (“Q. Each pharmacy, distributor and
 manufacturer must submit an application to DEA? A. Yes, sir. Q. The DEA then conducts an
 on-site investigation of each applicant’s facilities, correct? Q. They do not conduct on-site
 investigations of pharmacies, at least not in the Detroit division. Q. Your testimony here today
 is that they conduct on-site investigations of distributors? A. Yes, sir, and manufacturers prior
 to approval of a registration. Q. Why doesn’t the DEA conduct on-site inspections of
 pharmacies? … A. On advice of my counsel, I’m not going to answer that question.”); Rafalski
 Tr. (May 13, 2019) at 386:5-15 (“Q. … You would agree that DEA conducts diligence, reviews
 applications, looks at the background of these applicants so that distributors can rely on the DEA
 registrations when complying with 1301.74(a)? … A. So if your question is in regards to
 pharmacies, they don’t conduct those types of investigations ….”).
 26
   Rafalski Tr. (May 13, 2019) at 383:22-384:2 (“Q. The DEA then conducts an on-site
 inspection of each applicant’s facilities, correct? A. They do not conduct on-site investigations
 of pharmacies, at least not in the Detroit division.”).
 27
      21 C.F.R. § 1301.14(a).
 28
      21 C.F.R. § 1301.31.
 29
      21 C.F.R. § 1301.31.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 19 of 141. PageID #: 165925




 conducted unannounced inspections of distribution centers, these security requirements were an

 important focus of the audit and inspection. 30 I will discuss §§ 1301.71, 1301.72, 1301.73,

 1301.75, and 1301.76, before turning back to § 1301.74.

                         a)      Security Requirements in Section 1301.71

           39.    Section 1301.71 outlines requirements to which registrants must adhere to

 maintain a registration. 31 Section 1301.71, titled “Security requirements generally” (the

 “Security Requirement”) states:

                  (a) All applicants and registrants shall provide effective controls
                  and procedures to guard against theft and diversion of controlled
                  substances. In order to determine whether a registrant has provided
                  effective controls against diversion, the Administrator shall use the
                  security requirements set forth in Secs. 1301.72-1301.76 as
                  standards for the physical security controls and operating
                  procedures necessary to prevent diversion…. 32

           In determining whether a registrant meets the “security requirement,” Section 1301.71(b)

 provides a standard of “substantial compliance,” not strict compliance, to the registrant:

                  (b) Substantial compliance with the standards set forth in Secs.
                  1301.72-1301.76 may be deemed sufficient by the Administrator
                  after evaluation of the overall security system and needs of the
                  applicant or registrant. In evaluating the overall security system of
                  a registrant or applicant, the Administrator may consider any of the




 30
    Diversion Investigators Manual, 5/18/1993 § 5012.1 (CAH_MDL_PRIORPROD_DEA07
 01176247-R) at -6263-R (“Cyclic investigations serve as a deterrent to diversion through the
 continuous evaluation of registrants’ recordkeeping procedures, security, and general adherence
 to the Controlled Substances Act.”); Diversion Investigators Manual, 9/20/2011 § 5012.1
 (CAH_MDL2804_00953317 at -3329).
 31
   Rannazzisi Tr. (May 15, 2019) at 411:10-15 (“So the Controlled Substances Act and the
 regulations specifically outline who is a registrant and what their requirements are to maintain a
 registration and all DEA registrants must maintain effective controls against diversion. That’s
 1301.71.”).
 32
      21 C.F.R. § 1301.71(a).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 20 of 141. PageID #: 165926




                  following factors as he may deem relevant to the need for strict
                  compliance with security requirements[.] 33

           40.    Section 1301.71(b) also outlines fifteen factors that DEA may consider in

 determining whether a registrant is in “substantial compliance” with the security requirements set

 forth in Sections 1301.72 through 1301.76. 34 The fifteen factors focus on procedures

 concerning the physical security of controlled substances. To determine substantial compliance,

 for example, DEA considers factors such as a building’s characteristics, the vault system, key

 control systems, alarm systems, public and employee access to and within the facility, and

 recordkeeping practices. 35

                          b)     Security Requirements in Section 1301.72

           Section 1301.72(a) provides non-practitioners with detailed physical storage

 requirements for Schedule I and II controlled substances in safes, steel cabinets, and vaults. I am

 familiar with these physical security requirements because they were a primary focus of DEA’s

 inspections of controlled substance distribution centers and remain so to this day. The

 regulations governing vaults constructed after September 1, 1971, illustrate the detailed and

 specific guidance provided in the law:



                  (i) The walls, floors, and ceilings of which vault are constructed of
                  at least 8 inches of reinforced concrete or other substantial
                  masonry, reinforced vertically and horizontally with \1/2\-inch
                  steel rods tied 6 inches on center, or the structural equivalent to
                  such reinforced walls, floors, and ceilings;

 33
   21 C.F.R. § 1301.71(b); Prevoznik Tr. (Apr. 17, 2019) at 396:9-18 (“Q. So [1301.74](b) states
 substantial compliance with the standards set forth, right? A. Yes. Q. Okay. And that could be
 deemed sufficient, correct? A. Yes. That’s what it says. Q. It does not say strict compliance,
 correct? A. Correct.”).
 34
      21 C.F.R. § 1301.71(b).
 35
      21 C.F.R. § 1301.71(b)(5)-(11), (14).

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 21 of 141. PageID #: 165927




                  (ii) The door and frame unit of which vault shall conform to the
                  following specifications or the equivalent: 30 man-minutes against
                  surreptitious entry, 10 man-minutes against forced entry, 20 man-
                  hours against lock manipulation, and 20 man-hours against
                  radiological techniques;

                  (iii) Which vault, if operations require it to remain open for
                  frequent access, is equipped with a “day-gate” which is self-
                  closing and self-locking, or the equivalent, for use during the hours
                  of operation in which the vault door is open;

                  (iv) The walls or perimeter of which vault are equipped with an
                  alarm, which upon unauthorized entry shall transmit a signal
                  directly to a central station protection company, or a local or State
                  police agency which has a legal duty to respond, or a 24-hour
                  control station operated by the registrant, or such other protection
                  as the Administrator may approve, and, if necessary, holdup
                  buttons at strategic points of entry to the perimeter area of the
                  vault;

                  (v) The door of which vault is equipped with contact switches; and

                  (vi) Which vault has one of the following: Complete electrical
                  lacing of the walls, floor and ceilings; sensitive ultrasonic
                  equipment within the vault; a sensitive sound accumulator system;
                  or such other device designed to detect illegal entry as may be
                  approved by the Administration. 36

                         c)        Security Requirements in Section 1301.73

           41.    Section 1301.73 is directed at manufacturers and compounders, and the regulation

 details security requirements for the storage and retention of in-process controlled substances. 37

 It describes requirements for the area or areas in which manufacturing activities with controlled

 substances shall be conducted. 38 For example, the area must only have “limited access,” and

 continuous surveillance of the area must be maintained. 39


 36
      21 C.F.R. § 1301.72(a)(3).
 37
      21 C.F.R. § 1301.73(a).
 38
      21 C.F.R. § 1301.73(b).
 39
      21 C.F.R. § 1301.73(b).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 22 of 141. PageID #: 165928




                          d)     Security Requirements in Section 1301.75

           42.    Section 1301.75 provides security requirements for practitioners, and the security

 requirements vary for controlled substances of different schedules. 40 For example, Schedule I

 controlled substances shall be stored in a “securely locked, substantially constructed cabinet.” 41

 Schedule II-V controlled substances, on the other hand, should also be stored in a securely

 locked, substantially constructed cabinet, but may, under some circumstances, be dispersed

 throughout a stock of noncontrolled substances so as to obstruct theft or diversion. 42

                          e)     Security Requirements in Section 1301.76

           43.    Section 1301.76 provides additional security controls for practitioners. 43 Under

 this section, registrants must not employ anyone with access to controlled substances who has

 been convicted of a felony offense related to controlled substances or had an application with the

 DEA denied, had a DEA registration revoked, or surrendered a DEA registration for cause. 44

 Registrants are also required to notify the relevant DEA Field Division Office of the theft or

 significant loss of any controlled substances within one business day of discovery of such theft

 or loss. 45 The section also requires that registrants acting as distributors comply with

 requirements applied to distributors, even if they are not registered as such. 46




 40
      21 C.F.R. § 1301.75(a), (b).
 41
      21 C.F.R. § 1301.75(a).
 42
      21 C.F.R. § 1301.75(b).
 43
      21 C.F.R. §1301.76.
 44
      21 C.F.R. § 1301.76(a).
 45
      21 C.F.R. § 1301.76(b).
 46
      21 C.F.R. §1301.76(c).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 23 of 141. PageID #: 165929




                          f)     Section 1301.74(a)’s “Good Faith Inquiry” Security
                                 Requirement

           44.    21 CFR § 1301.74 contains further security requirements for controlled

 substances. Section 1301.74 is titled “other security controls for non-practitioners.”

                          g)     Section 1301.74(a) requires only a “good faith inquiry” into a
                                 customer’s registration

           Section 1301.74(a) requires a registrant to conduct “a good faith inquiry” to determine if

 its customer is registered to handle controlled substances. 47 The good faith inquiry in Section

 1301.74(a) is the only diligence requirement in the CSA and its regulations. 48 Section

 1301.74(a) states:

                  Before distributing a controlled substance to any person who the
                  registrant does not know to be registered to possess the controlled
                  substance, the registrant shall make a good faith inquiry either with
                  the Administration or with the appropriate State controlled
                  substances registration agency, if any, to determine that the person
                  is required to possess the controlled substance. 49

           45.    A registrant satisfies § 1301.74(a) if it makes a good faith inquiry with DEA or

 with the appropriate state agency to make sure that the person or entity who will be receiving the




 47
      21 C.F.R. § 1301.74(a).
 48
    21 U.S.C. § 823; 21 C.F.R. § 1301.74; Rafalski Tr. (May 13, 2019) at 386:18-387:4 (“Q. It’s
 true that distributors are to rely on active DEA registrations when complying with 1301.74(a)?
 A. Yes, sir. … Q. And that’s actually the only requirement under Section 1301.74(a), correct?
 A. Yes, it is.”); Rafalski Tr. (May 13, 2019) at 348:2-10 (“Q. Is there anything beyond Section
 1301.74(b)? A. Well, there’s many. There’s a security requirement just prior to that where it
 requires a registrant to make a good faith -- a good-faith inquiry before distributing a controlled
 substance to ensure that the person has a -- as a registrant has a valid DEA registration.”);
 Prevoznik Tr. (May 17, 2019) at 1214:5-13 (“Q. And the statute and regulation do not
 specifically speak to due diligence, correct? … A. No. …”); Prevoznik Tr. (May 17, 2019)
 1214:21-12:15:1 (“Q. Are you aware of the phrase ‘due diligence’ being in either the statute or
 the regulation? … A. It’s not.”); Ashley Tr. at 214:21-216:4 (“Q. Do you know if due diligence
 is codified anywhere? A. No. …”).
 49
      21 C.F.R. § 1301.74(a).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 24 of 141. PageID #: 165930




 controlled substances holds the proper registrations. 50 A good faith inquiry by a distributor to

 determine that a customer has a valid DEA registration is the only requirement of § 1301.74(a). 51

 Indeed, DEA instructs Diversion Investigators that registrants are to rely on DEA’s registration

 database to satisfy the diligence requirement of Section 1301.74(a):

                 DEA field offices will provide the supplier with the related
                 registration information (i.e., whether the customer is currently
                 registered with DEA) needed to assist the supplier in making an
                 independent decision on whether to ship controlled substances. 52

          46.    Other than the “good faith inquiry” outlined in § 1301.74(a), the CSA and

 regulations contain no further due diligence requirements. 53 There is no requirement in this




 50
   21 C.F.R. § 1301.74(a); Rafalski Tr. (May 13, 2019) at 386:18-25 (“It’s true that distributors
 are to rely on active DEA registrations when complying with 1301.74(a)? A. Yes, sir. They are
 required by regulation to make a good-faith effort to confirm that the person that they’re going to
 distribute drugs to has a valid DEA registration.”); Diversion Investigators Manual § 5126,
 4/16/1996 (CAH_MDL2804_02203353 at -3356) (“DEA field offices will provide the supplier
 with the related registration information (i.e., whether the customer is currently registered with
 DEA) needed to assist the supplier in making an independent decision on whether to ship
 controlled substances.”).
 51
   21 C.F.R. § 1301.74(a); Rafalski Tr. (May 13, 2019) at 387:1-4 (“Q. And that’s actually the
 only requirement under Section 1301.74(a), correct? A. Yes, it is.”).
 52
      Diversion Investigators Manual § 5126, 4/16/1996 (CAH_MDL2804_02203353 at -3356).
 53
    21 U.S.C. § 823; 21 C.F.R. § 1301.74; Prevoznik Tr. (Apr. 17, 2019) at 216:16-217:18 (“Q.
 And there’s no requirement for distributors and manufacturers to document their ‘know your
 customer’ process, correct? … THE WITNESS: There’s not a written -- written requirement --
 regulation or requirement of that. …”); Prevoznik Tr. (May 17, 2019) at 1212:13-19 (“Q. And I
 believe that you indicated that there was not any sort of requirement by the DEA of the
 maintenance of due diligence files, correct? … THE WITNESS: Yes.”); Prevoznik Tr. (May 17,
 2019) at 1214:5-13 (“Q. And the statute and regulation do not specifically speak to due
 diligence, correct? … THE WITNESS: No. I mean, they do, because they’re saying you have to
 have effective means to guard against diversion. So that’s the guide.”); Prevoznik Tr. (May 17,
 2019) at 1214:21-1215:1 (“Are you aware of the phrase ‘due diligence’ being in either the statute
 or the regulation? … THE WITNESS: It’s not.”); Ashley Tr. 214:21-216:4 (“Q. Do you know if
 due diligence is codified anywhere? A. No. …”).


                                                  19
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 25 of 141. PageID #: 165931




 regulation or in the CSA that a distributor must conduct any further “due diligence” or

 investigation of the customer or shipment. 54

        47.     This is because it is DEA’s responsibility to police the closed loop system of

 distribution.55 DEA has the enforcement powers over the closed loop system, not registrants. 56

 DEA conducts diligence on applicants for controlled substances registrations. 57 Under the CSA,

 the closed loop system allows distributors to rely on DEA’s approval of the registrations when

 complying with § 1301.74(a). 58


 54
    21 C.F.R. § 1301.74(a); Rafalski Tr. (May 13, 2019) at 386:18-387:4 (“Q. It’s true that
 distributors are to rely on active DEA registrations when complying with 1301.74(a)? A. Yes,
 sir. They are required by regulation to make a good-faith effort to confirm that the person that
 they’re going to distribute drugs to has a valid DEA registration. Q. And that’s actually the only
 requirement under Section 1301.74(a), correct? A. Yes, it is.”); Rannazzisi Tr. (May 15, 2019)
 at 534:4-9 (“Q. Okay. Now, in that section, does the word or words ‘know your customer’
 appear? A. No, ma’am. Q. Do the words ‘due diligence’ appear in this regulation? A. No,
 ma’am.”); Ashley Tr. at 214:21-216:4 (“Q. Do you know if due diligence is codified anywhere?
 A. No. …”); Prevoznik Tr. (May 17, 2019) at 1214:21-1215:1 (“Q. Are you aware of the phrase
 ‘due diligence’ being in either the statute or the regulation? … A. It’s not.”).
 55
    Rafalski Tr. (May 13, 2019) at 346:4-13 (“Q. But you agree that DEA is the agency in the
 federal government that has authority and responsibility for the controlled system of drug
 distribution in this country, correct? A. In -- yes, sir. In regards to the regulation, they’re
 delegated that by the Attorney General, by Congress to the Attorney General, so I agree with that
 statement, yes, sir.”); Statement of Joseph Rannazzisi, House Hearing on Prescription Drug
 Abuse: What is being done to address this new drug epidemic? (July 26, 2006), at 68 (“[I]n the
 case of the most potentially dangerous drugs, in Schedule II, we register all persons who handle
 them; we inspect the documentation of their distribution; we control their import and export; and
 we control the amount produced, bought, sold, and otherwise transferred.”), available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 56
   Rannazzisi Tr. (May 15, 2019) at 589:20-590:4 (“Q. Now, the immediate suspension order is
 an enforcement power possessed by DEA, correct? A. It’s an administrative enforcement tool.
 Q. And -- and an immediate suspension order is a process by which DEA immediately suspends
 or revokes a registrant’s controlled substance license, correct? A. Yes.”).
 57
    Rafalski Tr. (May 13, 2019) at 385:23-386:4 (“Q. You’d agree with me that DEA conducts
 diligence on its applicants so that distributors can rely on the DEA registrations when complying
 with 1301.74(a)? A. Whether or not they posses [sic] a valid DEA registration, is that what
 you’re asking? Yes, sir.”).
 58
    Rafalski Tr. (May 13, 2019) at 385:23-386:4 (“Q. You’d agree with me that DEA conducts
 diligence on its applicants so that distributors can rely on the DEA registrations when complying
 with 1301.74(a)? A. Whether or not they posses [sic] a valid DEA registration, is that what

                                                 20
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 26 of 141. PageID #: 165932




                         h)      Section 1301.74(b) requires a suspicious order monitoring
                                 program and the reporting of suspicious orders “when
                                 discovered”

          48.     Section 1301.74(b) states that a registrant must “design and operate” a system that

 identifies “suspicious orders of controlled substances.” 59 The regulation also states that a

 registrant “shall inform the Field Division Office of the Administration in his area of suspicious

 orders when discovered by the registrant.” 60 Subsection (b) of the regulation describes the

 requirement to design a suspicious order monitoring program and report “suspicious orders” as

 follows: “The registrant shall design and operate a system to disclose to the registrant suspicious

 orders of controlled substances. The registrant shall inform the Field Division Office of the

 Administration in his area of suspicious orders when discovered by the registrant.” 61

          49.     Section 1301.74(b) leaves the design of the suspicious order monitoring program

 to the discretion of the distributor. 62 DEA recognizes that there is more than one way that a

 distributor can design and operate an effective suspicious order monitoring program. 63 Under




 you’re asking? Yes, sir.”); Diversion Investigators Manual § 5126, 4/16/1996
 (CAH_MDL2804_02203353 at -3356) (“DEA field offices will provide the supplier with the
 related registration information (i.e., whether the customer is currently registered with DEA)
 needed to assist the supplier in making an independent decision on whether to ship controlled
 substances.”).
 59
      21 C.F.R. § 1301.74(b).
 60
      21 C.F.R. § 1301.74(b).
 61
      21 C.F.R. § 1301.74(b).
 62
   21 C.F.R. § 1301.74(b); Ashley Tr. at 89:13-22 (“Q. And is it correct that the distributors
 must define their own parameters for a suspicious order? A. There’s some regulation
 requirement that it be effective. So other than that, it’s their discretion, but it just must be
 effective. Q. And whether a system is effective is in itself a subjective determination; isn’t that
 correct? A. Yes, I would agree with that.”).
 63
   Prevoznik Tr. (Apr. 17, 2019) at 179:22-180:2 (“Q. Now, does the DEA agree that there’s
 more than one way to design and operate a system that can identify and report suspicious orders?
 A. Yes.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 27 of 141. PageID #: 165933




 the CSA and the regulations, DEA leaves it to the discretion of the distributor to design a

 controlled substance monitoring system that works for the distributor’s business and customer

 base. 64 DEA has emphasized that there is no single feature that makes a suspicious order

 monitoring program compliant with § 1301.74(b). 65 DEA even lacked an internal guidance

 explaining what type of suspicious order monitoring program complied with the regulations. 66

                         i)      Sections 1301.74(c)-(m) Impose Additional Security
                                 Requirements

           50.    Section 1301.74(c), like § 1301.76(b), requires non-practitioner registrants to

 disclose theft or loss of controlled substances to the relevant DEA Field Division Office within

 one business day of discovery of such theft or loss. 67 The security requirements set out in the

 regulations also cover transportation of controlled substances. Section 1301.74(e) states that “a




 64
    Prevoznik Tr. (Apr. 17, 2019) at 180:7-11 (“Q. And the DEA leaves it up to the registrant to
 design a system that works with its own business model and customer base, correct? A.
 Correct.”); Rannazzisi Tr. (Apr. 26, 2019) at 321:8-21 (“Q. So how does a registrant know that
 their system is enough that it is compliant with the regulations?... A. Because the regs tell them
 that they must design and operate a system that identifies suspicious orders and they have to
 report. How they create that system is a business decision and as long as it identifies and reports
 suspicious orders, then -- and they are comfortable with that system, then they have a system.”);
 Rannazzisi Tr. (Apr. 26, 2019) at 321:23-322:9 (“Q. So there is more than one way to design a
 compliant suspicious order monitoring system? … THE WITNESS: I don’t -- I don’t know what
 the different ways of creating a system is. Again, I can only go by what the regulation says and
 it is up to the registrant to design and operate a system.”).
 65
   Prevoznik Tr. (Apr. 17, 2019) at 180:3-6 (“Q. And there’s no single feature that makes a
 suspicious order monitoring system compliant, correct? A. Correct.”); Ashley Tr. at 88:2-10
 (“Q. To your knowledge, is there a particular formula or algorithm that is required for a legally
 compliant system? … A. To my knowledge, there is not.”).
 66
   Rannazzisi Tr. (Apr. 26, 2019) at 317:24-318:7 (“Q. In the time period 2005 to 2016, yes or
 no, did DEA have internal guidance as to what constituted a suspicious order monitoring system
 that complied with regulations? … THE WITNESS: I don’t know about 2016, but for 2005 to
 2015, no.”).
 67
      21 C.F.R. § 1301.74(c).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 28 of 141. PageID #: 165934




 registrant is responsible for selecting common or contract carriers which provide adequate

 security to guard against in-transit losses.” 68

                  4.     Record Retention Requirement under 21 CFR 1304.04

           51.    The document retention requirements for registrants are found at 21 CFR §

 1304.04. Section 1304.04 requires that registrants keep “inventory and other records” for “at

 least 2 years from the date of such inventory or records, for inspection and copying by authorized

 employees of the Administration.” 69 There is no requirement in the CSA or federal regulations

 that registrants keep “inventory or other records” for longer than two years. 70 In addition, there

 is no specific requirement in the federal regulation that “due diligence” files or suspicious order

 reports need to be maintained at all. 71 The recordkeeping of due diligence files is entirely left to

 the discretion of the distributor. 72


 68
      21 C.F.R. § 1301.74(e).
 69
    21 C.F.R. § 1304.04(a); Prevoznik Tr. (May 17, 2019) at 1218:17-23 (“Q. The DEA has
 certainly never issued any sort of guidance indicating that registrants must hold on to due
 diligence files for 15 years, correct? A. Yes. The only guidance I know is it’s two years, two
 years for recordkeeping for the registrant.”).
 70
   Prevoznik Tr. (May 17, 2019) at 1218:17-23 (“Q. The DEA has certainly never issued any
 sort of guidance indicating that registrants must hold on to due diligence files for 15 years,
 correct? A. Yes. The only guidance I know is it’s two years, two years for recordkeeping for the
 registrant.”).
 71
   21 C.F.R. § 1304.04; Prevoznik Tr. (May 17, 2019) at 1216:8-12 (“Q. Coming back to the
 concept of due diligence, the DEA has not issued any guidance specifying how long a registrant
 must hold on to due diligence, correct? A. Correct.”).
 72
   Ashley Tr. at 252:5-18 (“Q. Let’s start with that. Is how the records are kept in connection
 with a suspicious order something that’s left to the discretion of distributors just as the decision
 as to whether an order is suspicious or whether an order should be shipped? A. How the records
 are kept are left to the discretion of the distributor, yes. Q. Is the documentation of a distributor
 suspicious order monitoring system how it’s -- how it is set up and how it’s implemented also
 something that is in the discretion of the distributors? A. Yes.”); Ashley Tr. at 254:1-5 (“Q.
 Yes, ma’am. Is how a distributor documents the due diligence it conducts something that’s in
 the discretion of the distributor? A. How they document it? How they do it, I’d have to say,
 yes.”); Wright Tr. (Feb. 28, 2019) at 143:2-12 (Q. Okay. And the exercise that the registrant
 goes through to do some due diligence to really bear out whether the order is, in fact, truly a

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 29 of 141. PageID #: 165935




        C.      The Requirements Not Imposed by the CSA and the Regulations

        52.     DEA’s guidance to distributors shifted beginning with the Distributor Initiative,

 but the requirements of the CSA and its regulations for distributors have not changed. 73 In

 addition, the requirements not included in the CSA and its regulations have remained the same.

 The CSA and its regulations do not require a registrant to “know your customer” or conduct due

 diligence other than the “good faith inquiry” described in § 1301.74(a) to retain records

 indefinitely, or to block suspicious orders.

                1.      The CSA and Regulations Do Not Contain Due Diligence & “Know
                        Your Customer” Requirements Other Than the Good Faith Inquiry
                        Described in § 1301.74(a)

        53.     The CSA and its regulations do not require distributors or other registrants to

 “Know Your Customer” or to conduct due diligence beyond the requirement in § 1301.74(a) that

 a registrant make a good faith inquiry to make sure that its customers who receive controlled

 substances hold proper registrations. 74 Section 1301.74(b) does not require registrants to

 investigate or perform “due diligence” on an order that meets the regulation’s definition of a



 suspicious order or not, that due diligence exercise, is there a regulatory requirement to
 document that due diligence? … A. No.”); Wright Tr. (Mar. 4, 2019) at 496:23-497:10 (“Q.
 And it is the documentation of -- whatever due diligence is done by a company, that may be a
 best practice, but it is not required by statute or regulation, correct. … A. Yes, ma’am. … Q.
 When you did your distributor briefings, you did not note in your distributor briefings the
 documentation of due diligence did you? A. No, ma’am.”).
 73
   Rannazzisi Tr. (Apr. 26, 2019) at 68:1-14, 253:19-23; Wright Tr. (Feb. 28, 2019) at 125:20-
 126:11.
 74
   21 U.S.C. § 823; 21 C.F.R. § 1301.74; Prevoznik Tr. (Apr. 17, 2019) at 216:16-217:18 (“Q.
 And there’s no requirement for distributors and manufacturers to document their “know your
 customer” process, correct? … THE WITNESS: There’s not a written – written requirement –
 regulation or requirement of that. However, if you’re going to maintain effective control for
 diversion, you’re going to have to be able – you’re going to have to be able to explain how you
 made that assessment. Was this – especially in terms of suspicious orders, how you came to the
 conclusion that this was not a suspicious order. So … Q. Is there a best practice document that
 was distributed to distributors and manufacturers that says that? … THE WITNESS: No.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 30 of 141. PageID #: 165936




 “suspicious order.” 75 In fact, the terms “due diligence” and “Know Your Customer” are not

 found in § 1301.74. 76 In addition, a registrant is not required under the regulation to determine if

 an order that meets the definition of “suspicious order” under the regulation is actually going to

 be diverted or is actually “suspicious” as that term is commonly used.

                  2.        The CSA and Its Regulations Contain Limited Record Retention
                            Requirements

           54.    The record retention requirements provided in the CSA and its regulations are

 limited. 77 The CSA’s record retention requirement is limited to only two years for “inventory or

 other record[s].” 78 The CSA does not contain language requiring the retention of suspicious

 order reports or due diligence files. 79 The regulations issued under the CSA also only require

 distributors to retain “inventory and other records” for two years. 80 Section 1304.04 does not


 75
   Wright Tr. (Mar. 4, 2019) at 496:8-14 (“Q. So the due diligence that got referenced in your
 discussion this morning, that is not required by the statute or the regulation, correct? ... A. It is
 not mentioned specifically.”).
 76
    21 C.F.R. § 1301.74(b); Rannazzisi Tr. (May 15, 2019) at 526:19-527:3 (“Q. Okay. Now,
 within the Controlled Substances Act, and in particular those -- those subparagraphs the words
 ‘know your customer’ does not appear, correct? A. The words ‘know your customer’ is not in
 the Controlled Substances Act. Q. And the words ‘due diligence’ are not in the Controlled
 Substances Act either, right? A. That is correct.”); Prevoznik Tr. (May 17, 2019) at 1214:21-
 1215:1 (“Are you aware of the phrase ‘due diligence’ being in either the statute or the
 regulation? … THE WITNESS: It’s not.”); Wright Tr. (Mar. 4, 2019) at 496:8-14 (“Q. So the
 due diligence that got referenced in your discussion this morning, that is not required by the
 statute or the regulation, correct? … THE WITNESS: It is not mentioned specifically.”).
 77
   Prevoznik Tr. (May 17, 2019) at 1218:17-23 (“Q. The DEA has certainly never issued any
 sort of guidance indicating that registrants must hold on to due diligence files for 15 years,
 correct? A. Yes. The only guidance I know is it’s two years, two years for recordkeeping for the
 registrant.”).
 78
      21 U.S.C. § 827(b).
 79
      21 U.S.C. § 827.
 80
    21 C.F.R. § 1304.04(a); Prevoznik Tr. (May 17, 2019) at 1218:17-1219:10 (“Q. The DEA has
 certainly never issued any sort of guidance indicating that registrants must hold on to due
 diligence files for 15 years, correct? A. Yes. The only guidance I know is it’s two years, two
 years for recordkeeping for the registrant. … Q. But there’s no requirement that a due diligence
 file even be maintained, correct? A. Correct. Q. So the two-year rule does not apply to any due

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 31 of 141. PageID #: 165937




 require distributors to retain suspicious order reports or due diligence files for more than two

 years. 81 DEA left decisions concerning recordkeeping of due diligence and the maintenance of

 those records to the discretion of the distributor. 82

                  3.     The CSA and Its Regulations Do Not Include a Requirement That
                         Distributors “Do Not Ship”

          55.     The CSA and the applicable regulations do not require registrants to “block”

 orders that meet the definition of “suspicious orders.” 83 The CSA does not include any

 requirement that distributors “do not ship” an order that meets the regulatory definition of a

 suspicious order. 84 Similarly, § 1301.74 says nothing about not shipping a “suspicious order,”




 diligence files, per se, correct? A. Correct. I was just pointing out that within the regs, there is
 records for a two-year period.”); Rannazzisi Tr. (May 15, 2019) at 555:7-11 (“Q. Is there any
 requirement in the DEA regulations or guidance to maintain due diligence documentation for a
 certain period of time? A. There’s no requirements.”).
 81
      21 C.F.R. § 1304.04.
 82
   Ashley Tr. at 254:1-5 (“Q. Yes ma’am. Is how a distributor documents the due diligence it
 conducts something that’s in the discretion of the distributor? A. How they document it? How
 they do it, I’d have to say, yes.”); Wright Tr. (Feb. 28, 2019) at 143:2-12 (“Q. Okay. And the
 exercise that the registrant goes through to do some due diligence to really bear out whether the
 order is, in fact, truly a suspicious order or not, that due diligence exercise, is there a regulatory
 requirement to document that due diligence? … A. No.”); Wright Tr. (Mar. 4, 2019) at 496:23-
 497:4 (“Q. And it is the documentation of -- whatever due diligence is done by a company, that
 may be a best practice, but it is not required by statute or regulation, correct? … A. Yes,
 ma’am.”).
 83
   21 C.F.R. § 1301.74(b); Rannazzisi Tr. (May 15, 2019) at 534:19-21 (“Q. Do the words ‘do
 not ship’ appear in this regulation [21 C.F.R. § 1301.74(b)]? A. No, ma’am.”); Ashley Tr. at
 251:17-21 (“Q. You testified earlier today that it was in the discretion of distributors to make the
 decision whether an order was suspicious and whether to ship, correct? A. Yes.”); Rafalski Tr.
 (May 13, 2019) at 134:25-135:7 (“Q. Does the regulation say anything about ship -- does the
 regulation in words, words, say anything about shipping? … A. It does not say the word
 ‘shipping.’”).
 84
    Ashley Tr. at 242:12-19 (“Q. And your personal understanding was what? A. That we do not
 tell registrants that they cannot ship an order, especially solely on a suspicious order report and
 no other information. Q. Because I think as you told Ms. Zolner a few minutes ago, the decision
 to ship or not ship is solely in the discretion of the distributor? A. Yes.”); Prevoznik Tr. (Apr.
 17, 2019) at 167:5-12 (“Q. Did the Controlled Substances Act contain any language that states

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 32 of 141. PageID #: 165938




 and the words “block” and “do not ship” are nowhere in the regulation. 85 There is also nothing

 in § 1301.74 that requires a distributor to “block” or “do not ship” an order meeting §

 1301.74(b)’s definition of a “suspicious order.” 86

                  4.     The CSA and Its Regulations Do Not Define “Orders of Unusual
                         Size,” “Orders Deviating from a Normal Pattern,” and “Orders of
                         Unusual Frequency”

          56.     “[S]uspicious orders” are defined in § 1301.74(b) as “orders of unusual size,

 orders deviating substantially from a normal pattern, and orders of unusual frequency.” 87

 Section 1301.74, however, does not define or explain the terms used in the definition of

 suspicious order. 88 The regulation does not define or explain what DEA means by “unusual

 size,” “deviating substantially from a normal pattern,” or “unusual frequency.” 89 In guidance

 letter to distributors, DEA said the size, frequency, and pattern are “disjunctive and not all




 whether or not a distributor could ship a suspicious order? A. It doesn’t say specifically that. It
 does say that it needs to be -- it has to maintain -- maintain effective control against diversion.”).
 85
   21 C.F.R. §1301.74(b); Rannazzisi Tr. (May 15, 2019) at 534:19-21 (“Q. Do the words ‘do
 not ship’ appear in this regulation [21 C.F.R. § 1301.74(b)]? A. No, ma’am.”); Rafalski Tr.
 (May 13, 2019) at 349:22-350:8 (“Q. But you agree with me that the security requirement
 [1301.74(b)] itself does not say the words ‘do not ship,’ does it? A. The security requirements
 do not say those specific three words. Q. And the security requirement does not say ‘block
 orders,’ does it? A. It doesn’t -- the security requirement doesn’t specifically say that….”).
 86
    Ashley Tr. at 242:12-15 (“Q. And your personal understanding was what? A. That we do not
 tell registrants that they cannot ship an order, especially solely on a suspicious order report and
 no other information.”).
 87
      21 C.F.R. § 1301.74(b).
 88
      21 C.F.R. § 1301.74.
 89
   21 C.F.R. § 1301.74; Ashley Tr. at 26:16-22 (“Q. Does the regulation tell -- provide guidance
 as to what constitutes an order of unusual size? A. No. Q. Does the regulation provide
 guidance as to what constitutes an order of unusual frequency? A. No.”); Ashley Tr. at 147:8-11
 (“Q. Based on your experience, would you agree that there might be situations where an order is
 of an unusual size, but the order is not suspicious? A. Yes.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 33 of 141. PageID #: 165939




 inclusive.” 90 Even witnesses who have testified in this litigation for DEA have been unable to

 define a “suspicious order” in a consistent way. 91

          57.    The lack of consensus among DEA witnesses is not surprising because the

 meanings of “unusual size,” “unusual frequency,” and “order deviating substantially from a

 normal pattern” are subjective. 92 The meaning of each term will change depending on

 customers, the registrant, and the orders at issue. 93 DEA left it to a distributor’s discretion to


 90
      December 27, 2007 Dear Registrant Letter (MCKMDL00478910 at -8910).
 91
    Rafalski Tr. (May 13, 2019) at 57:17-21 (“A. I think the regulation itself [1301.74, subpart
 (b)] is a broad regulation … I think the actual full definition is up to the registrant, depending on
 a lot of factors; the scope of their business and the scope of those customers that receive products
 from them.”); Rafalski Tr. (May 13, 2019) at 58:5-16 (“Q. The regulation defines suspicious
 orders as orders of unusual size, orders deviating substantially from a normal pattern, and orders
 of unusual frequency; is that correct? A. Well, that is what the regulation says, but -- I’m not so
 sure I agree if you’re saying the word ‘defines’ says that suspicious orders could only be those
 things. I think that’s up to the registrant ….”); Rannazzisi Tr. (Apr. 26, 2019) at 57:15-23 (“I
 think that the suspicious order monitoring regulation 1301.74(b) was -- the definition of
 suspicious order is very straightforward. I don’t know what other information I could provide to
 them to clarify what a suspicious orders [sic] is without making a business decision for them,
 which the regulations would not allow me to do.”); Rannazzisi Tr. (Apr. 26, 2019) at 119:21-
 120:4 (“DEA doesn’t -- DEA does not tell a registrant or either the man -- or a registrant
 involved in distribution activities what’s a suspicious order, besides the -- the definition in
 1301.74(b). It’s up to the -- the distributor or the manufacturer, distributor to make a decision
 what information they will use to determine a suspicious orders [sic].”).
 Additionally, these witnesses were not the ones who told registrants what was expected of them
 under 1301.74(b); Rannazzisi Tr. (Apr. 26, 2019) at 267:20-268:3 (“I don’t -- I haven’t had the
 opportunity -- well, I have never told a registrant what their responsibility is as far as what my
 definition of a suspicious order is. That would have come from my staff or the liaison policy
 section or the pharmaceutical investigation section or E-commerce, you know, if they were still
 there, but it wouldn’t have come from my office directly.”). The witnesses were not able to say
 for sure that their definitions of unusual size, etc., were the same as what their staff would have
 told registrants. Rannazzisi Tr. (Apr. 26, 2019) at 279:8-18 (“Q. Sitting here today, you can’t
 tell me that your definition of unusual size is the same as Michael Mapes’s definition of unusual
 size, right? … A. I don’t know what Mr. Mapes’s definition of unusual size is.”).
 92
   Ashley Tr. at 26:1-8 (“Q. If you look at Section B of this regulation, does the regulation tell
 registrants, specifically distributors, how to identify suspicious orders? A. I guess my answer
 would be somewhat, yes. Q. Okay. Is there an element of subjectivity to it? A. Yes.”)
 93
   Ashley Tr. at 26:23-27:13 (“Q. Does the regulation provide guidance as to what constitutes an
 order that deviates substantially from normal ordering pattern? A. I would have to say in
 general, yeah, it does. Q. How does it do that? A. By saying it’s deviating from the normal

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 34 of 141. PageID #: 165940




 define the parameters of a suspicious order. 94 DEA believed it was up to the registrant to

 determine what was “an order of unusual size,” an order of “unusual frequency,” and an order

 that deviated “substantially from a normal pattern.” 95 Furthermore, DEA has acknowledged that

 even if an order meets the definition of a “suspicious order,” the order is not necessarily

 suspicious. 96

                  5.     The CSA and Its Regulations Do Not Restrict a Distributor’s
                         Discretion to Establish Its Suspicious Order Monitoring Program

         58.      Section 1301.74(b) and the CSA do not provide specific guidance about what a

 compliant suspicious order monitoring program looks like. 97 The lack of detail in § 1301.74(b)

 is notable because DEA provided many detailed requirements when it set out the requirements

 for physical security in the regulations. DEA left the design of the suspicious order monitoring

 program to the discretion of the registrant. 98



 pattern. Q. Okay. And does it explain what that means? A. You would need to know what was
 normal, so I think so. Q. And would normal vary from case to case? A. Yes. Q. And situation
 to situation? A. Yes.”).
 94
   Ashley Tr. at 89:13-22 (“Q. And is it correct that the distributors must define their own
 parameters for a suspicious order? A. There’s some regulation requirement that it be effective.
 So other than that, it’s their discretion, but it just must be effective. Q. And whether a system is
 effective is in itself a subjective determination; isn’t that correct? A. Yes, I would agree with
 that.”).
 95
   Ashley Tr. at 26:16-22 (“Q. Does the regulation tell -- provide guidance as to what constitutes
 an order of unusual size? A. No. Q. Does the regulation provide guidance as to what
 constitutes an order of unusual frequency? A. No.”).
 96
    Ashley Tr. at 147:8-11 (“Q. Based on your experience, would you agree that there might be
 situations where an order is of unusual size, but the order is not suspicious? A. Yes.”).
 97
   Prevoznik Tr. (Apr. 17, 2019) at 180:3-11 (“Q. And there’s no single feature that makes a
 suspicious order monitoring system compliant, correct? A. Correct. Q. And the DEA leaves it
 up to the registrant to design a system that works with its own business model and customer
 base, correct? A. Correct.”).
 98
    Rannazzisi Tr. (Apr. 26, 2019) at 321:8-322:9 (“Q. So how does a registrant know that their
 system is enough that its compliant with the regulations? … THE WITNESS: Because the regs
 tell them that they must design and operate a system that identifies suspicious orders and they

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 35 of 141. PageID #: 165941




           59.    DEA left it to the registrant to determine what a suspicious order looked like and

 how to monitor and report such orders, and DEA acknowledged there was more than one way for

 a distributor to design a suspicious order monitoring system. 99 DEA employee Kyle Wright

 confirmed this in testimony from 2011:

                  Q: So DEA was not going to tell the registrant community,
                  “You’re doing it right,” or, “You’re not doing it right”?

                  A: That’s right. It’s not our business. . . .

                  I will put forth on this table right now that there is a lot of
                  unanswered and ambiguity that exists with the industry and that
                  also exists with DEA. . . . And it has remained ambiguous,
                  because what DEA did is they turned the full [a]mount of
                  responsibility on the registrant community. 100

           60.    Mr. Rannazzisi, for example, testified that “it is up to the registrant to design and

 operate a system.” 101




 have to report. How they create that system is a business decision and as long as it identifies and
 reports suspicious orders, then -- and they are comfortable with that system, then they have a
 system. … Q. So there is more than one way to design a compliant suspicious order monitoring
 system? … THE WITNESS: I don’t -- I don’t know what the different ways of creating a system
 is. Again, I can only go by what the regulation says and it is up to the registrant to design and
 operate a system.”); Prevoznik Tr. (Apr. 17, 2019) at 180:3-11 (“Q. And there’s no single
 feature that makes a suspicious order monitoring system compliant, correct? A. Correct. Q.
 And the DEA leaves it up to the registrant to design a system that works with its own business
 model and customer base, correct? A. Correct.”).
 99
   Prevoznik Tr. (Apr. 17, 2019) at 179:22-180:2 (“Q. Now, does the DEA agree that there’s
 more than one way to design and operate a system that can identify and report suspicious orders?
 A. Yes.”).
 100
       Wright Tr. (US v. $463,497.72) at 43:22-25, 54:16-24.
 101
       Rannazzisi Tr. (Apr. 26, 2019) at 322:8-9.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 36 of 141. PageID #: 165942




        D.      DEA Audits Registrants to Assess Their Regulatory Compliance

        61.     I conducted and oversaw unannounced audits of manufacturer and distributor sites

 during my time at DEA. I continue to perform audits of manufacturers and distributors now as a

 consultant.

        62.     During my time at DEA, the audits that I conducted and oversaw primarily

 focused on determining whether the registrant complied with key requirements of the CSA and

 its regulations. 102 The audits covered three areas: physical security, recordkeeping, and

 accountability. 103 This included whether a registrant’s policies and procedures met physical

 security standards and complied with ARCOS reporting requirements. 104 After 2006, we were


 102
     Rafalski Tr. (May 13, 2019) at 343:3-22 (“Q. And that’s fair, but it’s one of the purposes of
 this audit for DEA to go to the facility of the distributor to review the SOM system and to
 provide feedback, correction -- corrective feedback to the distributor, if corrective feedback is
 needed? A. So can I describe a little bit further what an on-site visit is? It’s not a checklist type
 of a visit. It’s a three-pronged investigation: security, recordkeeping and accountability. Every
 DEA investigator conducts it in whatever manner they see fit as long as they cover those three
 areas or prongs of activity. So it’s -- there’s nothing in the DEA’s requirement that they would
 specifically have to look at that or take action, although I would say my expectation is they
 should.”).
 103
    Rafalski Tr. (May 13, 2019) at 343:10-14 (“A. So can I describe a little bit further what an
 on-site visit is? It’s not a checklist type of a visit. It’s a three-pronged investigation: security,
 recordkeeping and accountability.”); Blaine Snider (“Snider”) Tr. (Nov. 8, 2018) at 458:20-24
 (“So when the DEA or we do our audits, we check our licensing and numerous other things, but
 the DEA has been in there a few times, and they’ve always had exemplary comments for New
 Castle and our team.”); Michael Oriente (“Oriente”) Tr. (July 25, 2018) at 579:4-17 (“Q. Could
 you describe the relationship you’ve had with the DEA over the course of your career in
 McKesson regulatory affairs? A. Yes. I felt that my relationship with DEA was very good.
 When I started in ’07 in regulatory, our Delran distribution center was always one where the
 DEA paid compliments to when they came in to do their cyclical audits. Our recordkeeping was
 always good. Our inventory was good. So the local DEA office over my distribution center was
 always satisfied with what we were doing.”).
 104
    Rafalski Tr. (May 13, 2019) at 343:10-22 (“A. So can I describe a little bit further what an
 on-site visit is? It’s not a checklist type of a visit. It’s a three-pronged investigation: security,
 recordkeeping and accountability. Every DEA investigator conducts it in whatever manner they
 see fit as long as they cover those three areas or prongs of activity. So it’s -- there’s nothing in
 the DEA’s requirement that they would specifically have to look at [the SOM system] or take
 action, although I would say my expectation is they should.”); Prevoznik Tr. (Apr. 17, 2019) at

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 37 of 141. PageID #: 165943




 advised and trained to examine a registrant’s suspicious order reporting procedures as part of a

 broader review of the registrant’s suspicious order monitoring programs. DEA employee

 Thomas Prevoznik confirmed that DEA would review suspicious order monitoring systems as

 part of the audit process. 105

         63.     During the audit process, we would walk through a site and note potential

 concerns. 106 Following a DEA audit, if I or others identified flaws or concerns, we would inform

 the registrant so it could take remedial action. 107 However, we would not provide feedback if an




 130:13-131:14 (“Q. So as part of the audit process, operating systems that are designed to
 review suspicious orders are reviewed by the DEA? A. … So it comes in -- it comes in various
 times that we’re going to review somebody’s operating system, whether we’re on schedule
 investigation, or whether we’re doing an investigation on a pharmacy or something like that,
 where we’re going to look at how many SORs were submitted or not submitted, or we’re going
 to look at the ARCOS data, how much did they buy. We’re going to look at various things to
 make the determination on what is going on.”).
 105
    Prevoznik Tr. (Apr. 17, 2019) at 130:13-131:14 (“Q. So as part of the audit process,
 operating systems that are designed to review suspicious orders are reviewed by the DEA? A. …
 So it comes in -- it comes in various times that we’re going to review somebody’s operating
 system, whether we’re on schedule investigation, or whether we’re doing an investigation on a
 pharmacy or something like that, where we’re going to look at how many SORs were submitted
 or not submitted, or we’re going to look at the ARCOS data, how much did they buy. We’re
 going to look at various things to make the determination on what is going on.”).
 106
     Prevoznik Tr. (Apr. 17, 2019) at 131:15-23 (“Q. And if either in the pre-registration process
 or in the audit process the DEA determines that a registrant’s system is not adequately detecting
 suspicious orders, is that something that is conveyed to the registrant? A. Yeah, we -- we would
 tell them, you need to add something.”); Rafalski Tr. (May 13, 2019) at 342:9-21 (“Q. So if
 McKesson’s Section 55 program had been out of compliance with federal regulations and DEA
 was conducting audits of the McKesson facilities, wouldn’t DEA have told McKesson during its
 annual audits that its program was out of compliance? A. I would have an expectation that if a
 person was to go on site and actually review the system, that I would have an expectation that
 there -- maybe should make some comment or do some corrective action.”).
 107
     Prevoznik Tr. (Apr. 17, 2019) at 131:15-23 (“Q. And if either in the pre-registration process
 or in the audit process the DEA determines that a registrant’s system is not adequately detecting
 suspicious orders, is that something that is conveyed to the registrant? A. Yeah, we -- we would
 tell them, you need to add something.”); Rafalski Tr. (May 13, 2019) at 342:9-21 (“Q. So if
 McKesson’s Section 55 program had been out of compliance with federal regulations and DEA
 was conducting audits of the McKesson facilities, wouldn’t DEA have told McKesson during its
 annual audits that its program was out of compliance? A. I would have an expectation that if a

                                                 32
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 38 of 141. PageID #: 165944




 audit did not identify any flaws, and a registrant performed well. It was DEA’s practice to not

 provide any written documentation, reports, or feedback to indicate that the registrant had

 successfully passed an audit.

        64.     DEA audited McKesson a number of times before 2006 when McKesson’s

 Section 55 suspicious order monitoring program was in use. 108 Donald Walker, the former Vice

 President of Regulatory Affairs at McKesson, stated that during that time DEA did not inform

 McKesson that McKesson’s Section 55 program was not compliant with the requirements in the

 CSA and its regulations. 109 Based on my experience as a diversion investigator, McKesson

 would have been told if DEA found that McKesson’s Section 55 program did not comply with

 the CSA and regulations. 110 The lack of any report that Section 55 was not compliant is


 person was to go on site and actually review the system, that I would have an expectation that
 there -- maybe should make some comment or do some corrective action.”).
 108
     Snider Tr. (Nov. 8, 2018) at 183:11-13 (“If I could answer that, the DEA has done audits on
 us. We’ve never been found to do anything wrong.”); Snider Tr. (Nov. 8, 2018) at 458:4-19 (“Q.
 Okay. And the next -- the other audit you were going to describe? A. Yes. Sorry. The next
 audit is the DEA cyclic audit or any DEA unannounced audit. So we’ve had cyclic audits
 average two-and-a-half years. They try to do them every two years, but -- so I believe there were
 four audits at the distribution center by the DEA, and they’ve all came out as -- a hundred
 percent as exemplary. So that was one of the other audits. And then monthly, we did the
 triannual report, which was a DEA SOPs. And then also we did a VAWD audit, which is the
 National Wholesale Association. We do that every two to five years depending on our licensure.
 We were one of the first DCs to get VAWD accreditation.”); Donald Walker (“Walker”) Tr.
 (Jan. 10, 2019) at 406:1-9 (“Additionally, the DEA continued to conduct their cyclical audit. A
 cyclical audit is where the DEA comes in unannounced and inspects the distribution center in a
 number of different areas, primarily around the recordkeeping, the security of the controlled
 substances, the handling, reviewing the associates that are authorized to handle controlled
 substances. All of that is part of the normal cyclical audit.”).
 109
    Walker Tr. (Jan. 10, 2019) at 406:10-20 (“Q. And what would happen if DEA found an issue
 during one of those cyclical audits? A. Excuse me. There was an Audit Report that was
 generated out of each one of the audits. If there were actions that needed to be taken by
 McKesson to correct anything that they identified in the audit, virtually all the time that I can
 recall, those were fairly minor issues. They were more what I would call procedural. We made
 the procedural adjustments and reported back to DEA the changes that we made.”).
 110
    Rafalski Tr. (May 13, 2019) at 342:9-21 (“Q. So if McKesson’s Section 55 program had been
 out of compliance with federal regulations and DEA was conducting audits of McKesson

                                                 33
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 39 of 141. PageID #: 165945




 important because it means that McKesson’s Section 55 program successfully passed DEA’s

 audits.

           65.   Based on my experience, it is my opinion that DEA would have informed

 McKesson during an audit if McKesson’s Section 55 program failed to sufficiently detect

 suspicious orders as required by DEA guidance at the time or if it failed to comply with the CSA

 and its regulations. My opinion regarding McKesson’s Section 55 program passing DEA’s

 audits is confirmed by testimony from DEA employee Thomas Prevoznik, who testified that it

 was DEA’s practice to inform registrants during an audit if their suspicious order monitoring

 programs failed to adequately detect suspicious orders. 111 In particular, DEA would inform a

 registrant during the closing meeting with management if the program did not comply with the

 CSA and its regulations. In addition, DEA employees have also testified that it was reasonable

 for a registrant to rely on information conveyed to the registrant by DEA during the audit. 112

           E.    The Ensuring Patient Access and Effective Drug Enforcement Act of 2016
                 Did Not Weaken DEA’s Enforcement Capabilities

           66.   The CSA and its regulations relating to suspicious order monitoring programs

 were not materially changed until the Ensuring Patient Access and Effective Drug Enforcement




 facilities, wouldn’t DEA have told McKesson during its annual audits that its program was out of
 compliance? A. I would have an expectation that if a person was to go on site and actually
 review the system, that I would have an expectation that there -- maybe should make some
 comment or do some corrective action.”).
 111
     Prevoznik Tr. (Apr. 17, 2019) at 131:15-23 (“Q. And if either in the pre-registration process
 or in the audit process the DEA determines that a registrant’s system is not adequately detecting
 suspicious orders, is that something that is conveyed to the registrant? A. Yeah, we -- we would
 tell them, you need to add something.”).
 112
    Prevoznik Tr. (Apr. 18, 2019) at 461:13-21 (“Q. Okay. And the registrants who are visited by
 DEA field office personnel can rely on the information that they receive from DEA field division
 personnel regarding SOMs systems, true? … THE WITNESS: Yeah, they get guidance.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 40 of 141. PageID #: 165946




 Act of 2016 was enacted. 113 Relevant to this case are the Ensuring Patient Access Act’s

 amendments that relate to immediate suspension orders. The CSA allows DEA to immediately

 suspend a registration to prevent “imminent danger to the public health or safety.” 114 The term

 “imminent danger to the public health and safety” was not defined in the CSA. 115

           67.    The Ensuring Patient Access Act, however, defined the term. “Imminent danger

 to the public health and safety” is defined in the Ensuring Patient Access Act to mean an

 immediate threat of death, serious bodily harm, or abuse of a controlled substance due to a

 registrant’s failure to maintain effective controls against diversion. 116 The Ensuring Patient

 Access Act also requires an order to show cause for denying, revoking or suspending a

 registration to specifically state the legal basis for the action and notify the registrant of the

 opportunity to submit a corrective action plan. 117

           68.    I understand that Joseph Rannazzisi has criticized the Ensuring Patient Access

 Act, stating that the Act weakens DEA’s ability to enforce the CSA. 118 Joseph Rannazzisi,

 however, left DEA in 2015. He was not with DEA when the Ensuring Patient Access Act took


 113
    Ensuring Patient Access and Effective Drug Enforcement Act of 2016, Pub L. No. 114-145,
 130 Stat. 354, available at https://www.congress.gov/114/plaws/publ145/PLAW-
 114publ145.pdf.
 114
       21 U.S.C. § 824(d)(1).
 115
       21 U.S.C. § 824(d)(1).
 116
    Ensuring Patient Access and Effective Drug Enforcement Act of 2016, Pub L. No. 114-145,
 130 Stat. 354 at 354, available at https://www.congress.gov/114/plaws/publ145/PLAW-
 114publ145.pdf.
 117
    Ensuring Patient Access and Effective Drug Enforcement Act of 2016, Pub L. No. 114-145,
 130 Stat. 354 at 354-55, available at https://www.congress.gov/114/plaws/publ145/PLAW-
 114publ145.pdf.
 118
    Scott Higham & Lenny Bernstein, The Drug Industry’s Triumph over the DEA, Washington
 Post (Oct. 15, 2017), available at
 https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-
 congress/?utm_term=.f373cbcb3255.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 41 of 141. PageID #: 165947




 effect in 2016. 119 During his deposition, Joseph Rannazzisi testified that the evidence of the

 Ensuring Patient Access Act negatively affecting DEA’s ability to issue Immediate Suspension

 Orders (“ISOs”) is that DEA has not filed an ISO against a manufacturer or distributor since the

 Act passed three years ago. 120 However, DEA did not file an ISO against a manufacturer or

 distributor in the four years before the Ensuring Patient Access Act took effect. 121 Similarly, the

 number of immediate suspension orders issued by DEA against pharmacies and practitioners

 decreased significantly before the Ensuring Patient Access Act was enacted. The number of

 immediate suspension orders filed against pharmacies decreased from 21 to 4 between 2011 and

 2016. 122 The number of immediate suspension orders filed against practitioners decreased from

 43 to 5 between 2011 and 2016. 123




 119
    Rannazzisi Tr. (May 15, 2019) at 515:19-516:5 (“Q. And so the bill that Mr. Lanier asked
 you about that -- that essentially hampered DEA’s ability to control diversion, I think were the
 word that were used, that was passed in 2016? A. Yes. Q. And that was prior -- you left prior to
 2016, correct? A. Yes. Q. So that bill was passed after you left the DEA? A. That is
 correct.”).
 120
    Rannazzisi Tr. (May 15, 2019) at 516:6-15 (“Q. So you don’t necessarily have any firsthand
 knowledge of how that bill hampered DEA’s ability to control diversion, correct? A. DEA
 hasn’t issued an immediate suspension order that I’m aware of, except for one, which was
 withdrawn, since the passage of that bill related to manufacturers and distributors. So I believe,
 yes, that’s probably correct.”).
 121
    Statement of Senator Dianne Feinstein, Senate Hearing on Oversight of the Ensuring Patient
 Access and Effective Drug Enforcement Act (Dec. 12, 2017), at 2, available at
 https://www.judiciary.senate.gov/imo/media/doc/Feinstein%20Statement%2012-12-17.pdf.
 122
    Statement of Senator Dianne Feinstein, Senate Hearing on Oversight of the Ensuring Patient
 Access and Effective Drug Enforcement Act (Dec. 12, 2017), at 2, available at
 https://www.judiciary.senate.gov/imo/media/doc/Feinstein%20Statement%2012-12-17.pdf.
 123
    Statement of Senator Dianne Feinstein, Senate Hearing on Oversight of the Ensuring Patient
 Access and Effective Drug Enforcement Act (Dec. 12, 2017), at 2, available at
 https://www.judiciary.senate.gov/imo/media/doc/Feinstein%20Statement%2012-12-17.pdf.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 42 of 141. PageID #: 165948




 VI.     What is Diversion?

        A.      Definition of Diversion

        69.     As a police officer and member of the Philadelphia DEA Task Force, DEA

 Diversion Investigator, and Diversion Group Supervisor at DEA’s Philadelphia Field Office, I

 have a comprehensive understanding of the meaning of diversion, the related statutes and

 regulations that are intended to prevent diversion, and the many ways diversion occurs. For

 decades, I was focused on anti-diversion efforts.

        70.     Diversion is a technical term for when prescription medications are taken out of

 legitimate channels and used for illegitimate and illegal purposes. 124 When diversion occurs, a

 controlled substance is removed from the closed loop system of distribution or from legitimate

 channels (such as patients with valid prescriptions) and moved to illicit channels for abuse. 125

 Diversion encompasses a variety of situations, including when (1) someone steals a controlled

 substance from any entity with appropriate access to that controlled substance; (2) a patient sells

 a controlled substance originally prescribed to them by a doctor for a legitimate medical purpose;

 or (3) a doctor writes a prescription for a controlled substance that does not address a legitimate

 medical need, and the patient, in turn, fills the prescription.


 124
    Gary Boggs (“Boggs”) Tr. (Jan. 17, 2019) at 354:6-12 (“Q. Mr. Boggs, I want to ask you
 some questions about diversion. What is diversion? A. Diversion is the act of taking
 pharmaceutical controlled substances out of the closed system of distribution or from legitimate
 channels, patients, and then moving them into -- outside of that for abuse.”); Rannazzisi Tr.
 (May 15, 2019) at 381:23-382:8 (“Q. All right. Now I think everybody is going to know by the
 time we play your deposition, but just in case they don’t, define for U.S. what is diversion. A.
 Diversion is when pharmaceuticals or listed chemicals are taken from the normal stream or the
 legitimate stream of commerce and moved into the illicit marketplace. Q. So diversion happens
 when drugs are diverted from their legal use? A. Basically, yes.”).
 125
    Boggs Tr. (Jan. 17, 2019) at 354:6-12 (“Q. Mr. Boggs, I want to ask you some questions
 about diversion. What is diversion? A. Diversion is the act of taking pharmaceutical controlled
 substances out of the closed system of distribution or from legitimate channels, patients, and then
 moving them into -- outside of that for abuse.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 43 of 141. PageID #: 165949




         71.     Diversion is distinct from overprescribing. Overprescribing occurs when well-

 intentioned prescribers (e.g., doctors, nurses, dentists, etc.) write prescriptions for legitimate

 medical purposes, but either prescribe too strong of a substance or too much of a substance to

 meet the medical need. For example, if a well-meaning dentist were to write a prescription for

 forty tablets of oxycodone 30 mg to a patient with a tooth extraction, that might well be viewed

 as overprescribing, but it would not be diversion. Where a provider knowingly prescribes

 opioids or another controlled substance in the absence of medical need, that is diversion. Over

 the last 30 years, overall prescribing rates for opioids have skyrocketed. 126 Overwhelmingly, this

 increase is due to overprescribing by the medical community writ large, not to diversion;

 prescribers who are diverting controlled substances account for a tiny fraction of increased

 prescribing figures. 127

         B.      Primary Causes of Diversion

         72.     Based on my experience at DEA, it is my opinion that the primary causes of

 diversion have included drug-seeking patients, criminal prescribers who knowingly prescribe to

 patients in the absence of a legitimate medical need, rogue internet pharmacies, and brick-and-

 mortar pill mills. Joseph Rannazzisi testified to Congress that the “most common methods of

 diversion witnessed are through doctor shopping, prescription fraud, improper prescribing and




 126
    National Institute on Drug Abuse, America’s Addiction to Opioids: Heroin and Prescription
 Drug Abuse, Figure 1, available at https://www.drugabuse.gov/about-nida/legislative-
 activities/testimony-to-congress/2014/americas-addiction-to-opioids-heroin-prescription-drug-
 abuse.
 127
    Expert Report of Anna Lembke (Mar. 25, 2019) at 9-14; Lembke Tr. (Apr. 24, 2019) at
 218:13-220:1.


                                                   38
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 44 of 141. PageID #: 165950




 sharing among family and friends.” 128 DEA presentations state that the primary focus of DEA

 diversion investigations are “indiscriminate/illegal prescribing; illegal sales; theft, robbery,

 burglary; fraudulent prescriptions; and doctor shopping. 129 Mr. Rannazzisi also testified to

 Congress that “the vast majority of diversion occurs at the retail level, once the product is in the

 hands of practitioners and patients.” 130

        73.     Diversion can occur at different levels outside the control of distributors. 131 Mr.

 Rannazzisi testified that:

                Pharmaceutical investigations and surveys of state and local law
                enforcement agencies and state medical boards have revealed that
                the most common methods of controlled substance prescription
                drug diversion include “doctor shopping” or other prescription
                fraud, illegal online pharmacies, theft and burglary (from
                residences, pharmacies, etc.), stereotypical drug dealing (selling
                pills to others), receiving from friends or family, and negligent or
                intentional over-prescribing by physicians or other practitioners. 132




 128
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 59, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 129
   DEA/OD 11th Pharmaceutical Industry Conference, Risk Management of Pharmaceutical
 Controlled Substances (Sept. 16, 2003) (PPLPC030000179742 at -9747).
 130
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 68, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 131
     Boggs Tr. (Jan. 17, 2019) at 354:18-355:5 (“Q. Well, why can’t you prevent all diversion? A.
 Diversion can occur at different levels outside of the distribution’s control. Diversion can occur
 at a pharmacy by an employee pilfering it. It can occur by a pharmacy being burglarized or
 robbed. Diversion can occur even after controlled substances have left with a legitimate patient
 and are sitting in a medicine cabinet of someone’s home, and someone steals them out of that
 medicine cabinet, that’s diversion. We certainly can’t control that.”).
 132
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 63, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 45 of 141. PageID #: 165951




        74.     Diversion can occur, for example, if an employee illegally steals a controlled

 substance from a pharmacy. 133 Diversion can also occur if a pharmacy is burglarized or

 robbed. 134 Diversion also occurs when a friend or family member steals controlled substances

 from the medicine cabinet of a patient who was legitimately prescribed the medication. 135

 Diversion also takes place when someone steals opioids from a friend who was prescribed the

 opioids for a legitimate medical need. 136 Mr. Rannazzisi further testified before Congress that

 “preliminary data suggest that the most common method in which controlled substance

 prescriptions are diverted may be through friends and family.” 137

        75.     DEA emphasized that “[p]rescription fraud is another common source of

 diversion.” 138 As DEA explained, prescription fraud occurs “whenever prescriptions for

 controlled substances are obtained under false pretenses, including when prescriptions are forged


 133
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 63, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 134
    Boggs Tr. (Jan. 17, 2019) at 354:20-24 (“A. Diversion can occur at different levels outside of
 the distributor’s control. Diversion can occur at a pharmacy by an employee pilfering it. It can
 occur by a pharmacy being burglarized or robbed.”); Dispensing Controlled Substances for the
 Treatment of Pain, 71 Fed. Reg. 52,716, 52,722 (Sept. 6, 2006) (“Diversion also occurs at the
 retail level with thefts from, and robberies of, pharmacies.”).
 135
    Boggs Tr. (Jan. 17, 2019) at 354:20-355:5 (“A. … Diversion can occur even after controlled
 substances have left with a legitimate patient and are sitting in a medicine cabinet of someone’s
 home, and someone steals them out of that medicine cabinet, that’s diversion. We certainly can’t
 control that.”); Rannazzisi Tr. (Apr. 26, 2019) at 53:16-20 (“Q. Someone can go into their
 grandmother’s cabinet, take the grandmother’s opioids that she got for a legitimate reason; and
 that’s diversion, isn’t it? A. Technically, yes, that’s diversion.”).
 136
   Rannazzisi Tr. (Apr. 26, 2019) at 53:21-24 (“Q. Someone could take opioids from a friend
 who got them for a legitimate reason. That’s diversion. A. Yes.”).
 137
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 65, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 138
    Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,722
 (Sept. 6, 2006).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 46 of 141. PageID #: 165952




 or altered, or when someone falsely claiming to be a physician calls in the prescription to a

 pharmacy.” 139

         76.      DEA also stated that “‘[d]octor shopping’ is another traditional method by which

 diversion occurs.” 140 DEA explained that “doctor shopping” occurs when “[s]ome drug abusers

 visit multiple physicians’ offices and falsely present complaints in order to obtain controlled

 substances.” 141 Mr. Rannazzisi testified to Congress that “‘[d]octor shopping’ by drug addicts is

 one of the most common ways that addicts get illegal controlled substances.” 142

         77.      Generally, pharmacies—which, like distributors, are DEA registrants—work to

 make sure they are not filling prescriptions for patients who are likely to divert controlled

 substances or for “rogue” prescribers who prescribe them without a legitimate medical purpose.

 DEA estimates that rogue prescribers, who are knowingly prescribing controlled substances in

 the absence of legitimate medical need, amount to about one half of one percent of

 practitioners. 143



 139
    Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,722
 (Sept. 6, 2006).
 140
    Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,722
 (Sept. 6, 2006).
 141
    Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,722
 (Sept. 6, 2006).
 142
    Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
 done to address this new drug epidemic? (July 26, 2006), at 64, available at
 https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
 143
     Prevoznik Tr., Ex. 14, Apr. 17, 2019 (DEA Deputy Administrator Rannazzisi’s testimony
 before the House of Representatives Committee on Energy and Commerce, April 29, 2014) (“I
 think that if you are talking about 99.5 percent of the prescribers, no, they are not
 overprescribing, but our focus is in rogue pain clinics and rogue doctors who are
 overprescribing.”)). During Mr. Rannazzisi’s deposition, he confirmed that he made that
 statement during the April 2014 hearing, and that one half of one percent of doctors were
 drawing DEA’s focus as “rogue doctors.” Rannazzisi Tr., 192:5-19, 193:2-9.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 47 of 141. PageID #: 165953




        C.      The Vast Majority of Orders Meeting the Regulatory Definition of
                “Suspicious Orders” Are Legitimate and Not Likely to be Diverted

        78.     It is important to understand that an order that meets the definition of “suspicious

 order” in § 1301.74(b) is not necessarily likely to be diverted. 144 This is because there are

 completely legitimate reasons that an order may be found to be of unusual size, unusual

 frequency, or deviating from the normal pattern. 145 In fact, the vast majority of orders that are of



 144
     Prevoznik Tr. (Apr. 17, 2019) at 309:4-6 (“Q. Not every suspicious order leads to diversion,
 correct? A. Correct.”); Prevoznik Tr. (May 17, 2019) at 1206:6-10 (“Q. Now, not every order
 of unusual size is indicative of diversion, correct? … THE WITNESS: Correct.”); Prevoznik Tr.
 (May 17, 2019) at 1207:11-16 (“Q. And, Mr. Prevoznik, not every order of unusual frequency is
 indicative of diversion, correct? … THE WITNESS: Correct.”); Prevoznik Tr. (May 17, 2019)
 at 1208:21-1209:2 (“Q. Now, Mr. Prevoznik, not every order that deviates substantially from a
 normal ordering pattern is indicative of diversion, correct? … THE WITNESS: Correct.”);
 Boggs Tr. (Jan. 17, 2019) at 97:14-98:2 (“Q. I understand that there are all sorts of possibilities,
 but the fact of the matter is that suspicious orders can lead you to a suspicious customer, true? …
 THE WITNESS: Without knowing more about the customer, no. … Q. Well -- A. There is an
 assumption that a suspicious order equals a suspicious customer, and that’s very misplaced from
 my experience.”); Boggs Tr. (Jan. 17, 2019) at 363:2-12 (“Q. Well, if the orders are suspicious
 orders, why doesn’t that make the customers suspicious? A. I think that suspicion in this
 particular context is not the type of suspicion that -- in the way you and I might use the context
 of suspicious. That’s the term under the regulation as to what it’s called. But the order is simply
 identified as an order of unusual size, an order that deviates substantially from a normal pattern
 or unusual frequency.”); Ashley Tr. at 147:8-11 (“Q. Based on your experience, would you agree
 that there might be situations where an order is of an unusual size, but the order is not
 suspicious? A. Yes.”); Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. You’d agree that not
 reporting the suspicious order to DEA is not what causes diversion? A. That’s correct.”).
 145
     Prevoznik Tr. (May 17, 2019) at 1206:12-1207:9 (“Q. There could be legitimate reasons for a
 pharmacy to place an order of unusual size, correct? … THE WITNESS: Correct. … It could be
 a new hospital opened, a new clinic opened. A new hospice center could have opened. Any one
 of those.”); Prevoznik Tr. (May 17, 2019) at 1207:18-23 (“Q. There could be legitimate reasons
 for an order of unusual frequency, true? … THE WITNESS: True.”); Prevoznik Tr. (May 17,
 2019) at 1209:4-7 (“Q. And could there be legitimate reasons for an ordering pattern that is
 abnormal in some manner? A. Yeah, there could be.”); Ashley Tr. at 147:8-148:11; Boggs Tr.
 (Jan. 17, 2019) at 363:19-364:6 (“Q. So can you give me an example of how a legitimate
 pharmacy might place an order that you would flag as suspicious, and yet not consider to be
 suspicious in the lay sense? A. You could have an order come in, they’re -- someone didn’t put
 the correct amount that they wanted. They fat fingered a number in there and made a -- made an
 error, and they’re trying to order actually more than what they really intended to. But because
 that order was placed with us, that would be deemed as an order of unusual size and reported as
 suspicious.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 48 of 141. PageID #: 165954




 unusual size, unusual frequency, or deviating from a normal pattern, at least for a time, but the

 orders are for legitimate reasons. They may be considered “unusual” as compared to some

 metric of past orders, which would make them “suspicious” as defined in the regulation, but that

 does not mean they are indicative of diversion.

        79.     In pharmacy ordering, significant variation is the norm. 146 Pharmacies order a

 wide range of products every day in an effort to anticipate future patient needs. For any given

 product or base code, the daily ordering trends will be extremely volatile, potentially ranging

 from zero dosage units one day to thousands of dosage units the next, and back to zero again for

 the next several days or more. For this reason, wholesale distributors often track customer orders

 by monthly totals rather than by individual order. Monthly totals are less volatile than daily

 totals, but even on a monthly basis pharmacy ordering habits will vary substantially. 147 A given

 pharmacy might order many thousands more dosage units of a particular base code one month

 than in the previous month, or vice-versa. Some of these monthly totals may constitute orders of

 unusual size, pattern or frequency, which would make them “suspicious” as defined in the

 regulation, but it would not necessarily be indicative of diversion. 148




 146
     AGI, Suspicious Order Monitoring Threshold System for McKesson Independent Retail
 Pharmacy Customers: Description and Rationale (May 12, 2017), Figure 1 (MCKMDL00409766
 at -9772).
 147
    AGI, Suspicious Order Monitoring Threshold System for McKesson Independent Retail
 Pharmacy Customers: Description and Rationale (May 12, 2017) (MCKMDL00409766 at -
 9772).
 148
    AGI, Suspicious Order Monitoring Threshold System for McKesson Independent Retail
 Pharmacy Customers: Description and Rationale (May 12, 2017) (MCKMDL00409766 at -
 9772); Boggs Tr. (Jan. 17, 2019) at 362:22-363:1 (“Q. If a customer places a suspicious order,
 does that mean that order is likely to be diverted? A. It does not.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 49 of 141. PageID #: 165955




 VII.   McKesson’s Section 55 Suspicious Order Monitoring Program Complied with the
        CSA and Regulations

        80.     The Drug Operations Manual, “McKesson’s Section 55 program,” is McKesson’s

 earliest suspicious order monitoring program relevant to the current litigation. 149 McKesson’s

 Section 55 program provides policies for the handling and distribution of controlled

 substances. 150 Of relevance here, McKesson’s Section 55 policies cover the identification and

 reporting of potential suspicious orders in compliance with the CSA and the regulations. 151

        A.      Overview of McKesson’s Section 55 Program

                1.     McKesson’s Section 55 Program’s Detection of Suspicious Orders

        81.     McKesson’s Section 55 program relied on both daily and monthly Controlled

 Substance Suspicious Order Warning Reports 152 and on reviews of controlled substances orders

 by order fillers and the Distribution Center management. 153 McKesson’s Section 55 policies

 describe several daily and monthly reports generated by McKesson to track controlled substance

 orders and purchases. 154 Among the controlled substance reports generated under McKesson’s




 149
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378); 1997 McKesson
 Drug Operations Manual Section 55 (MCKMDL00651873).
 150
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873).
 151
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5405-11);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1918-25).
 152
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5406-07);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1919-20).
 153
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5410); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1923).
 154
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5406-07);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1919-20).


                                                 44
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 50 of 141. PageID #: 165956




 Section 55, McKesson generated daily and monthly suspicious order reports referred to by

 McKesson as “DU-45s.” 155

          82.      McKesson’s daily and monthly DU-45 reports identified customers who ordered

 controlled substances that exceeded the three times monthly average of the Schedule II or III

 controlled substance. 156 McKesson’s Section 55 program states that the daily and monthly DU-

 45s were to be reported to DEA. 157

          83.      McKesson’s Section 55 program outlined actions that should be taken in response

 to the DU-45 reports. 158 Section 55 specified that the Distribution Center Manager or other

 specified individuals “must review” the DU-45 report and sign to show the report was

 reviewed. 159 Section 55 then required that the DU-45 report be faxed “immediately” to the DEA

 district office. 160

          84.      In addition to the Section 55 program’s daily and monthly DU-45 reports, Section

 55 went on to state that “[f]orwarding these reports to DEA does not relieve the Distribution

 Center of responsibility to review the reports and note order quantities of unusual size.” 161


 155
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5406-07);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1919-20).
 156
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5406-07);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1919-20).
 157
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408-09);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921-22).
 158
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408-09);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921-22).
 159
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921).
 160
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921).
 161
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5409); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1922).


                                                  45
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 51 of 141. PageID #: 165957




 Instead, Section 55 requires “[w]here such transactions are noted, notify DEA by telephone call

 and refer to the line item of the submitted report.” 162

         85.     McKesson’s Section 55 program also provided additional methods to identify

 potentially suspicious orders.

                 x       Section 55 required that all order forms for Schedule II controlled
                         substances “must be reviewed and initialed by a distribution center
                         manager or his or her designee properly trained in DEA Form 222
                         compliance before filling.” 163

                 x       Section 55 also required that “[c]ontrolled substance and List 1 product
                         order fillers must be aware of our responsibilities. They are expected to
                         report to management any unusual purchase request before orders are
                         filled.” 164

                 x       Section 55 then required that management “determine if the quantity
                         requested will be filled entirely and record the information on the DEA
                         Unusual Purchase Notification Log.” 165

                 x       Section 55 explained that “it will be the responsibility of the DCM
                         [Distribution Center Manager] to notify the DEA by telephone during
                         daytime work hours and complete the remainder of the log. A copy of the
                         DEA Unusual Purchase Notification Log should be mailed (Certified
                         Mail, ‘Return Receipt Requested’) once a month to the DEA Regional
                         Office in charge.” 166


 162
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408-09);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1922).
 163
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5410)
 (emphasis added); 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at
 -1923) (emphasis added).
 164
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5410); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1923) (“Controlled
 substance order fillers must be aware of our responsibilities. They are expected to report to
 management any unusual purchase request before orders are filled.”).
 165
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5410); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1923).
 166
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5410)
 (emphasis added); 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at
 -1923) (emphasis added).


                                                   46
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 52 of 141. PageID #: 165958




                2.     Verification of New and Existing Customers’ DEA Registrations
                       Complied with § 1301.74(a)

        86.     Section 55’s due diligence procedures complied with § 1301.74(a)’s requirements

 and DEA guidance at the time. McKesson’s Section 55 program required that a designated

 McKesson employee verify the DEA registration of a new customer before the first shipment of

 controlled substances to the new customer. 167

        87.     McKesson’s Section 55 program also required continual monitoring of its existing

 customer’s DEA registrations. 168 Distribution center managers reviewed DEA Number

 Expiration Reports to track when a customer’s DEA registration was due to expire. 169 DEA

 Number Expiration reports allowed McKesson to track when McKesson needed to verify that the

 customer’s registration was renewed. 170

        B.      McKesson’s Daily and Monthly DU-45 Reports Satisfied the CSA and
                Regulatory Requirements

        88.     McKesson submitted suspicious order reports, referred to as “DU-45s,” under its

 Section 55 program. 171 The industry standard at the time was to ship orders and report the orders




 167
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5397); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1911).
 168
     2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5398); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1912) (“This monthly
 report … will list all customers, by sales territory, with DEA numbers that expire in the next 60
 days. … RAMs are to sight-verify each registrant’s DEA certificate listed on this report and
 attach a copy of the customer’s renewal to the report.”).
 169
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5400); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1912).
 170
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5400); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1912).
 171
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5406-07);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1919-20).


                                                  47
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 53 of 141. PageID #: 165959




 to DEA after the fact. 172 The DU-45s submitted by McKesson under Section 55 to DEA were

 suspicious order reports. DEA referred to excessive order reports as suspicious order reports and

 accepted those the reports as such. 173

           89.   The DU-45 report stated at the top of the report that it was a “controlled substance

 suspicious purchase report.” 174 The DU-45 reports stated at the top of each page:

                 Pursuant to CFR 21, S. 1301.74(b), we are sending a copy of the
                 monthly controlled substance suspicious purchase report for 03/07.
                 This report reflects purchases from customers for Schedules II-V
                 controlled substances which exceed the item monthly average for
                 the class of trade. A listing of the parameters used are available
                 upon request. 175

           90.   McKesson’s DU-45 daily and monthly reports to DEA provided DEA with

 information including:

                 x      Customer information (name, address, telephone number);

                 x      Customer’s DEA registration number;

                 x      Product’s NDC number;

                 x      Selling description (product name, dosage, manufacturer); and

                 x      Quantity ordered. 176




 172
    Wright Tr. (Feb. 28, 2019) at 72:4-10 (“Q. Okay. And prior -- through 2005, did you
 understand that it was the standard practice in the industry to submit Excessive Purchase Reports
 while continuing to ship product? ... A. Yes, ma’am.”); Wright Trial Tr. (US v. $463,497.72) at
 386:17-21 (“Q. And you understood at the time that you were making these decisions that it was
 standard practice in this industry to file suspicious activity reports while continuing to ship
 products? A. Yes, sir.”).
 173
       Prevoznik Tr. (May 17, 2019) Ex. 26 (US-DEA-00025672).
 174
       Hilliard Tr. (Jan. 10, 2019), Ex. 10 (MCKMDL00660789 at -0790).
 175
       Hilliard Tr. (Jan. 10, 2019), Ex. 10 (MCKMDL00660789 at -0790).
 176
       Hilliard Tr. (Jan. 10, 2019), Ex. 10 (MCKMDL00660789 at -0790).


                                                  48
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 54 of 141. PageID #: 165960




        91.     McKesson’s Section 55 program described the steps required in response to the

 generation of the daily and monthly DU-45 reports. 177 The Distribution Center manager or

 another specified employee was first required to review the report and sign it. 178 The report was

 then faxed “immediately” to the distribution center’s DEA district office. 179

        92.     Section 55 required that McKesson Distribution Centers submit DU-45s to DEA.

 The DC manager or a designee was required to review and sign the DU-45 nightly, and fax a

 copy to the DC’s local DEA District Office. The monthly DU-45 report was also reviewed and

 signed by the Distribution Center Manager or another specified employee. 180 The monthly

 report was then sent by certified mail to the district DEA office. 181

        93.     As discussed above, the broad definition of “suspicious order” set forth in §

 1301.74(b) can include large numbers of orders that are not indicative of diversion. McKesson’s

 DU-45 reports included all orders of unusual size, pattern and frequency, even where such orders

 were not indicative of diversion. McKesson employees have testified that local DEA offices

 requested that the company stop faxing daily suspicious order reports because “they were

 frustrated with the frequency and size of the reports . . . and asked [McKesson] to stop clogging




 177
    2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408-09);
 1997 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921-22).
 178
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921).
 179
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5408); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921).
 180
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5409); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1921).
 181
   2000 McKesson Drug Operations Manual Section 55 (MCKMDL00545378 at -5409); 1997
 McKesson Drug Operations Manual Section 55 (MCKMDL00651873 at -1922).


                                                  49
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 55 of 141. PageID #: 165961




 up the fax machines.” 182 DEA personnel have testified that sometime after 2005, DEA wanted

 registrants to change their method of submission, because “there was a lot of paper. It took a lot

 of time to go through it. . . [H]alf to three-quarters of them sometimes went into the trash.” 183

           C.     DEA Approved of Distributors Submitting Suspicious Order Reports to DEA
                  After Shipping the Order

           94.    The industry standard at the time of McKesson’s Section 55 program was to ship

 orders and report certain orders to DEA after the order shipped. 184 McKesson’s DU-45 reports

 aligned with the industry standard.

           95.    DEA was aware of and approved the industry practice of shipping orders and

 reporting orders to DEA after shipping. 185 These types of reports were later referred to as

 “excessive purchase reports” or the “excessive purchase system.” 186 DEA, however, had blessed




 182
    Hilliard Tr. (Jan. 10, 2019) at 182:21-183:17; Snider Tr. (Nov. 8, 2018) at 482:10-482:24
 (Testifying that DEA requested that he stop submitting daily suspicious order reports to the local
 DEA field office sometime in 2004 or 2005); Regulatory Section, DEA Headquarters, ODG
 Presentation (CAH_MDL2804_01447421 at -7435).
 183
       Wright Tr. (Feb. 28, 2019) at 84:2-21.
 184
    Wright Tr. (Feb. 28, 2019) at 72:4-10 (“Q. Okay. And prior -- through 2005, did you
 understand that it was the standard practice in the industry to submit Excessive Purchase Reports
 while continuing to ship product? ... A. Yes, ma’am.”); Wright Trial Tr. (US v. $463,497.72) at
 386:17-21 (“Q. And you understood at the time that you were making these decisions that it was
 standard practice in this industry to file suspicious activity reports while continuing to ship
 products? A. Yes, sir.”).
 185
       Wright Tr. (Feb. 28, 2019) at 72:4-10; Prevoznik Tr. (Apr. 17, 2019) at 121:15-19.
 186
       Walker Tr. (Jan. 10, 2019) at 365:12-22; Wright Tr. (US v. $463,497.72) at 39:17–20.


                                                  50
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 56 of 141. PageID #: 165962




 these reporting systems for years. 187 DEA employee Kyle Wright testified in multiple

 litigations, including this one, that DEA “blessed” the “excessive purchase system.” 188

        96.     DEA employee Demetra Ashley further testified that DEA understood that

 distributors submitted these reports to DEA to comply with § 1301.74. 189 McKesson’s use of the

 DU-45 reports to comply with § 1301.74(b) was evident on the face of its DU-45 reports, which

 stated on every page that “Pursuant to CFR 21, S. 1301.74(b), we are sending a copy of the

 monthly controlled substance suspicious purchase report.” 190

        97.     With respect to McKesson, DEA was aware that McKesson submitted DU-45s

 through several means. As I discussed above, DEA received the daily and monthly DU-45s from

 McKesson’s distribution centers. In addition, DEA conducted cyclical audits of McKesson’s

 distribution centers during the time that McKesson submitted DU-45s. 191 DEA would have

 reviewed McKesson’s suspicious order monitoring program during the cyclical audits. 192 In my


 187
     Wright Tr. (Feb. 28, 2019) at 75:2-9 (“Q. And it’s fair to say that that the Excessive Purchase
 Reports were the accepted practice by DEA for many years; is that right? ... A. As far as my
 experience of dealing with them when I came on, yes, ma’am.”); Wright Tr. (US v. $463,497.72)
 at 42:19-43:2 (“A. … the DEA, some offices blessed these systems. I mean, they entered into
 agreements, and headquarters, unfortunately, blessed some of these systems.”).
 188
    Wright Tr. (Feb. 28, 2019) at 72:12-16 (“Q. Now, the Excessive Purchase System had been
 blessed by various DEA offices; is that right? … A. Yes, ma’am.”).
 189
     Ashley Tr. at 30:14-17 (“Q. Okay. Do you know why the registrants, the distributors were
 submitting this type of report? A. Yeah, required by regulation.”); Ashley Tr. at 30:18-31:4
 (“Q. Okay. And so in other words, what you understood -- am I correct that your understanding
 is that the distributors were submitting these excessive purchase reports in order to meet their
 obligations with their suspicious order reporting obligations under 1301.74? ... A. Yes.”).
 190
   McKesson Monthly Controlled Substance Suspicious Purchase Report (Apr. 3, 2007)
 (MCKMDL00660789 at -0790).
 191
    Hilliard Tr. at 175:12-176:4 (“A. … There was DEA inspections that had occurred in our
 facilities and there was never an issue with that.”).
 192
    Rafalski Tr. (May 13, 2019) at 343:3-22 (A. … It’s a three-pronged investigation: security,
 recordkeeping and accountability.”); Prevoznik Tr. (Apr. 17, 2019) at 130:13-131:14 (“A. …
 We’re going to look at various things to make the determination on what is going on.”).


                                                 51
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 57 of 141. PageID #: 165963




 experience and, as was confirmed by other witnesses who worked at DEA, DEA would have

 informed McKesson during an audit if the DU-45 reports did not comply with § 1301.74(b). 193

 During the cyclical audits DEA conducted of McKesson while McKesson submitted DU-45s,

 DEA never raised any issues with McKesson’s submission of DU-45s to DEA. 194

        D.      McKesson’s Section 55 Program Complied with the CSA and Regulations

        98.     It is my opinion that McKesson’s Section 55 complied with the requirements set

 forth in the CSA, implementing regulations, and relevant DEA guidance at the time. If I were to

 visit a McKesson DC as a DEA Diversion Investigator to review McKesson’s Section 55 policy

 and inspect McKesson operations when the Section 55 suspicious order program was in effect, I

 would have reported that it was compliant with all requirements. I would have also concluded

 that McKesson’s Section 55 program was properly designed to combat diversion as it was

 understood at the time.




 193
     Prevoznik Tr. (Apr. 17, 2019) at 131:15-23 (“Q. And if either in the pre-registration process
 or in the audit process the DEA determines that a registrant's system is not adequately detecting
 suspicious orders, is that something that is conveyed to the registrant? A. Yeah, we -- we
 would tell them, you need to add something.”); Prevoznik Tr. (Apr. 18, 2019) at 461:13-21 (“Q.
 Okay. And the registrants who are visited by DEA field office personnel can rely on the
 information that they receive from DEA field division personnel regarding SOMs systems, true?
 … A. Yeah, they get guidance.”); Rafalski Tr. (May 13, 2019) at 342:9-343:2 (“Q. So if
 McKesson’s Section 55 program had been out of compliance with federal regulations and DEA
 was conducting audits of the McKesson facilities, wouldn’t DEA have told McKesson during its
 annual audits that its program was out of compliance? A. I would have an expectation that if a
 person was to go on site and actually review the system, that I would have an expectation that
 there -- maybe should make some comment or do some corrective action.”).
 194
    Hilliard Tr. at 175:21-176:4 (“A. This was part of the Suspicious Order Task Force. This
 was the format for which industry came to the conclusion to provide this information to the DEA
 and DEA was good with it. There was DEA inspections that had occurred in our facilities and
 there was never an issue with that. So this is the format for which the original documentation
 was supplied to DEA.”).


                                                52
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 58 of 141. PageID #: 165964




        E.      McKesson’s Section 55 Program Followed Models of Industry and DEA
                Approved of Industry Practice

        99.     McKesson’s Section 55 program followed the models that DEA and industry had

 created at the time.

                1.      The 1998 Suspicious Order Task Force Report Reflects Industry
                        Standards for Controlled Substances, Including McKesson’s Section
                        55 Program

        100.    DEA and distributors regularly met prior to the Distributor Initiative briefings

 concerning the reporting of suspicious orders to DEA. One collaboration between DEA and

 industry was the Suspicious Order Task Force (“Task Force”), which was formed in 1997. 195

 The Task Force included representatives from industry, law enforcement, and regulatory

 agencies. 196 Two DEA officials participated on the Task Force. 197 The Task Force developed

 guidelines to identify signs of “suspicious orders” in various parts of the industry. 198

        101.    The work of the Task Force was not limited to preventing the illegal production

 and abuse of methamphetamine. The Task Force Report applied the industry standards used for

 controlled substances at the time to List 1 chemicals. Recommendations in the Task Force’s

 Report like the use of automated tracking systems for “suspicious order report” applied for “List

 I Chemicals and Schedule II – V Controlled Substances.” 199



 195
   Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2211).
 196
   Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2211).
 197
   Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2217).
 198
   Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2211).
 199
   Report to the U.S. Attorney General by the Suspicious Orders Task Force
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2247).

                                                   53
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 59 of 141. PageID #: 165965




         102.    The Task Force Report included a proposed formula that could be used in

 automated suspicious order monitoring systems. 200 The proposed formula included:

                 x       Calculating monthly averages based on the last 12 months of purchasing;
                         and

                 x       Setting monthly thresholds that were 3 times the monthly average for
                         purchases involving Schedule II substances. 201

         103.    The Task Force’s Report recommended that one report should be submitted to

 DEA for Schedule II-V controlled substances, and one report should be submitted to DEA for

 List 1 chemicals. 202

                 2.      Chemical Handler’s Manual

         104.    DEA first published the “Chemical Handler’s Manual: A Guide to Chemical

 Control Regulations” in June 2002. The Chemical Handler’s Manual has been updated several

 times by DEA since 2002. DEA issued the Chemical Handler’s Manual “for the purpose of

 explaining the Controlled Substances Act (CSA) and its implementing regulations.” 203




 200
    Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2247) (“This formula is used to calculate the
 quantity which, if exceeded in one month, constitutes an order which may be considered
 excessive or suspicious.”).
 201
   Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2247).
 202
    Report to the U.S. Attorney General by the Suspicious Orders Task Force (Oct. 1998)
 (CAH_MDL_PRIORPROD_HOUSE_0002207 at -2247) (“At the end of each month, a report
 will be transmitted to DEA (separate reports List I Chemicals and Schedule II-V Controlled
 Substances) of all purchases of List I Chemicals and/or C-II-V Controlled Substances and List I
 containing OTC items by any customers whose purchase quantities exceed the parameters
 (above) any (2) consecutive months or in three (3) of any moving six (6) month period.”)
 (emphasis added).
 203
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8695).


                                                 54
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 60 of 141. PageID #: 165966




        105.    In Appendix E-3, the Chemical Handler’s Manual outlines the same formula

 developed by the Suspicious Order Task Force in 1998. The formula for reporting suspicious

 orders in Appendix E-3 is entitled “Suspicious Order Reporting System for Use in Automated

 Tracking Systems.” 204 The Chemical Handler’s Manual explains that the formula is a “voluntary

 formula” that “is for use by distributors to wholesale and retail levels.” 205 The Chemical

 Handler’s Manual goes on to explain that “[t]he formula calculates the quantity which, if

 exceeded in one month, constitutes an order which may be considered excessive or suspicious

 and therefore require reporting to DEA.” 206 The Chemical Handler’s Manual’s formula

 includes:

                x       Setting a monthly average using information about the customer’s last
                        twelve months of purchases; and

                x       Setting a monthly threshold amount at 3x the monthly average for
                        purchases that contain Schedule II controlled substances. 207

        106.    For example, if the monthly average of the controlled substances was three units

 for that product, then the monthly threshold for that product would have been 9 units.




 204
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).
 205
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).
 206
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).
 207
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).


                                                 55
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 61 of 141. PageID #: 165967




          107.   The Chemical Handler’s Manual recommends that a distributor provide “separate

 reports for List I Chemicals and Schedule II-V Controlled Substances” to DEA. 208 The

 Chemical Handler’s Manual also recognizes that using computers to report suspicious orders to

 DEA is the “only viable, cost effective methodology for the reporting of orders which may be

 considered excessive or suspicious.” 209

                 3.     DEA Blessed Registrants’ Suspicious Order Monitoring Programs

                        a)     DEA Wrote Letters that Approved ABDC’s Suspicious Order
                               Monitoring Program

          108.   One example of DEA blessing a distributor’s suspicious order monitoring

 program is DEA’s approval of ABDC’s suspicious order monitoring program that DEA and

 ABDC developed together. The suspicious order monitoring program that ABDC developed

 with DEA involved a computer program that compared a customer’s controlled substance orders

 to a standard, which was an average of that customer’s prior four months of orders. 210 Under

 ABDC’s proposed monitoring program, ABDC would print on a summary report any customer

 orders that exceeded the past four month average by a specified amount. 211 After that order was




 208
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).
 209
   U.S. Department of Justice, Drug Enforcement Administration, “Chemical Handler’s Manual:
 A Guide to Chemical Control Regulations,” (January 2004)
 (CAG_MDL_PRIORPROD_DEA07_01198690 at -8735).
 210
       Chris Zimmerman Letter to DEA (Sept. 30, 1996) (ABDCMDL00269355 at -9356).
 211
       Chris Zimmerman Letter to DEA (Sept. 30, 1996) (ABDCMDL00269355 at -9356).


                                                56
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 62 of 141. PageID #: 165968




 processed, ABDC faxed the report to the appropriate DEA field office. 212 As stated in ABDC’s

 letter to DEA, ABDC’s program involved shipping the orders that ABDC reported to DEA. 213

          109.   With this knowledge, DEA responded to ABDC’s proposed automated suspicious

 order monitoring program on October 29, 1996. DEA wrote that “[w]e have reviewed your

 proposal and feel that it could be a viable alternative to the current system.” 214 DEA also

 acknowledged that it understood that program involved ABDC shipping the orders that appeared

 on the report to DEA. Specifically, DEA recognized that the report to DEA would include the

 “active ingredient volume ordered and shipped.” 215 DEA closed its letter to ABDC by stating:

 “We look forward to working with you on this new project which we, too, hope will lead to a

 more efficient suspicious order reporting system.” 216

          110.   ABDC tested its new system on a limited scale. After this testing, DEA wrote to

 ABDC that “DEA managers who have been involved with the testing of the system have relayed

 their positive opinions regarding its ability to provide information in a fashion that which is not

 only useful overall, but is also responsive to the needs of individual DEA offices.” 217

          111.   The letter that ABDC received from DEA on July 23, 1998, was “Approve

 Suspicious Order Monitoring Program.” 218 In the letter, DEA approved of ABDC’s suspicious



 212
       Chris Zimmerman Letter to DEA (Sept. 30, 1996) (ABDCMDL00269355 at -9356).
 213
    Chris Zimmerman Letter to DEA (Sept. 30, 1996) (ABDCMDL00269355 at -9356); DEA
 Letter to Chris Zimmerman (October 29, 1996) (ABDCMDL00315789 at -5789).
 214
       DEA Letter to Chris Zimmerman (October 29, 1996) (ABDCMDL00315789 at -5789).
 215
    DEA Letter to Chris Zimmerman (October 29, 1996) (ABDCMDL00315789 at -5789)
 (emphasis added).
 216
       DEA Letter to Chris Zimmerman (October 29, 1996) (ABDCMDL00315789 at -5790).
 217
       DEA Letter to Chris Zimmerman (July 23, 1998) (US-DEA-00025671).
 218
       DEA Letter to Chris Zimmerman (July 23, 1998) (US-DEA-00025671).


                                                  57
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 63 of 141. PageID #: 165969




 order monitoring program. DEA wrote that “[t]his is to grant approval of your request to

 implement on a nationwide basis your newly developed system to identify and report suspicious

 orders for controlled substances and regulated chemicals, as required by Federal regulation.” 219

                        b)     ABDC’s Suspicious Order Monitoring Program and
                               McKesson’s Section 55 Program Shared Key Features

          112.   McKesson’s Section 55 program was similar to ABDC’s program in key features.

 Most importantly, McKesson’s Section 55 program and the ABDC program as described in

 DEA’s approval letters both involved reporting suspicious orders on a daily and monthly basis to

 DEA. 220 DEA expressly approved of distributors submitting automated reports of suspicious

 orders after the orders shipped on a daily and monthly basis to DEA. 221 In addition, DEA

 approved implementation of the system with after-the-fact reporting of suspicious orders. 222

          113.   Another critical feature shared by both McKesson’s Section 55 program and

 ABDC’s program is that both programs detected suspicious orders using a multiplier of the

 average of the customer’s prior monthly purchases. 223 Both systems created reports of customer



 219
       DEA Letter to Chris Zimmerman (July 23, 1998) (US-DEA-00025671).
 220
    Rafalski Tr. (May 13, 2019) at 341:2-11 (Q. … And both McKesson and ABDC’s systems,
 they report suspicious orders on a daily or monthly basis after the order has been shipped. That
 was part of the old program, right? A. Well, based on that algorithm, they were reporting --
 making reports on a monthly basis to the DEA, yes, sir.”); 2000 McKesson Drug Operations
 Manual Section 55 (MCKMDL00545378 at -5406-07).
 221
       DEA Letter to Chris Zimmerman (July 23, 1998) (US-DEA-00025671).
 222
    DEA Letter to Chris Zimmerman (July 23, 1998) (US-DEA-00025671); Prevoznik Tr. (May
 17, 2019) at 1139:10-16 (Q. Okay. Mr. Prevoznik, the DEA approved for implementation
 nationwide a suspicious order monitoring system that reported suspicious orders to the DEA on a
 daily basis after the report -- after the orders had already been shipped, correct? A. Yes.”),
 Prevoznik Tr. (May 17, 2019) at 1157:15-21 (Q. Okay. And the system that was designed, that
 the DEA approved to implement, using your words, had after-the-fact reporting, correct? … A.
 Yes.”).
 223
    Rafalski Tr. (May 13, 2019) at 340:19-341:1 (“Q. Both McKesson and ABDC's systems,
 they used a multiplier of the customer's prior monthly purchase averages to detect suspicious

                                                 58
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 64 of 141. PageID #: 165970




 orders that exceeded the multiplier and sent those reports to DEA after the order shipped on a

 daily and monthly basis. 224 In a letter to ABDC, DEA described ABDC’s program:

 “Customer’s orders that exceed their four month average order history by an as yet unspecified

 percentage would be shown on a summary report that would be sent to the appropriate Drug

 Enforcement Administration (DEA) field office on a daily basis.” 225 DEA referred to the reports

 generated using the multiplier as suspicious order reports in a DEA letter to ABDC. 226

          114.   McKesson’s Section 55 program shared critical features with ABDC’s suspicious

 order monitoring program in use at the same time. DEA’s approval of such features with respect

 to ABDC’s program also constitute DEA’s acceptance of the same features in McKesson’s

 program. 227

 VIII. Diversion Trends and Changing Technology

          115.   Pharmaceutical diversion has meaningfully changed over the past twenty years. 228

 Rogue Internet pharmacies and pill mills, for example, were unprecedented criminal diversion


 orders, correct? A. They did use a multiplier.”); 2000 McKesson Drug Operations Manual
 Section 55 (MCKMDL00545378 at -5406).
 224
   Chris Zimmerman Letter to DEA (Sept. 30, 1996) (ABDCMDL00269355 at -9356);
 McKesson Section 55 (MCKMDL00545378 at -5406-5407); 2000 McKesson Drug Operations
 Manual Section 55 (MCKMDL00545378 at -5406-07).
 225
       DEA Letter to Chris Zimmerman (Oct. 29, 1996) (ABDCMDL00315789 at -5789).
 226
    DEA Letter to Chris Zimmerman (Oct. 29, 1996) (ABDCMDL00315789 at -5789); Prevoznik
 Tr. (May 17, 2019) at 1109:15-1110:15 (Q. Okay. They -- the DEA says suspicious order,
 right? … A. Yeah.”); 1118:2-1118:10 (“Q. But Tom refers to it as a monthly suspicious order
 report, correct? A. Right.”).
 227
    Wright Tr. (Feb. 28, 2019) at 72:12-16 (“Q. Now, the Excessive Purchase System had been
 blessed by various DEA offices; is that right? ... A. Yes, ma’am.”).
 228
    Boggs Tr. (Jan. 17, 2019) at 356:14-22 (“A. There’s different types of schemes that can
 occur that would cause a – what I would consider a trend. We’ve – we’ve seen diversion trends,
 such as rogue internet pharmacies, be a diversion trend. It's a massive criminal scheme. We’ve
 seen pill mills in Florida. That's a diversion trend and is a criminal scheme.”); Boggs Tr. (July
 19, 2018) at 80:22-81:12.


                                                 59
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 65 of 141. PageID #: 165971




 schemes that had never been seen before in the country. 229 Highly specific red flags of diversion

 were associated with rogue Internet pharmacies and pill mills that may not be useful in detecting

 other diversion schemes. 230 Technology also has advanced significantly over the past twenty

 years, and McKesson worked hard to incorporate these developments in technology into its anti-

 diversion program.

           A.     Rise of Rogue Internet Pharmacies

           116.   A significant diversion trend that emerged in the early 2000s was rogue Internet

 pharmacies. 231 Rogue Internet pharmacies were the primary focus of DEA’s pharmaceutical

 diversion efforts during the early- to mid-2000s. 232 Mr. Rannazzisi wrote his letters to

 distributors that are dated September 27, 2006, and December 27, 2007, in the context of rogue

 Internet pharmacies. 233 The red flags that Mr. Rannazzisi identified, for example, are focused on

 rogue Internet pharmacies. 234 The red flags identified for one type of diversion scheme may be




 229
     Boggs Tr. (Jan. 17, 2019) at 145:14-146:3 (“A. I don’t know that that’s necessarily the case.
 We’re – we’re talking about a couple of significant diversion schemes that occurred at a period
 of time that have never – never happened before in this country. So the red flags sometimes are
 very specific to that criminal scheme that may not be applicable to other types of schemes or
 other day-to-day operations of regular pharmacies or practitioners.”); Boggs Tr. (July 19, 2018)
 at 80:22-81:12.
 230
       Boggs Tr. (Jan. 17, 2019) at 145:14-146:3; Boggs Tr. (July 19, 2018) at 80:22-81:12.
 231
    Boggs Tr. (Jan. 17, 2019) at 295:21-296:11; Boggs Tr. (July 19, 2018) at 33:2-33:18; 38:24-
 39:8 (“A. I believe that during that time frame that the rogue Internet pharmacy schemes were a
 relatively new scheme to both law enforcement and to the health care industry, and it was sent
 out as a reminder of potentially evolving red flags that they should be cognizant of in fulfilling
 their obligations to report suspicious orders.”); Prevoznik Tr. (Apr. 17, 2019) at 157:18-158:21.
 232
       Wright Tr. (Feb. 28, 2019) at 223:4-224:4.
 233
   September 27, 2006 Dear Registrant Letter (MCKMDL00478906); December 27, 2007 Dear
 Registrant Letter (MCKMDL00478910); Boggs Tr. (July 19, 2018) at 36:20-38:6; 53:25-55:4.
 234
    Boggs Tr. (Jan. 18, 2019) at 90:23-91:19; Boggs Tr. (July 19, 2018) at 36:20-38:6; 53:25-
 55:4.


                                                    60
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 66 of 141. PageID #: 165972




 specific to that type of diversion, and may not apply to other types of diversion schemes. 235

 Rogue Internet pharmacies became virtually nonexistent after the passage of the Ryan Haight

 Act in 2008. 236

           B.      Rise of Pill Mills

           117.    Pills mills were the diversion trend that followed the decline of rogue Internet

 pharmacies. 237 In the late 2000s, a significant criminal diversion scheme related to rogue pain

 clinics, which are frequently referred to as “pill mills,” emerged in Florida. 238 Pill mills typically

 involved illegal prescriptions for controlled substances written by a doctor registered with DEA

 to write prescriptions for controlled substances. 239 The doctor would write prescriptions for

 patients who did not have a legitimate medical need for medication. 240 The doctor would write

 these illegal prescriptions in exchange for money and typically without performing a medical

 evaluation. 241

           C.      Improvements in Technology Used for Anti-Diversion Efforts

           118.    The technology used to combat diversion has changed dramatically over the past

 30 years. Computers, for example, were virtually non-existent when the CSA was passed in the

 1970s. Computer technology was introduced over the last 20 years, and capabilities of computer




 235
       Boggs Tr. (Jan. 17, 2019) at 145:14-146:3.
 236
       Boggs Tr. (Jan. 17, 2019) at 80:22-81:12.
 237
       Prevoznik Tr. (Apr. 18, 2019) at 490:14-491:16.
 238
    Boggs Tr. (Jan. 17, 2019) at 137:5-13; 144:19-23; Boggs Tr. (July 19, 2018) at 90:21-25;
 Prevoznik Tr. (Apr. 18, 2019) at 490:14-491:16.
 239
       Boggs Tr. (Jan. 17, 2019) at 358:23-360:4; Wright Tr. (Feb. 28, 2019) at 224:14-224:25.
 240
       Boggs Tr. (Jan. 17, 2019) at 358:23-360:4; Wright Tr. (Feb. 28, 2019) at 224:14-224:25.
 241
       Boggs Tr. (Jan. 17, 2019) at 358:23-360:4; Wright Tr. (Feb. 28, 2019) at 224:14-224:25.

                                                    61
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 67 of 141. PageID #: 165973




 programs have advanced at a very fast speed. Computers now play a central role in anti-

 diversion programs.

        119.    Methods of communicating with DEA have also changed significantly since the

 passage of the CSA. Distributors often communicated with DEA by phone or using hard-copy

 letters and triplicate forms back in the time period when the CSA was passed. Through the mid-

 2000s, distributors would rely on fax machines to submit suspicious order reports and other

 documents to DEA. With the development of computers, distributors began to incorporate

 computer technology into their suspicious order monitoring programs and their communications

 with DEA.

        120.    It is critical to remember how much technology has advanced when comparing

 early suspicious order monitoring programs to the programs in use by distributors at this time.

 The technology that is used today simply did not exist during earlier iterations of suspicious

 order monitoring programs. The algorithms and technology used by McKesson today to monitor

 for suspicious orders were only technologically possible in recent years and took McKesson

 years to develop.

        D.      The CSA and Its Regulations Have Not Changed

        121.    The regulatory framework that came into existence in the 1970s has not been

 updated or revised to account for the significant changes in technology and pharmaceutical

 diversion. The CSA and its regulations are basically unchanged since the 1970s. 242 Congress

 and DEA did not update the CSA and regulations to adapt to the significant advancements in

 technology, such as developments in computers and the algorithms used to detect suspicious


 242
    Prevoznik Tr. (Apr. 17, 2019) at 90:4-13; Rannazzisi Tr. (Apr. 26, 2019) at 68:1-14, 253:19-
 23; Wright Tr. (Feb. 28, 2019) at 125:20-126:11.


                                                 62
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 68 of 141. PageID #: 165974




 orders. The CSA and regulations also have not evolved to address the diversion trends that have

 emerged over the years, such as rogue Internet pharmacies and pill mills. 243

 IX.       DEA Only Offered Informal Guidance in Response to Changing Diversion Trends
           and Advancements in Technology

           122.   DEA’s response to constantly shifting diversion trends and advancements in

 technology was slow and incomplete. 244 DEA did not, for example, work with Congress to

 update the CSA and the applicable regulations in response to changes in technology and

 pharmaceutical diversion. 245 DEA also did not provide clear guidance or clarifications in written

 materials sent to the industry. Instead, DEA engaged in one-on-one meetings with certain

 registrants in what DEA called the “Distributor Initiative.” 246

           A.     DEA’s Distributor Initiative

           123.   Beginning in August 2005, DEA met with distributors individually as part of its

 “Distributor Initiative Program.” 247 The individual briefings continued through 2010 and then

 restarted in 2013. 248 During each briefing, DEA presented a PowerPoint presentation entitled




 243
    Prevoznik Tr. (Apr. 17, 2019) at 90:4-13; Rannazzisi Tr. (Apr. 26, 2019) at 68:1-14, 253:19-
 23; Wright Tr. (Feb. 28, 2019) at 125:20-126:11.
 244
    Rannazzisi Tr. (Apr. 26, 2019) at 68:1-14, 253:19-23; Wright Tr. (Feb. 28, 2019) at 125:20-
 126:11.
 245
       Prevoznik Tr. (Apr. 17, 2019) at 136:8-24; 288:11-22.
 246
       Prevoznik Tr. (Apr. 17, 2019) at 136:8-24; 288:11-22; Wright Tr. (Feb. 28, 2019) at 189:16-.
 247
    Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859); Memorandum from Michael Mapes to Joseph Rannazzisi (Aug. 23,
 2005) (US-DEA-00000352); Memorandum from Michael Mapes to William J. Walker (Aug. 16,
 2005) (US-DEA-00000147).
 248
       Wright Tr. (Feb. 28, 2019) at 97:20-24; Prevoznik Tr. (Apr. 17, 2019) at 200:24-201:11.


                                                  63
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 69 of 141. PageID #: 165975




 “Internet Pharmacy Data.” 249 The presentation was approved by Joseph Rannazzisi.250 In 2005,

 the primary presenters for the briefings from DEA were Michael Mapes and Kyle Wright. 251

 The presentations were substantively identical. 252 The purpose of these briefings was to discuss

 new diversion trends involving rogue Internet pharmacies. 253

           124.   I understand that DEA met with McKesson as part of DEA’s Internet briefings on

 September 1, 2005. The meeting was memorialized by DEA in a memorandum written by

 Michael Mapes to Joseph Rannazzisi, and a copy of the slides presented to McKesson was

 attached. 254

           125.   During the meetings with distributors, I understand DEA provided an overview of

 the common characteristics of Internet pharmacies. 255 DEA highlighted why the activities of

 rogue Internet pharmacies were illegal. 256 DEA identified two customers of McKesson “who

 have ordered substantial quantities of hydrocodone products.” 257 DEA used ARCOS data to



 249
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -861).
 250
       Wright Tr. (Feb. 28, 2019) at 90:19-24.
 251
       Wright Tr. (Feb. 28, 2019) at 89:22-90:2; 91:4-8.
 252
       Wright Tr. (Feb. 28, 2019) at 92:18-21.
 253
    Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859 (“The purpose of the meeting was to address the illegal domestic
 Internet pharmacy problem and their source of supply.”); Wright Tr. (Feb. 28, 2019) at 98:14-
 99:6.
 254
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859).
 255
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859).
 256
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859).
 257
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859).


                                                   64
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 70 of 141. PageID #: 165976




 identify these customers. 258 DEA asked McKesson to “review in-depth the purchasing patterns

 and quantities of their customers,” which McKesson acknowledged. 259 DEA further agreed to

 notify McKesson if the E-Commerce Operations section of DEA identified a “highly suspicious

 pharmacy” to which McKesson distributed. 260 McKesson agreed that it would review the

 ordering patterns of its customers in view of the materials that DEA had presented. 261 McKesson

 subsequently terminated the pharmacies identified by DEA as customers. 262

           126.   During the Internet briefings, DEA focused on small independent pharmacies that

 lacked a brick-and-mortar presence. 263 DEA’s focus during the Internet briefings was not on

 retail chain pharmacies such as CVS, Rite-Aid and Walgreens, and DEA emphasized that

 Internet pharmacies were “unrelated to brick and mortar pharmacy.” 264

           127.   DEA identified controlled substances that were the primary products dispensed by

 Internet pharmacies, which Mr. Rannazzisi referred to as “lifestyle drugs” in his 2006 Dear




 258
       Wright Tr. (Feb. 28, 2019) at 96:23-97:4.
 259
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859).
 260
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6860).
 261
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6860).
 262
    Letter from Paul Julian to Joseph Rannazzisi (Jan. 18, 2006) (MCKMDL00571361 at -1363)
 (“Nevertheless, in light of DEA’s strong assertion at the January 6, 2006 meeting that these
 pharmacies are “Internet pharmacies” McKesson as of January 9, 2006, has terminated sales of
 controlled substances to all six pharmacies.”)
 263
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6861).
 264
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6859).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 71 of 141. PageID #: 165977




 Registrant letter, as hydrocodone, alprazolam, and phentermine. 265 DEA explained that

 pharmacies ordering high volumes of those pharmaceutical products without a range of other

 products could be an issue to consider when identifying possible rogue Internet pharmacies. 266

        128.    Although Mr. Wright confirmed the Internet briefings with distributors were

 “when the introduction from and transition from the Excessive Purchase System into the

 Suspicious Ordering System occurred,” the “Internet Pharmacy Data” presentation did not

 instruct McKesson to “block” suspicious orders. 267 The presentation also did not include a “do

 not ship” requirement for suspicious orders. 268 Instead, DEA says it “cannot tell a distributor if

 an order is legitimate or not.” 269 DEA also says that a “distributor must determine which orders

 are suspicious and make a sales decision.” 270 This statement provides distributors with the

 discretion to make a sales decision about whether to ship the materials.

        129.    The presentation given to McKesson also does not include statements requiring

 McKesson to change or alter its suspicious order monitoring program by a particular date. 271



 265
    September 27, 2006 Dear Registrant Letter (MCKMDL00478906 at -8908) (“Ordering
 excessive quantities of a limited variety of controlled substances in combination with excessive
 quantities of lifestyle drugs.”).
 266
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6862).
 267
    Wright Tr. (Feb. 28, 2019) at 101:11-102:10; Wright Trial Tr. (US v. $463,497.72) at 387:21-
 24; Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6861-6874).
 268
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6861-6874).
 269
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6868).
 270
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6868).
 271
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859); Wright Tr. (Feb. 28, 2019) at 123:17-124:7; 125:5-8.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 72 of 141. PageID #: 165978




 The memorandum written by Michael Mapes concluded by stating that the meeting ended “with

 each party having a clearer understanding and agreement as to how [to] best address the sources

 of supply to Internet pharmacies.” 272

           B.     DEA’s New Guidance: Transitioning from Excessive Purchase Reporting to
                  Suspicious Order Monitoring

           130.   The distributor briefings marked when the “introduction from and transition from

 the Excessive Purchase System into the Suspicious Ordering System occurred.” 273 DEA did not

 provide deadlines by which distributors must implement new systems, but expected the transition

 to be gradual. 274 During the transition, DEA continued to accept Excessive Purchase Reports as

 meeting the requirements of the CSA and its regulations. 275

           131.   In shifting its guidance, DEA did not work with Congress to amend the

 Controlled Substances Act or applicable regulations or publish any notifications of

 rulemaking. 276 DEA did not want to provide registrants with a model system or approvals as it

 had in the past. 277 DEA was concerned that the previously approved Excessive Purchase




 272
   Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859 at -6860).
 273
       Wright Tr. (Feb. 28, 2019) at 101:11-102:10; Wright Tr. (US v. $463,497.72), at 43:3-14.
 274
       Wright Tr. (Feb. 28, 2019) at 124:2-125:8.
 275
   Wright Tr. (Feb. 28, 2019) at 72:4-16; 124:2-7; Ashley Tr. (Mar. 15, 2019) at 30:14-17,
 30:18-31:4.
 276
       Wright Tr. (Feb. 28, 2019) at 125:20-126:11.
 277
    Wright Tr. (Feb. 28, 2019) at 132:3-18, 200:12-16; December 27, 2007 Dear Registrant Letter
 (MCKMDL00478910) (“Past communications with DEA whether implicit or explicit, that could
 be construed as approval of a particular system for reporting suspicious orders, should no longer
 be taken to mean that DEA approves a specific system.”); Ashley Tr. (Mar. 15, 2019) at 30:14-
 17; 30:18-25-31:4.


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 73 of 141. PageID #: 165979




 Systems had become fixed and not able to encompass changing diversion trends. 278 Instead,

 DEA decided to offer only “limited” guidance to distributors. 279

           132.   It turned out that this approach confused distributors and DEA diversion

 investigators as to what was expected for compliance with the CSA, in part, because the

 Excessive Purchase Reports were the only known CSA-compliant systems to DEA and industry

 alike. 280 And, as DEA acknowledged, implementing the new requirements would be “harder.” 281

 Accordingly, DEA wrote letters to the industry to provide additional information on its new

 expectations without modifying or amending the CSA and its regulations. 282

           133.   Notable within these letters are DEA’s affirmative statement that “Past

 communications with DEA whether implicit or explicit, that could be construed as approval of a

 particular system for reporting suspicious orders, should no longer be taken to mean that DEA

 approves a specific system.” 283 In 2010, five years after the start of the Distributor Initiative,

 DEA instructed the industry that “DEA will no longer accept Excessive Purchase Reports.

 Previously excessive purchase reports were received after drugs had already been shipped by




 278
       Wright Tr. (Feb. 28, 2019) at 115:17-116:12; 119:23-120:10; 127:6-128:12; 135:7-15.
 279
       Wright Tr. (Feb. 28, 2019) at 116:13-24.
 280
       Wright Tr. (Feb. 28, 2019) at 120:12-18, 120:23-3, 121:7-16.
 281
       Wright Tr. (Feb. 28, 2019) at 123:2-16.
 282
    September 27, 2006 Dear Registrant Letter (MCKMDL00478906); February 7, 2007 Dear
 Registrant Letter (MCKMDL00615308); December 27, 2007 Dear Registrant Letter
 (MCKMDL00478910); June 12, 2012 Dear Registrant Letter (MCKMDL00449807); Rannazzisi
 Tr. (Apr. 26, 2019) at 242:19-243:25; 335:22-336:25.
 283
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 74 of 141. PageID #: 165980




 registrants.” 284 Despite this limited guidance from DEA, it continued to refuse to approve

 specific systems or provide a model system, and DEA did not change the CSA or its regulations.

                1.      “Do Not Ship” Requirement

        134.    Neither the CSA nor any of the applicable federal regulations include a “do not

 ship” requirement or command registrants to “block” all orders that meet the definition of

 “suspicious order” from Section 1301.74(b). 285 As discussed above, at least through the

 Distributor Initiative, it was “standard practice” in the industry to report orders meeting the

 definition of “suspicious orders” while shipping those orders. 286

        135.    And, although the Distributor Initiative may have been the start of a “transition”

 from the Excessive Purchase Reports systems into the modern suspicious ordering monitoring

 systems, DEA’s presentation did not instruct McKesson to “block” or “do not ship” all

 “suspicious orders.” 287 The CSA and its regulations still remained unchanged.



 284
    Regulatory Section, DEA Headquarters, ODG Presentation (CAH_MDL2804_01447421 at -
 7435).
 285
    21 C.F.R. § 1301.74(b); Rannazzisi Tr. (May 15, 2019) at 534:19-21 (“Q. Do the words ‘do
 not ship’ appear in this regulation? A. No, ma’am.”); Ashley Tr. at 27:20-28:3 (“Q. Does the
 regulation say anything about whether a registrant can ship an order that it has reported as
 suspicious? A. It doesn’t say if they should ship it.”).
 286
     Wright Tr. (Feb. 28, 2019) at 72:4-10 (“Q. And prior – through 2005, did you understand that
 it was the standard practice in the industry to submit Excessive Purchase Reports while
 continuing to ship product? A. Yes, ma’am.”); Regulatory Section, DEA Headquarters, ODG
 Presentation (CAH_MDL2804_01447421 at -7435).
 287
     Wright Tr. (Feb. 28, 2019) at 101:22-102:10 (“‘Answer: Well, it became -- it was a matter of
 very intense discussion in developing what was called the distributor briefing. Because that’s
 when the change occurred. And that’s when the introduction from and transition from the
 Excessive Purchase System into the Suspicious Ordering System occurred.’ That was the
 testimony you gave under oath, correct? … A. Yes, ma’am.”); Wright Tr. (US v. $463,497.72)
 at 43:3-14; Wright Trial Tr. (US v. $463,497.72) at 387:21-24 (“Q. So I’m trying to figure out
 where in this slide it says, if you file a suspicious activity report, you are to stop shipping. A. It
 doesn’t say that.”); Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
 (MCKMDL00496859).


                                                   69
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 75 of 141. PageID #: 165981




                        a)      Mr. Rannazzisi introduced “Do Not Ship” in his 2007 letter to
                                industry

          136.   Following the Distributor Initiative with McKesson, DEA purported to provide

 additional clarifications to distributors as the Distributor Initiative developed. For example,

 DEA met with McKesson again on January 3, 2006. 288 Mr. Rannazzisi sent distributors a letter

 dated September 27, 2006, which is referred to as the 2006 Rannazzisi Letter. DEA sent

 distributors the same letter a second time on February 7, 2007, 289 followed by another letter on

 December 27, 2007. 290 Mr. Rannazzisi’s letter to distributors dated December 27, 2007, is

 frequently referred to as the 2007 Rannazzisi Letter. DEA sent a fourth letter that was dated

 June 12, 2012. 291 These letters, collectively, are called the “Dear Registrant” letters.

          137.   Although DEA states the purpose of the Dear Registrant letters was to “reiterate”

 the duties of distributors under the CSA, these letters purported to offer clarifications on topics

 discussed in distributor briefings and introduced requirements that extended beyond those

 imposed by the CSA and its regulations. 292

          138.   For example, the 2006 Rannazzisi Letter contains a list of questions that a

 distributor registrant “may wish to inquire with the ordering pharmacy about.” 293 The questions

 focused on issues that had arisen in the context of rogue Internet pharmacies. Further, the 2007




 288
   Memorandum from Michael Mapes to Joseph Rannazzisi (Jan. 23, 2006)
 (MCKMDL00496876).
 289
       February 7, 2007 Dear Registrant Letter (MCKMDL00615308).
 290
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 291
       June 12, 2012 Dear Registrant Letter (MCKMDL00449807).
 292
   September 27, 2006 Dear Registrant Letter (MCKMDL00478906); December 27, 2007 Dear
 Registrant Letter (MCKMDL00478910).
 293
       September 27, 2006 Dear Registrant Letter (MCKMDL00478906 at -8908).


                                                  70
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 76 of 141. PageID #: 165982




 Rannazzisi Letter stated for the first time in an official DEA communication what has become

 known as the “do not ship” policy: “registrants that routinely report suspicious orders, yet fill

 these orders without first determining that order is not being diverted into other than legitimate

 medical, scientific, and industrial channels, may be failing to maintain effective controls against

 diversion.” 294

          139.     The 2007 Rannazzisi Letter also outlined the “know your customer” policy:

 “Registrants are reminded that their responsibility does not end merely with the filing of a

 suspicious order report. Registrants must conduct an independent analysis of suspicious orders

 prior to completing a sale to determine whether the controlled substances are likely to be

 diverted from legitimate channels.” 295 The 2007 Rannazzisi Letter also withdrew DEA’s prior

 approvals of suspicious order monitoring programs, including McKesson’s: “Past

 communications with DEA, whether implicit or explicit, that could be construed as approval of a

 particular system for reporting suspicious orders, should no longer be taken to mean that DEA

 approves a specific system.” 296

          140.     Although the statements in the 2007 Rannazzisi Letter were the first time DEA

 provided these statements in writing to registrants, 297 DEA disclosed some of the concepts to the

 industry three months earlier at DEA’s Pharmaceutical Industry Conference on September 11-12,



 294
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 295
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 296
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 297
    Rannazzisi Tr. (May 15, 2019) at 531:20-532:3 (“Q. Prior to the fall of 2005 and since 1970,
 where were the requirements you spoke of written down somewhere and given to distributors?
 A. I don’t recall any -- any type of document or guidance document where the distributors were
 told to do certain things prior to 2005 that were related to maintaining effective controls against
 diversion.”).


                                                  71
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 77 of 141. PageID #: 165983




 2007. 298 At this conference, DEA along with AmerisourceBergen introduced the terminology of

 “know your customer” and “do not ship.” 299 Among other topics, DEA explained that “Know

 Your Customer” Due Diligence investigations [should be] completed on all new Retail and

 Wholesale Accounts” and “Retail chain pharmacies are exempted.” 300 AmerisourceBergen and

 DEA explained that “[h]istorically Controlled Substance / Listed Chemical order monitoring has

 been based on a ship and report process,” but new processes “[should] now [be] based on:

 identify, capture, investigate, and report suspicious orders; all prior to shipment.” 301

                        b)      DEA changed its Diversion Investigator Manual to include “Do
                                Not Ship” following Mr. Rannazzisi’s 2007 letter to industry

          141.   The DEA Diversion Investigator Manual, which was an internal DEA resource for

 all Diversion Investigators, confirmed DEA’s new “do not ship” guidance. For example, Section

 5126 of the 1996 version of the DEA Diversion Investigator Manual states: “The responsibility

 for making the decision to ship rests with the supplier.” 302 The Diversion Investigator’s Manual

 then provides the following guidance:

                 Registrants, who routinely report suspicious orders, yet fill
                 these orders, with reason to believe they are destined for the
                 illicit market, are expressing an attitude of irresponsibility that

 298
    Prevoznik Tr. (May 17, 2019) Ex. 29 (DEA Meetings & Events, Pharmaceutical Industry
 Conference: September 11 & 12, 2007 - Houston, Texas, available at
 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/13th_pharm/index.html); Prevoznik
 Tr. (May 17, 2019) Ex. 30 (ABDCMDL00037184 at -7188-90).
 299
    Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7190-91).
 300
     Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7190).
 301
     Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7192) (emphasis in original).
 302
       Diversion Investigators Manual, 04/16/1996 (CAH_MDL2804_02203353 at -3356).

                                                  72
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 78 of 141. PageID #: 165984




                 is a detriment to the public health and safety as set forth in 21
                 USC 823 and 824. Suspicious orders include those which are in
                 excess of legitimate medical use or exhibit characteristics leading
                 to possible diversion such as: orders of unusual size, unusual
                 frequency, or those deviating substantially from a normal pattern.
                 The supplier can determine whether the order is excessive by
                 checking their own sales and establishing the average amount of
                 controlled substances shipped to registrants of the same apparent
                 size in a particular geographic area. If the customer exceeds this
                 threshold, the request should be viewed as suspicious. This
                 activity, over extended periods of time, would lead a reasonable
                 person to believe that controlled substances possibly are being
                 diverted. An investigation will be conducted for possible violation
                 of the Controlled Substances Act and Regulations upon
                 determining that the reporting registrant, as a general practice, does
                 not voluntarily halt shipments of controlled substances to
                 registrants involved in suspected diversion or to registrants against
                 whom previous action has been taken. In these instances, the
                 registrant is subject to the appropriate prosecution and/or
                 administrative action. 303

          142.   The 1996 Manual states that not all orders meeting the definition of “suspicious

 orders” give a distributor “reason to believe that they are destined for the illicit market,” and only

 those that give rise to such a belief should not be shipped. 304 The statement found in the 1996

 Manual is different than the “do not ship” policy applied to all orders meeting the definition of

 “suspicious order” under Section 1301.74(b) that DEA imposed after the Distributor Initiative.

 The 1996 Manual was the operative Diversion Investigators Manual during my time as a

 Diversion Investigator. In my experience, this is consistent with how DEA understood

 distributors operated during this time period.

          143.   In 2011, DEA changed the language of Section 5126 in the Diversion

 Investigators Manual to reflect DEA’s new “do not ship” policy:



 303
    Diversion Investigators Manual, 04/16/1996 (CAH_MDL2804 02203353 at -3356-57)
 (emphasis added).
 304
       Diversion Investigators Manual, 04/16/1996 (CAH_MDL2804_02203353 at -3356-57).

                                                  73
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 79 of 141. PageID #: 165985




                 A. Title 21 U.S.C. § 823 requires manufacturers and distributors
                 to maintain effective controls against the diversion of controlled
                 substances into other than legitimate medical, scientific, or
                 industrial channels. 21 C.F.R. §1301.74(b) further requires
                 registrants to design and operate a system to disclose to the
                 registrant suspicious orders, and report such orders to their local
                 field office. By its very nature, an order is a request to purchase
                 controlled substances and has not yet been filled. Reporting a filled
                 order is potentially allowing controlled substances to be diverted.
                 Therefore, suspicious orders will not be filled.

                 B. Registrants may fill an order that was previously deemed
                 suspicious only after such time as a thorough review has been
                 conducted and findings appropriately documented, as outlined in
                 the Dear Registrant Letter, dated September 27, 2006. 305

          144.   With this change to the Manual, DEA informed Diversion Investigators that

 “[r]egistrants may fill an order that was previously deemed suspicious only after such time as a

 thorough review has been conducted and findings appropriately documented, as outlined in the

 Dear Registrant Letter, dated September 27, 2006.” 306 The policy as stated here is actually in the

 2007 Rannazzisi Letter, not the 2006 Rannazzisi Letter. 307 But, more importantly, this policy

 change is not reflected in the CSA or its implementing regulations. This change to DEA policy

 and guidance occurred after the Distributor Initiative meetings with McKesson.

          145.   I am aware of certain isolated statements, made by DEA personnel to various

 entities in the 1980s and 1990s, that refer to the requirements for handling of “suspicious

 orders.” 308 Some of these documents convey that registrants should report “suspicious orders” to

 DEA pursuant to Section 1301.74(b) upon discovery and before the order is shipped:



 305
       Diversion Investigators Manual, 09/20/2011 (CAH_MDL2804_00953317 at -3396).
 306
       Diversion Investigators Manual, 09/20/2011 (CAH_MDL2804 00953317 at -3396).
 307
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 308
   May 16, 1984 Letter from Gitchel to NWDA (US-DEA-00026139 at -6150); Seminar Report
 Controlled Substances Manufacturers and Wholesalers (Apr. 7-9, 1987) (US-DEA-00025656);

                                                  74
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 80 of 141. PageID #: 165986




                 x      “I want to assure you that DEA fully supports the NWDA effort to
                        introduce a uniform reporting system among its members. This system, as
                        proposed, will meet the reporting requirements of 21 CFR 1301.74(b).
                        However, I want to make it clear that the submission of after-the-fact sales
                        will not relieve a registrant from responsibility of reporting excessive or
                        suspicious orders. DEA has interpreted ‘orders’ to mean prior to
                        shipment.” 309

                 x      “Single orders of unusual size or deviation must be reported immediately.
                        The submission of a monthly printout of after-the-fact sales will not
                        relieve a registrant from the responsibility of reporting these single
                        excessive or suspicious orders. DEA has interpreted ‘orders’ to mean
                        prior to shipment.” 310

                 x      “Another area of issue was whether DEA would take action against a
                        registrant which reported an order and then shipped it. DEA pointed out
                        that the company is still responsible under their registrations for acting in
                        the public interest. Reporting the order does not in any way relieve the
                        firm from the responsibility for the shipment.” 311

                 x      “The submission of a monthly printout of after-the-fact sales does not
                        relieve the registrant of the responsibility of reporting excessive or
                        suspicious orders. These regulations require that a registrant maintain a
                        system to detect excessive ‘orders’ rather than sales of controlled
                        substances.” 312

                 x      “As you correctly noted, Section 1301.74(b) of Title 21 of the Code of
                        Federal Regulations clearly places the responsibility for designing and
                        operating a system to identify suspicious orders of controlled substances
                        on the registrant. Implicit in this regulation is the idea that the registrant
                        should not merely be accumulating data on what appear to be excessive
                        purchases for eventual submission to DEA but rather that the system be
                        monitored so that any such orders will be apparent to the registrant and so




 Dec. 27, 1988 Letter from Buzzeo to Walgreen Company (US-DEA-00025683); Dec. 8, 1993
 Letter from Haislip to Jordan, Dallas Field Division (US-DEA-00026154).
 309
       May 16, 1984 Letter from Gitchel to NWDA (US-DEA-00026139 at -6150).
 310
       June 21, 1993 NWDA Suspicious Order Monitoring System (US-DEA-00026139 at -6146).
 311
    Seminar Report Controlled Substances Manufacturers and Wholesalers Seminar (Apr. 7-9,
 1987) (US-DEA-00025656 at -5659).
 312
       Dec. 27, 1988 Letter from Buzzeo to Walgreen Company (US-DEA-00025683).


                                                  75
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 81 of 141. PageID #: 165987




                        that they can be reported to DEA upon discovery and, whenever possible,
                        before the order is shipped.” 313

        146.    Similar to the 1996 Diversion Investigator Manual discussed above, these letters

 do not refer to or purport to establish the broad “do not ship” policy that would govern orders fall

 within a particular distributor’s parameters for orders of unusual size, unusual frequency, or

 deviating from a normal pattern. Rather, these documents reminded industry that if a distributor

 knew or had good reason to believe that an order was destined for the illicit market, then that

 order should not be shipped and should be reported to DEA.

        147.    The vast majority of orders that are flagged for meeting the regulatory definition

 of “suspicious orders,” however, are not destined for the illicit market. During my time as a

 Diversion Investigator, DEA had no expectation that all orders falling within a distributor’s

 parameter for unusual size, unusual frequency, or deviating from a normal pattern would be

 blocked. And, as stated above, DEA knew that it was “standard practice” in the industry before

 the Distributor Initiative to report and ship those orders.

        148.    It would not make sense to interpret these isolated documents as establishing a

 broad “do not ship” policy. In the 1980s and 1990s, DEA did not train or instruct its Diversion

 Investigators to apply a broad “do not ship” mandate. In addition, the operative Diversion

 Investigators Manuals did not include any broad “do not ship” mandate. And, DEA’s cyclic

 audits did not apply any such “do not ship” mandate. If DEA was seeking to adopt a broad “do

 not ship” policy in this timeframe, then these documents would have been ineffective. It would

 have been more effective to establish a broad “do not ship” mandate by adopting new regulations




 313
    Dec. 8, 1993 Letter from Haislip to Jordan, Dallas Field Division (US-DEA-00026154 at -
 6154).

                                                   76
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 82 of 141. PageID #: 165988




 or, at a minimum, attempting to communicate the new policy to a wider audience, including

 industry and personnel in DEA’s field offices.

                  2.     “Know Your Customer” Requirement

           149.   As with the “do not ship” requirement, the CSA and the applicable federal

 regulations do not include DEA’s purported new standard for distributors to “know your

 customer” or to conduct “due diligence” on customers. 314 The diligence requirement is found in

 § 1301.74(a), which requires registrants to conduct a “good faith inquiry” to determine that a

 customer holds a valid DEA registration for controlled substances. 315 The 1996 Diversion

 Investigator Manual further confirms the diligence required under Section 1301.74(a):

                  DEA field offices will provide the supplier with the related
                  registration information (i.e., whether the customer is currently
                  registered with DEA) needed to assist the supplier in making an
                  independent decision on whether to ship controlled substances. 316

           150.   The 2007 Rannazzisi Letter stated for the first time in an official DEA

 communication what is now known as the “know your customer” policy. 317 The 2007

 Rannazzisi Letter states: “Registrants are reminded that their responsibility does not end merely


 314
    Rannazzisi Tr. (May 15, 2019) at 526:19-24 (“Q. Okay. Now, within the Controlled
 Substances Act, and in particular those -- those subparagraphs the words “know your customer”
 does not appear, correct? A. The words ‘know your customer’ is not in the Controlled
 Substances Act.”); Rannazzisi Tr. (May 15, 2019) at 526:25-528:8; Rannazzisi Tr. (May 15,
 2019) at 534:4-21; Prevoznik Tr. (Apr. 17, 2019) at 210:1-10 (“Q. Is there any DEA regulation
 that says in order for a registrant to make a determination as to whether an order is suspicious or
 not, they must know their customer to decide? A. It doesn't specifically have that language.”);
 Prevoznik Tr. (Apr. 17, 2019) at 211:7-12; Wright Tr. (Mar. 4, 2019) at 496:3-14; 21 U.S.C. §
 823; 21 C.F.R. § 1301.74.
 315
       21 CFR § 1301.74(a); Rafalski Tr. (May 13, 2019) at 385:10-16.
 316
       Diversion Investigators Manual, 04/16/1996 (CAH_MDL2804_02203353 at -3356).
 317
     Rannazzisi Tr. (May 15, 2019) at 530:7-16 (“Q. Prior to those letters, where are the
 requirements you spoke of written down somewhere? A. It’s -- again, it’s part of due diligence.
 It’s not -- it’s not written in the Act, but it’s part of their due diligence obligations. It’s been
 developed over time. Q. So it’s not written in the Act, right? A. It’s not in the Act.”).


                                                  77
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 83 of 141. PageID #: 165989




 with the filing of a suspicious order report. Registrants must conduct an independent analysis of

 suspicious orders prior to completing a sale to determine whether the controlled substances are

 likely to be diverted from legitimate channels.” 318

          151.   Although these statements in the 2007 Rannazzisi Letter were the first time that

 DEA had provided these statements in writing to registrants, DEA disclosed some of the

 concepts to the industry three months earlier at DEA’s Pharmaceutical Industry Conference on

 September 11-12, 2007. 319 There, DEA with AmerisourceBergen explained that “Know Your

 Customer” Due Diligence investigations [should be] completed on all new Retail and Wholesale

 Accounts” and “Retail chain pharmacies are exempted.” 320 AmerisourceBergen and DEA

 explained that “[h]istorically Controlled Substance / Listed Chemical order monitoring has been

 based on a ship and report process,” but new processes “[should] now [be] based on: identify,

 capture, investigate, and report suspicious orders; all prior to shipment.” 321

          152.   As with the purported “do not ship” requirement, the 2011 Diversion Investigators

 Manual reflects DEA’s purportedly new requirement to conduct “know your customer” due

 diligence:



 318
       December 27, 2007 Dear Registrant Letter (MCKMDL00478910).
 319
    Prevoznik Tr. (May 17, 2019) Ex. 29 (DEA Meetings & Events, Pharmaceutical Industry
 Conference: September 11 & 12, 2007 - Houston, Texas, available at
 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/13th_pharm/index.html); Chris
 Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference: Wholesale
 Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -7188 to -
 7190).
 320
    Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7190).
 321
    Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7192) (emphasis in original).


                                                  78
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 84 of 141. PageID #: 165990




                  Registrants may fill an order that was previously deemed
                  suspicious only after such time as a thorough review has been
                  conducted and findings appropriately documents, as outlined in the
                  Dear Registrant Letter, dated September 27, 2006. 322

           153.   The policy as stated here is actually in the December 27, 2007 letter, not the

 September 27, 2006 letter, but more importantly is not reflected in the CSA or its implementing

 regulations, as discussed above. This change to DEA policy and guidance occurred after the

 Distributor Initiative meetings with McKesson.

                  3.     DEA Provided Further New Guidance at September 2007
                         Pharmaceutical Industry Conference in Houston

           154.   DEA provided industry further new guidance during a September 2007

 presentation involving DEA employee Michael Mapes and ABDC’s Chris Zimmerman. 323

 DEA’s new guidance concerned the change for when distributors should report suspicious orders

 to DEA.

           155.   During the conference in 2007, DEA and ABDC explained to industry that there

 was a change concerning when suspicious order reports should be submitted to DEA by

 distributors. 324 As reflected in the presentation, ABDC at DEA’s request explained that

 “Historically Controlled Substance/Listed Chemical order monitoring has been based on a ship

 and report process.” 325 At the conference, ABDC at DEA’s request explained that “ABC’s


 322
       Diversion Investigators Manual, 09/20/2011 (CAH_MDL2804 00953317 at -96).
 323
       Prevoznik Tr. (May 17, 2019) at 1159:8-16.
 324
    Prevoznik Tr. (May 17, 2019) Ex. 29 (DEA Meetings & Events, Pharmaceutical Industry
 Conference: September 11 & 12, 2007 - Houston, Texas, available at
 https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/13th_pharm/index.html).
 325
    Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7192) (emphasis in original); Prevoznik Tr. (May 17, 2019) at 1163:15-1164:10 (“Q. … [T]his
 was a presentation that Chris Zimmerman gave at the invitation of the DEA, correct? A.
 Correct.”).


                                                    79
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 85 of 141. PageID #: 165991




 OMP process is now based on: identify, capture, investigate, and report suspicious orders; all

 prior to shipment.” 326 The change in guidance from DEA on when distributors needed to report

 suspicious orders is reflected in the presentation at DEA’s Pharmaceutical Industry Conference

 in 2007.

           C.     DEA’s New Guidance During the Distributor Initiative Resulted in
                  Confusion Within the Industry

           156.   The new requirements that DEA purported to impose on distributors during the

 Distributor Initiative and with Joseph Rannazzisi’s Dear Registrant letters resulted in confusion

 among the industry. 327 The confusion within industry stemmed in part from the fact that DEA’s

 new requirements represented a shift in standards imposed by DEA. 328 Confusion among

 industry was also the result of DEA purporting to introduce new standards without changing the

 relevant regulations or the CSA. 329




 326
    Chris Zimmerman, Drug Enforcement Administration Pharmaceutical Industry Conference:
 Wholesale Distribution Diversion Control Program (Sept. 11, 2007) (ABDCMDL00037184 at -
 7192) (emphasis in original).
 327
    Ashley Tr. (Mar. 15, 2019) at 58:23-59:6 (“Q. At any time during your tenure at the DEA,
 did you learn that distributors were confused about their suspicious order regulations and wanted
 more guidance from the DEA? A. I can say in speaking with distributors, they expressed that
 they wanted more clarification. Q. And so you heard that directly from the distributors? A.
 Yes.”).
 328
     Wright Tr. (Feb. 28, 2019) at 120:12-121:3 (“Q. But you did recognize -- and I think your
 testimony at trial supports this concept -- you recognized that this change from the Excessive
 Order System to the Suspicious Order System, which was more fluid, would cause confusion in
 industry, correct? A. Yes. Q. And that was part of the reason you wanted to do these
 distributor briefings and go one on one with distributors, right? A. Yes. Q. And there was also
 concern, as I saw from your prior testimony, that your own DEA agents might be confused by
 the -- the changes going on within the industry, correct?... A. Yes.”).
 329
       Wright Tr. (Feb. 28, 2019) at 120:12-121:3; Ashley Tr. (Mar. 15, 2019) at 58:23-59:6.


                                                  80
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 86 of 141. PageID #: 165992




          157.   Following the new guidance from DEA, distributors reached out to DEA with

 questions on many occasions. 330 DEA refused to respond to distributor questions on how to

 implement the new guidance from DEA. 331

                 1.     DEA’s Refusal to Provide Guidance Resulted in HDMA Issuing the
                        Industry Compliance Guidelines

          158.   DEA’s policy beginning under Joseph Rannazzisi was to refuse to endorse or

 approve any registrant’s suspicious order monitoring program. In the 2007 Rannazzisi Letter,

 Mr. Rannazzisi wrote that “DEA does not approve or otherwise endorse any specific system for

 reporting suspicious orders.” 332 In addition to announcing that DEA would no longer approve

 suspicious order monitoring programs, Mr. Rannazzisi announced in his letter that “Past

 communications with DEA whether implicit or explicit, that could be construed as approval of a

 particular system for reporting suspicious orders, should no longer be taken to mean that DEA

 approves a specific system. 333 Mr. Rannazzisi’s letter acknowledges that previous explicit and




 330
    Questions for the Drug Enforcement Administration (DEA) Regarding Requirements for
 Suspicious Order Monitoring and Reporting Submitted by the Healthcare Distribution
 Management Association (June 1, 2011) (US-DEA-00008565); Questions for the Drug
 Enforcement Administration (DEA) by the Healthcare Distribution Management Association
 Submitted July 2, 2013 for Discussion on July 31, 2013 (US-DEA-00008577).
 331
    Email from L. Milione to D. Ashley, “Fw: Follow-Up from HDA Board Meeting” (US-DEA-
 00008563).
 332
       Dec. 27, 2007 Letter from Joseph Rannazzisi (MCKMDL00478910 at -8910).
 333
    Dec. 27, 2007 Letter from Joseph Rannazzisi (MCKMDL00478910 at -8910) (emphasis
 added).


                                                81
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 87 of 141. PageID #: 165993




 implicit communications between registrants and DEA constituted approval of suspicious order

 monitoring systems. 334

        159.    DEA’s refusal beginning under Mr. Rannazzisi to endorse suspicious monitoring

 programs or to provide a guidance model contributed to confusion among industry. Distributors

 now could not receive assurance from DEA that the suspicious order monitoring programs they

 developed satisfied DEA’s new standards.

        160.    As part of industry’s efforts to respond to changes in diversion and new guidance

 from DEA, the distributors’ trade organization, the Healthcare Distribution Management

 Association, which is commonly known as “HDMA,” developed industry guidelines for

 suspicious order monitoring programs. 335 The guidelines issued by HDMA were voluntary and

 could be updated to account for the needs of the particular distributor. 336 Again, no changes to

 the CSA or regulations were made by DEA during this time period.

        161.    HDMA issued Industry Compliance Guidelines in 2008 that set forth the

 voluntary guidelines. 337 The 2008 HDMA Industry Compliance Guidelines covered the

 elements of:


 334
    Dec. 27, 2007 Letter from Joseph Rannazzisi (MCKMDL00478910 at -8910); Wright Tr.
 (Feb. 28, 2019) at 72:12-16 (“Q. Now, the Excessive Purchase System had been blessed by
 various DEA offices; is that right? A. Yes, ma’am.”).
 335
    Healthcare Distribution Management Association Industry Compliance Guidelines:
 Reporting Suspicious Orders and Preventing Diversion of Controlled Substances (2008)
 (MCKMDL00380758); Industry Compliance Guidelines, Reporting Suspicious Orders and
 Preventing Diversion of Controlled Substances (2013) (MCKMDL00380743).
 336
    Healthcare Distribution Management Association Industry Compliance Guidelines:
 Reporting Suspicious Orders and Preventing Diversion of Controlled Substances (2008)
 (MCKMDL00380758); Industry Compliance Guidelines, Reporting Suspicious Orders and
 Preventing Diversion of Controlled Substances (2013) (MCKMDL00380743).
 337
   Healthcare Distribution Management Association Industry Compliance Guidelines:
 Reporting Suspicious Orders and Preventing Diversion of Controlled Substances (2008)
 (MCKMDL00380758).


                                                 82
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 88 of 141. PageID #: 165994




                x       Know Your Customer Due Diligence;

                x       Monitoring for Suspicious Orders;

                x       Suspend/Stop an Order of Interest Shipment;

                x       Investigation of Orders of Interest;

                x       File Suspicious Order Reports with DEA; and

                x       Employees, Training, and Standard Operating Procedures. 338

        162.    HDMA issued an update to the voluntary guidelines in 2013. 339 The only change

 from the 2008 version was an update to the preamble in the 2013 version of the guidelines. 340

 Industry through HDMA created the voluntary guidelines because DEA refused to approve any

 specific suspicious order monitoring program and it refused to provide any guidance models to

 industry.

                2.      Criticism of DEA’s Failure to Provide Guidance to Industry

        163.    DEA was criticized from both inside and outside the agency for its refusal to

 provide greater guidance to industry. DEA’s failure to provide guidance was the subject of a

 report from the U.S. Government Accountability Office (“GAO”) that criticized DEA’s

 responsiveness to industry. 341




 338
   Healthcare Distribution Management Association Industry Compliance Guidelines:
 Reporting Suspicious Orders and Preventing Diversion of Controlled Substances (2008)
 (MCKMDL00380758 at -0760).
 339
   Industry Compliance Guidelines, Reporting Suspicious Orders and Preventing Diversion of
 Controlled Substances (2013) (MCKMDL00380743).
 340
   Industry Compliance Guidelines, Reporting Suspicious Orders and Preventing Diversion of
 Controlled Substances (2013) (MCKMDL00380743).
 341
    Government Accountability Office, More DEA Information about Registrant’s Controlled
 Substances Roles Could Improve Their Understanding and Help Ensure Access (June 2015) at
 44, available at https://www.gao.gov/assets/680/671562.pdf.


                                                 83
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 89 of 141. PageID #: 165995




        164.    In its 2015 Report, the GAO recommended that DEA “[s]olicit input from

 distributors, or associations representing distributors, and develop additional guidance for

 distributors regarding their roles and responsibilities for suspicious order monitoring and

 reporting.” GAO also recommended to DEA that “[a] guidance for distributors similar to the one

 offered for pharmacies and practitioners could help distributors further understand and meet their

 roles and responsibilities under the CSA for preventing diversion.” 342 GAO explained that

 “although DEA may not be able to provide guidance that will definitively answer the question of

 what constitutes a suspicious order or offer advice about which customers to ship to, DEA could,

 for example, provide guidance around best practices in developing suspicious orders monitoring

 systems.” 343 The 2015 GAO report recognized DEA’s lack of communication with distributors

 and recommended ways that DEA could better communicate with distributors.

        165.    Congressional testimony by DEA’s Acting Administrator Chuck Rosenberg

 confirmed that DEA failed to communicate sufficiently with distributors. Acting Administrator

 Rosenberg testified to Congress: “And we’ve been opaque. I think we’ve been slow. I think

 we’ve been opaque. I think we haven’t responded to them. We’re trying to issue guidelines for

 them more quickly. We’re trying to answer their questions.” 344




 342
    Government Accountability Office, More DEA Information about Registrant’s Controlled
 Substances Roles Could Improve Their Understanding and Help Ensure Access (June 2015) at
 27, available at https://www.gao.gov/assets/680/671562.pdf.
 343
    Government Accountability Office, More DEA Information about Registrant’s Controlled
 Substances Roles Could Improve Their Understanding and Help Ensure Access (June 2015) at
 27, available at https://www.gao.gov/assets/680/671562.pdf.
 344
    Testimony of Chuck Rosenberg, Senate Judiciary Committee Hearing on DEA Oversight
 (June 22, 2016), available at https://plus.cq.com/doc/congressionaltranscripts-4916672?0.


                                                 84
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 90 of 141. PageID #: 165996




 X.       McKesson’s Suspicious Order Monitoring Program Changed in Response to
          Evolving Diversion Trends and Changing DEA Guidance

          166.   The landscape for pharmaceutical diversion was undergoing charges in light of

 advancing technology and the rise of rogue Internet pharmacies. 345 Because of these changes in

 technology and diversion trends, McKesson began to evolve its suspicious order monitoring

 program.

          A.     McKesson’s LDMP Program

          167.   McKesson first developed its Lifestyle Drug Monitoring Program, which is

 commonly called the “LDMP,” in response to changes in guidance from DEA and evolving

 trends in pharmaceutical diversion. 346 The term “lifestyle drugs” came from DEA and is used in

 the 2006 Rannazzisi Letter. 347

                 1.     Overview of McKesson’s LDMP Program

          168.   McKesson adopted its LDMP program in May 2007. 348 In light of McKesson’s

 discussions with DEA about rogue Internet pharmacies, the LDMP focused on the unprecedented

 threat from rogue Internet pharmacies. 349 The LDMP calls for monitoring of four specific drugs:


 345
    Prevoznik Tr. (Apr.17, 2019) at 151:1-17 (“A. … It’s with the onset of the internet where it
 became national. So it really changed the dynamic of diversion when it went on the internet.”);
 Prevoznik Tr. (Apr. 17, 2019) at 298:2-17 (“Back in 2005 when we started, that was when we
 were addressing the internet. So it went from the regional local diversion issues to a more
 national – not a more – I mean it went national.”).
 346
    Walker Tr. (Jan. 10, 2019) at 374:7-12 (“A. We – this was really the beginning of our overall
 control of the monitoring program. We focused on the four lifestyle drugs that had been
 identified in the January meeting. We established a mechanism of thresholds DEA had shared
 with U.S. in the – in the meetings that we had had ….”).
 347
    September 27, 2006 Dear Registrant Letter (MCKMDL00478906 at -8908) (“Ordering
 excessive quantities of a limited variety of controlled substances in combination with excessive
 quantities of lifestyle drugs.”).
 348
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5256).
 349
     Boggs Tr. (Jan. 17, 2019) at 102:3-15 (“Q. Before creating the CSMP as a result of this
 settlement agreement, did McKesson have what is referred to as a Lifestyle Drug Monitoring

                                                85
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 91 of 141. PageID #: 165997




 oxycodone, hydrocodone, alprazolam, and phentermine. 350 To respond to this diversion trend,

 the LDMP sets monthly thresholds for oxycodone, hydrocodone, alprazolam, and phentermine.

 The LDMP set thresholds for those four drugs at 8,000 doses. 351

          169.   The LDMP created a three-level monitoring program. 352 Under the three-level

 system, McKesson would review a customer’s orders greater than the 8,000 dose threshold. 353

 McKesson’s LDMP program generated a Daily Dosage Summary Report. 354 The Daily Dosage

 Summary Report summarized all McKesson’s customers who purchased amounts of oxycodone,

 hydrocodone, alprazolam, or phentermine that exceeded the 8,000 dose unit threshold set for

 those products in that month. 355 McKesson employees then reviewed whether the customer

 orders that appeared on the Daily Dosage Summary Report were legitimate. 356



 Program? A. That’s my understanding, yes. Q. And in that context, lifestyle drugs referred to
 what? … THE WITNESS: From -- from reading the documents, it referred to drugs that they had
 discussed with the DEA regarding drugs that were used pursuant to a rogue internet pharmacy.”).
 350
    Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251); Boggs Tr. (Jan. 17,
 2019) at 102:3-15 (“Q. Before creating the CSMP as a result of this settlement agreement, did
 McKesson have what is referred to as a Lifestyle Drug Monitoring Program? A. That’s my
 understanding, yes. Q. And in that context, lifestyle drugs referred to what? … THE WITNESS:
 From – from reading the documents, it referred to drugs that they had discussed with the DEA
 regarding drugs that were used pursuant to a rogue internet pharmacy.”); Walker Tr. (Jan. 10,
 2019) at 374:7-10 (“A. … We focused on the four lifestyle drugs that had been identified in the
 January meeting.”).
 351
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251).
 352
    Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5252-55); Walker Tr. (Jan. 10,
 2019) at 374:2-375:10.
 353
     Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251); Walker Tr. (Jan. 10,
 2019) at 374:7-19 (“A. … “Our own internal data we reviewed, it was -- the average was closer
 to 8,000 dose units for our customer base. And we then used the information, the data, to
 establish these thresholds.”).
 354
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251).
 355
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251).
 356
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251).


                                                86
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 92 of 141. PageID #: 165998




          170.   The LDMP did not automatically block orders of oxycodone, hydrocodone,

 alprazolam, or phentermine that exceeded the 8,000 dose threshold. 357 McKesson employees,

 however, were required to investigate customer activity when the 8,000 dose threshold of those

 four drugs was reached. 358

                 2.     McKesson’s Section 55 Program Remained in Effect for Other
                        Controlled Substances

          171.   As I discuss above, McKesson’s LDMP monitored four specific controlled

 substances, which were oxycodone, hydrocodone, alprazolam, and phentermine. 359 For other

 controlled substances, reporting under McKesson’s Section 55 program remained in effect. 360

                 3.     McKesson Reported DU-45s During the LDMP Program

          172.   McKesson continued to submit DU-45 reports to DEA while its LDMP program

 was in effect. 361 The LDMP program did not stop McKesson’s reporting of suspicious orders to




 357
    Lifestyle Drug Monitoring Program (MCKMDL00355251); William de Gutierrez-Mahoney
 Tr. (Nov. 28, 2018) at 576:3-15 (“Q. The LDMP didn’t block suspicious orders, did it? A. It
 identified them so we could instruct the nightshift don’t fill decisional hydrocodone for a specific
 customer. Q. When orders exceeded their thresholds under the LDMP, they weren’t blocked,
 were they? A. It was -- there wasn’t a threshold, per se. But there was a designated level above
 which we would do the investigation.”).
 358
    Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251) (“Each customer
 appearing on the report must be evaluated to the legitimacy of their order quantity.”).
 359
       Lifestyle Drug Monitoring Program (MCKMDL00355251 at -5251).
 360
     Walker Tr. (Jan. 10, 2019) at 384:12-22 (“Q. What is this? A. This is a memo from -- or an
 email memo from me to our field distribution teams and distribution centers advising them that --
 this is dated January 22nd of '09 – that we would no longer be providing the DEA with the end-
 of-month DU45 or the Suspicious Order Report, and that our new reporting mechanism was in
 place and established as part of our agreement with DEA, and directed the DCs not to submit
 those reports to the local field offices.”).
 361
    Walker Tr. (Jan. 10, 2019) at 383:8-9 (“A. We – we continued to submit the DU45
 9 to local field offices.”).


                                                 87
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 93 of 141. PageID #: 165999




 DEA through DU-45s. 362 McKesson only stopped sending DU-45 reports to DEA in January

 2009 at the request of DEA. 363

                4.      McKesson Informed DEA of the LDMP and DEA Did Not Raise
                        Concerns About the Program

        173.    McKesson provided DEA with the LDMP policy and a presentation that

 summarized key aspects of the LDMP program. 364 At the time, Linden Barber was Chief of the

 Regulatory Section in DEA’s Office of Chief Counsel, and he received the information about the

 LDMP program from McKesson. 365 DEA understood McKesson’s LDMP program and that

 McKesson did not block orders of the four controlled substances that exceeded the 8,000 dose

 threshold for the month. 366

                5.      McKesson’s LDMP Program Complied with the CSA and Regulations

        174.    It is my opinion that McKesson’s LDMP program complied with the requirements

 of the CSA, its regulations, and DEA’s guidance. The LDMP program identified suspicious

 orders and McKesson investigated orders that exceeded the threshold for those four controlled


 362
    Walker Tr. (Jan. 10, 2019) at 383:8-9 (“A. We – we continued to submit the DU45
 9 to local field offices.”).
 363
    Walker Tr. (Jan. 10, 2019) at 383:20-384:2 (“Q. … When did McKesson cease providing
 DU45 reports to the DEA? A. I think in January of ’09, we finally reached mutual agreement
 that we had a system that could talk back and forth. And I think in January of 2009 is when we
 ceased providing DU45s.”); Email from Donald Walker, “IMPORTANT – Call from DEA on
 Suspicious Trans Rpt” (Jan. 22, 2009) (MCKMDL00355691 at -5691) (“They received paper
 suspicious transaction reports (DU45) from St. Louis and Birmingham and are questioning why
 we are still sending paper reports.”); Email from Donald Walker, “DU45” (Jan. 22, 2009)
 (MCKMDL00355693 at -5693) (“Effective this month we will no longer be providing DEA with
 the end of month DU45.”).
 364
    Letter from John Gilbert to Linden Barber (June 12, 2007) (MCKMDL00355527 at -5527-
 28).
 365
    Letter from John Gilbert to Linden Barber (June 12, 2007) (MCKMDL00355527 at -5527-
 28).
 366
    Letter from John Gilbert to Linden Barber (June 12, 2007) (MCKMDL00355527 at -5527-
 28).


                                               88
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 94 of 141. PageID #: 166000




 substances. McKesson also reported suspicious orders to DEA using DU-45s. 367 It is also

 important to remember that McKesson continued to use its Section 55 Program for other

 controlled substances during the LDMP program.

        B.      McKesson’s 2008 Controlled Substance Monitoring Program

        175.    During McKesson’s LDMP program, trends in pharmaceutical diversion

 continued to change. Congress passed the Ryan Haight Act in 2008, and after the Act took

 effect, rogue Internet pharmacies became virtually nonexistent.368 As rogue Internet pharmacies

 decreased, a new diversion scheme emerged. 369

        176.    The diversion trend that emerged by the late 2000s was rogue pain clinics or “pill

 mills.” 370 The pill mill diversion scheme involved brick-and-mortar pharmacies that filled high



 367
     Walker Tr. (Jan. 10, 2019) at 384:13-22 (“A. This is a memo from -- or an email memo from
 me to our field distribution teams and distribution centers advising them that -- this is dated
 January 22nd of ’09 -- that we would no longer be providing the DEA with the end-of-month
 DU45 or the Suspicious order report, and that our new reporting mechanism was in place and
 established as part of our agreement with DEA, and directed the DCs not to submit those reports
 to the local field offices.”).
 368
    Boggs Tr. (Jan. 17, 2019) at 82:21-83:1 (“A. … Most of these are focused predominantly on -
 - on what would be a rogue internet pharmacy, which in today’s environment is almost
 nonexistent.”).
 369
     Boggs Tr. (Jan. 17, 2019) at 356:14-22 (Q And can you describe, what is a diversion trend?
 A. There’s different types of schemes that can occur that would cause a -- what I would consider
 a trend. We’ve -- we’ve seen diversion trends, such as rogue internet pharmacies, be a diversion
 trend. It’s a massive criminal scheme. We’ve seen pill mills in Florida. That’s a diversion trend
 and is a criminal scheme.”).
 370
    Boggs Tr. (Jan. 17, 2019) at 137:5-13 (“Q. On page 897, you reference ‘Florida pill mills,
 resulting oxy spills.’ Was there a particular problem in Florida in the late 2000s, including 2009
 and 2010, as it related to large quantities of opioids being diverted into the illicit marketplace?
 A. There was a significant diversion scheme related to pain -- rogue pain clinics or what were
 often referred to as pill mills.”); Boggs Tr. (Jan. 17, 2019) at 141:14-17 (“A. The bullets that are
 in here are focused specifically on a diversion scheme, and in this case it would have been a pill
 mill or rogue pain clinic.”); Boggs Tr. (July 19, 2018) at 90:19-25 (“Q. What do the arrows
 signify to you? A. I believe it would be in reference to the Florida fill mills and oxycodone
 traveling out of the state of Florida being diverted by illegal trafficking.”).


                                                  89
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 95 of 141. PageID #: 166001




 volumes of controlled substances that lacked legitimate medical purposes. These were criminal

 enterprises in which a patient would come in, see a doctor, get a prescription for which there was

 no legitimate medical need, and then have the prescription filled at the pharmacy for a cash

 payment.

          177.   McKesson adapted its anti-diversion program to keep pace with changing

 diversion trends resulting in shifting DEA guidance such as “Do Not Ship.” McKesson adopted

 its Controlled Substances Monitoring Program, which I will call the “2008 CSMP,” in April

 2008 to address these changes.

                 1.     Overview of McKesson’s 2008 CSMP

          178.   McKesson’s 2008 CSMP took effect in April 2008. 371 The 2008 CSMP applied

 to all controlled substances. 372 The 2008 CSMP was not limited to the four pharmaceutical

 products identified in the LDMP. 373

                 2.     2008 CSMP Blocked Orders That Met or Exceeded the Monthly
                        Threshold

          179.   McKesson’s 2008 CSMP established individualized customer thresholds for all

 controlled substances using DEA base code. 374 When a customer hit its monthly threshold for a


 371
    McKesson Pharmaceutical Controlled Substance Monitoring Program (CSMP), Presentation
 (July 31, 2008) (MCKMDL00355595 at -5599); Walker Tr. (Jan. 10, 2019) at 242:17-21 (“Q.
 And it’s April 24, 2008. This is about the time that you’re beginning the implementation of the
 monitoring program at McKesson; true? A. Yes, we were implementing.”).
 372
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9301).
 373
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9301).
 374
    McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9302);
 Walker Tr. (Jan. 10, 2019) at 381:8-18 (“Q. What was the difference between the new CSMP
 program that was put into place and the LDMP, or Lifestyle Drug Monitoring Program? A.
 There were a number of things that -- that were done at the time. First, the difference
 specifically in the programs is we continued to use the concept of thresholds to monitor specific
 orders. The significant difference was that we created a systemic solution to total the dose units
 purchased by a given pharmacy on a given controlled substances -- substance.”).


                                                 90
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 96 of 141. PageID #: 166002




 particular controlled substance, the automatic “do not ship” was triggered. 375 The order, which

 was referred to within McKesson as an “omit,” was blocked, and McKesson did not ship the

 order. 376 When a customer hit its threshold, the order that triggered the omit was blocked, and

 McKesson blocked all subsequent orders for that item from that customer. 377

                 3.     2008 CSMP Three-Level Review Process

          180.   When a customer’s order met or exceeded the threshold under the 2008 CSMP, it

 also triggered McKesson’s three-level review process. 378 McKesson’s 2008 CSMP required a

 Level I review every time a customer hit its monthly threshold. 379

          181.   If McKesson determined during the Level I review that additional investigation

 was warranted, McKesson would open a Level II review. 380 A Level II review involved

 coordination between the Distribution Center and a Director of Regulatory Affairs. 381 The

 review could also involve customer interviews and site visits. 382 When a Level II review was




 375
    McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9306);
 Walker Tr. (Jan. 10, 2019) at 381:11-21 (“A. … And if the order that was generated at any given
 time caused the pharmacy to go above the threshold, that entire order was blocked. The blocking
 of orders was a piece.”).
 376
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9306).
 377
    McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9306);
 Walker Tr. (Jan. 10, 2019) at 381:11-21 (“A. … And if the order that was generated at any given
 time caused the pharmacy to go above the threshold, that entire order was blocked. The blocking
 of orders was a piece.”).
 378
     Walker Tr. (Jan. 10, 2019) at 381:11-382:1 (“A. … We had -- we continued to have the three-
 part review. The difference being is that the blocked order triggered a review process, but we
 still maintained a three-tiered escalation process and how we would report to the DEA.”).
 379
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9306-07).
 380
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9307).
 381
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9307).
 382
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9307).


                                                 91
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 97 of 141. PageID #: 166003




 completed, the customer was escalated to Level III review if the transaction was determined to

 be “suspicious.” 383

          182.   Once an evaluation is escalated to a Level III, sales of all controlled substances

 are blocked to the customer. 384 McKesson also reports the customer to local and headquarters

 DEA personnel as “suspicious.” 385 Level III reviews are handled by senior management at

 McKesson. 386

                 4.     “Know Your Customer” Under the 2008 CSMP

          183.   The 2008 CSMP states that “DEA expects McKesson to ‘know their customer.’

 This means understanding the customers’ business, why they purchase as well as how much they

 purchase. Factors such as type of business, internet activities, type and quantity of products

 purchased should be considered when evaluating a customer.” 387 McKesson took steps to know

 both its new and established customers.

                        a)        “Know Your Customer” for New Customers

          184.   McKesson’s 2008 CSMP had procedures to make sure that potential customers

 satisfied McKesson’s onboarding requirements. 388 For example, McKesson introduced new

 customers to the CSMP process. 389 McKesson also conducted site visits during the onboarding

 process for new customers. 390


 383
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308).
 384
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308).
 385
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308).
 386
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308).
 387
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9301).
 388
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308).
 389
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9308-09).
 390
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9312).


                                                  92
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 98 of 141. PageID #: 166004




                        b)      “Know Your Customer” for Existing Customers

          185.   McKesson under the 2008 CSMP conducted due diligence to “know its

 customers” for existing customers as well. 391 McKesson’s due diligence involved a number of

 steps, such as a customer declaration, site visit, observations, follow-up interviews, inquiries

 with local DEA or the state board of pharmacy, Internet searches, and extensive background

 investigations by corporate security. 392

                 5.     McKesson Reported DU-45s until January 2009

          186.   McKesson continued certain elements of its earlier controlled substance

 monitoring programs during the 2008 CSMP. McKesson, for example, continued to submit DU-

 45 reports to DEA through January 2009. 393 McKesson stopped submitting DU-45s to DEA in

 2009 because McKesson’s new method of reporting to DEA took effect. 394 DEA also informed

 industry in 2010 in a presentation that DEA would no longer accept excessive purchase

 reports. 395 McKesson continued to maintain regular contact with their local field offices under

 the 2008 CSMP.396



 391
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9313).
 392
       McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9313).
 393
    Walker Tr. (Jan. 10, 2019) at 383:20-384:2 (“Q. And you mentioned that the DU45s were
 continued -- McKesson continued to send those while the new system was in development.
 When did McKesson cease providing DU45 reports to the DEA? A. I think in January of ‘09,
 we finally reached mutual agreement that we had a system that could talk back and forth. And I
 think in January of 2009 is when we ceased providing DU45.”).
 394
    Email from Donald Walker, “DU45,” (Jan. 22, 2009) (MCKMDL00355693 at -5693) (“Our
 new reporting mechanism established as part of the agreement with DEA is now in place and
 verified operational.”).
 395
    Regulatory Section, DEA Headquarters, ODG Presentation (CAH_MDL2804_01447421 at -
 7435) (“DEA will no longer accept Excessive Purchase Reports. Previously excessive purchase
 reports were received after drugs had already been shipped by registrants.”).
 396
   Thomas McDonald Tr. (Dec. 7, 2018) at 296:6-297:25 (“A. When I first started as Director, I
 wanted to reach out to local DEA offices in my territory and present CSMP. So once I became

                                                  93
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 99 of 141. PageID #: 166005




                6.     McKesson’s 2008 CSMP Complied with the CSA and Regulations

        187.    McKesson’s 2008 CSMP complied with the requirements under the CSA and its

 regulations. McKesson implemented its 2008 CSMP in conjunction with DEA and in a way that

 was consistent with DEA’s guidance under the 2008 Settlement Agreement. 397 The 2008 CSMP


 comfortable with the process, I would try to schedule appointments with local offices so that I
 could make that presentation, make liaison with those offices, and try to open communication
 with them. … Q. And as to the group supervisors or diversion managers that were receptive,
 could you describe your interactions with them? A. Often I would -- I would contact them, and
 if I was doing an investigation, and ask them if they had heard of a particular pharmacy or heard
 of a doctor in the area that was mentioned during an investigation.”).
 397
    McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
 Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116 at -9133) (“June 2008: McKesson and
 DEA representatives began discussing development of electronic reporting system, November 4,
 2008: DEA provided detail on electronic reporting format for Suspicious Orders and Non-
 ARCOS data, January 22, 2009: McKesson discontinued DU-45 in consultation with DEA.”);
 (MCKMDL00409116 at -9151) (“DEA determined McKesson’s DC’s were ‘satisfactory’ per the
 MOA.”); (MCKMDL00409116 at -9161) (“July - December 2009: McKesson coordinated with
 DEA on the continued development of the electronic reporting system … May 14-25, 2010:
 McKesson and DEA jointly tested the process for electronically reporting suspicious orders.”);
 Walker Tr. (Jan. 10, 2019) at 141:16-21 (“Q. And the program you actually established in ‘08
 was consistent with that agreement? Because what we just went through, when we look at your
 program under ‘Purpose,’ it says you’re going to set and maintain thresholds; right? A. Yes.”);
 Oriente Tr. (July 19, 2018) at 363:8-19 (“Q. And in 2008, after paying $13 million -- a $13
 million fine with respect to your settlement with the DOJ and the DEA, at that point in time you
 agreed, you agreed with the DEA that you would establish a system with thresholds to monitor
 the flow of opioids, did you not, sir? … THE WITNESS: I believe that was the -- a statement
 made.”); Boggs Tr. (Jan. 17, 2019) at 61:3-15 (“Q. As a result of this settlement, McKesson
 agreed to maintain a compliance program designed to detect and prevent diversion of controlled
 substances as required under the CSA, the Controlled Substances Act, and applicable DEA
 regulations, and then it goes on to indicate that McKesson would establish thresholds for
 controlled substances. Is it your understanding that that was part of the obligations assumed by
 McKesson as a result of the settlement? A. That’s what it says on the document, yes.”); Boggs
 Tr. (July 19, 2018) at 58:21-25 (“Q. In addition, McKesson agreed to institute a compliance
 program to detect and prevent diversion of controlled substances? A. That was part of the
 agreement, yes.”); Boggs Tr. (July 19, 2019) at 59:22-60:4 (“Q. What were the general terms or
 provisions of the compliance addendum in 2008? A. There was an agreement to maintain
 effective controls against diversion, a controlled substances monitoring program, and it outlines
 that agree -- in the agreement.”); Walker Tr. (Jan. 10, 2019) at 382:9-383:2 (“Q. … What actions
 did McKesson take to implement those provisions [of the 2008 agreement], specifically dealing
 with suspicious order reporting? A. … So we had a fairly significant I.T. team and I.T.
 investment to execute the establishment of the suspicious or recording mechanism to report to
 DEA.”).


                                                94
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 100 of 141. PageID #: 166006




  was designed and implemented to combat diversion as it existed during this time, which was

  mainly rogue Internet pharmacies and pill mills.

           C.     McKesson’s Enhanced Controlled Substance Monitoring Program from 2013
                  to Present

           188.   McKesson continued to develop and enhance its controlled substance monitoring

  program to address changes in diversion trends and changes in the business practices of

  McKesson’s customers. 398 At the beginning of this decade, diversion trends shifted from rogue

  Internet pharmacies and pill mills to high volume brick-and-mortar pharmacies. 399 McKesson

  developed its Enhanced CSMP to better address such changes in pharmaceutical diversion.

                  1.     Advancements Incorporated into McKesson’s Enhanced CSMP

           189.   McKesson’s Enhanced CSMP included advancements that McKesson adopted to

  address shifts in pharmaceutical diversion. McKesson hired several high-caliber former DEA

  personnel with expertise in fast-moving diversion trends as part of its efforts to address

  diversion. 400 McKesson hired these experienced individuals so that McKesson could rely on

  their experience combatting diversion in its suspicious order monitoring program. 401


  398
        2013 Controlled Substances Monitoring Program (MCKMDL00354536 at -4536).
  399
      Boggs Tr. (Jan. 17, 2019) at 356:14-357:23 (“Q. And can you describe, what is a diversion
  trend? A. … [W]e’ve seen diversion trends, such as rogue internet pharmacies, be a diversion.
  It’s a massive criminal scheme. We’ve seen pill mills in Florida. That’s a diversion trend and is
  a criminal scheme.”).
  400
     McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116 at -9168).
  401
      Boggs Tr. (Jan. 17, 2019) at 47:22-48:8 (“Q. Did you bring with you when you joined
  McKesson your wealth of knowledge that you gained as a DEA agent, and do you use that
  knowledge in your current position and employment? A. I use my experiences gained from
  there, yes. Q. I assume that’s why McKesson retained you, for your knowledge and experience
  as a DEA agent. True? A. I think that that’s partially accurate, yes.”); Boggs Tr. (Jan. 17, 2019)
  at 206:2-8 (“Q. The next thing you mention is a larger and experienced regulatory team. What
  does that mean? A. We expanded the number of people on our team. We brought in different
  experience, expertise and skill sets to our team as we evolved our program.”); Boggs Tr. (Jan.

                                                   95
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 101 of 141. PageID #: 166007




         190.   McKesson also incorporated advancements into its Enhanced CSMP. Under the

  Enhanced CSMP, McKesson:




                2.     Separate Policies for Retail Accounts and Independent Customers
                       Beginning in 2015

         191.   McKesson released a CSMP policy focused on independent, small, to medium

  chain (“ISMC”) customers in 2015. 406 McKesson also released a CSMP focused on retail

  national account (“RNA”) customers in 2018. 407




  17, 2019) at 387:6-21 (“Q. Mr. Boggs, how many other former DEA representatives or agents
  are now employed at McKesson besides yourself, if you can estimate? A. About six or seven.
  Q. Does that include former DEA attorneys as well as agents? A. It did not, but there -- we --
  there's one. Q. Just one. And before 2013, do you know whether any DEA agents were
  employed at McKesson, former DEA agents? A. There’s a -- was a diversion investigator, not a
  DEA agent, that was employed by -- Q. Just one? A. -- prior to my arrival, yes.”).
  402
     McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116, at -9168); AGI, Suspicious Order
  Monitoring Threshold System for McKesson Independent Retail Pharmacy Customers,
  Description and Rationale (May 12, 2017) (MCKMDL00409766).
  403
     McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116 at -9168).
  404
     McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116 at -9168).
  405
     McKesson Corporation, Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014) (MCKMDL00409116 at -9168).
  406
    2015 ISMC Controlled Substance Monitoring Program Operating Manual
  (MCKMDL00354887).
  407
    2018 RNA Controlled Substance Monitoring Program Operating Manual
  (MCKMDL00355260).


                                                96
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 102 of 141. PageID #: 166008
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 103 of 141. PageID #: 166009




  potential for a good system.” 412 Mr. Rafalski also testified that “they were making some changes

  to their suspicious order monitoring system that I thought were pretty positive and significant,

  but it was right at the very end of the timeline. That was one company. That would have been

  McKesson.” 413

                   5.     McKesson’s Enhanced CSMP Complied with the CSA and
                          Regulations

            195.   The Enhanced CSMP developed by McKesson complies with the requirements in

  the CSA and its regulations. In fact, McKesson’s Enhanced CSMP and its program with AGI go

  beyond the requirements of the CSA and regulations and are highly sophisticated programs

  designed to combat pharmaceutical diversion. And throughout this process, DEA never

  modified the CSA and its regulations.

  XI.       McKesson Settlement Agreements

            196.   McKesson has been subject to two administrative settlements with DEA.

  McKesson entered into a first settlement agreement with DEA in 2008 414 and a second

  settlement agreement with DEA in 2017. 415




  412
     Rafalski Tr. (May 13, 2019) at 353:25-354:12 (“Q. What positive things did you see in
  McKesson’s suspicious order monitoring program? A. At the very end of the time period, they
  contracted or -- a company called AGI, and AGI did a -- was designing a model for them, and I
  thought just by looking what limited information I got, that I thought there was some potential
  for that. I'm not saying that I'm approving it, and without actually doing a lot more analysis, but I
  thought that that was -- had the potential for a good system.”).
  413
        Rafalski Tr. (May 13, 2019) at 38:11-16.
  414
        2008 Settlement Agreement (MCKMDL00516360).
  415
    2017 Agreement and Release (MCKMDL00410006); 2017 Memorandum of Agreement
  (MCKMDL00410070).


                                                   98
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 104 of 141. PageID #: 166010




            A.     2008 Settlement Agreement

            197.   McKesson entered a Settlement and Release Agreement and Administrative

  Memorandum of Agreement with the Department of Justice, Drug Enforcement Administration

  on May 2, 2008 (the “2008 Settlement Agreement”). 416 The 2008 Settlement Agreement resulted

  from Orders to Show Cause dated August 4, 2006, and November 1, 2007. 417

            198.   Among other obligations under the 2008 Settlement Agreement, McKesson

  agreed to pay civil penalties in the amount of $13.25 million.418 However, as stated in the 2008

  Settlement Agreement, “McKesson denies the allegations set forth in the Orders and as otherwise

  summarized above and also denies any allegations of improper conduct including but not limited

  to allegations that it failed to maintain effective controls against diversion or failed to file

  suspicious order reports.” 419

            199.   I further understand that DEA did not issue an Immediate Suspension Order

  against McKesson for any of the alleged conduct described in the 2008 Settlement Agreement. 420

  This is significant because DEA concluded that McKesson’s alleged conduct did not amount to

  “an imminent danger to the public health or safety.” 421




  416
        2008 Settlement Agreement (MCKMDL00516360).
  417
        2008 Settlement Agreement (MCKMDL00516360 at -6360, -6361).
  418
        2008 Settlement Agreement (MCKMDL00516360 at -6364).
  419
        2008 Settlement Agreement (MCKMDL00516360 at -6361).
  420
        Rannazzisi Tr. (May 15, 2019) at 593:6-11.
  421
     21 C.F.R. § 1301.36(e) (“The Administrator may suspend any registration simultaneously
  with or at any time subsequent to the service upon the registrant of an order to show cause why
  such registration should not be revoked or suspended, in any case where he/she finds that there is
  an imminent danger to the public health or safety.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 105 of 141. PageID #: 166011




           B.     2017 Settlement Agreement

           200.   McKesson entered a Settlement Agreement and Release on January 17, 2017 (the

  “2017 Settlement Agreement”). 422 The 2017 Settlement Agreement does not recite an Order to

  Show Cause or other administrative proceeding, but McKesson agreed to pay civil penalties in

  the amount of $150 million, among other obligations. 423 McKesson also agreed to enter a

  Compliance Addendum and Administrative Memorandum of Agreement under which its

  authority to distribute certain controlled substances from four of its distribution centers would be

  suspended for a period of up to 3 years. 424

           201.   McKesson further agreed that it did not identify or report “certain orders placed

  by certain pharmacies which should have been detected based on guidance contained in DEA

  letters.” 425 McKesson further admitted it did not report “certain orders placed by certain

  pharmacies” in a manner consistent with 2008 Settlement Agreement. 426 As with the 2008

  Settlement Agreement, I understand that DEA did not issue an Immediate Suspension Order




  422
    2017 Agreement and Release (MCKMDL00410006); 2017 Memorandum of Agreement
  (MCKMDL00410070).
  423
    2017 Agreement and Release (MCKMDL00410006 at -0011); 2017 Memorandum of
  Agreement (MCKMDL00410070 at -0077).
  424
        2017 Memorandum of Agreement (MCKMDL00410070 at -0075-77).
  425
     2017 Agreement and Release (MCKMDL00410006 at -0010) (“McKesson acknowledges
  that, at various times during the Covered Time Period, it did not identify or report to DEA
  certain orders placed by certain pharmacies which should have been detected by McKesson as
  suspicious based on the guidance contained in the DEA Letters about the requirements set forth
  in 21 C.F.R. § 1301.74(b) and 21 U.SC. § 842(a)(5).”).
  426
     2017 Agreement and Release (MCKMDL00410006 at -0010) (“McKesson acknowledges
  that, at various times during the Covered Time Period, it did not identify or report to DEA
  certain orders placed by certain pharmacies, which should have been detected by McKesson as
  suspicious, in a manner fully consistent with the requirements set forth in the 2008 MOA.”).


                                                  100
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 106 of 141. PageID #: 166012




  against McKesson for any of the alleged conduct described in the 2017 Settlement Agreement. 427

  Again, this is significant because DEA concluded that McKesson’s alleged conduct did not

  amount to “an imminent danger to the public health or safety.” 428

         202.    Although McKesson admitted it did not report “certain orders placed by certain

  pharmacies,” it is important to note that the 2017 Settlement Agreement covered conduct from

  January 1, 2009 through January 17, 2017. 429 As discussed above, during this period McKesson

  blocked suspicious orders before they were shipped under its CSMP program. 430 Mr. Rafalski

  has explained that “[t]here is no more effective control to prevent diversion than blocking a

  suspicious order before it is shipped.” 431 This is because the order “doesn’t leave the control of

  the distributor and have the potential to be diverted.” 432 Mr. Rafalski testified that “not reporting




  427
     Rannazzisi Tr. (May 15, 2019) at 593:6-17 (“Q. … Sitting here today, you don’t recall if the
  DEA issued an immediate suspension order against McKesson during your tenure at the DEA,
  correct? A. I don’t recall that.”).
  428
     21 C.F.R. § 1301.36(e) (“The Administrator may suspend any registration simultaneously
  with or at any time subsequent to the service upon the registrant of an order to show cause why
  such registration should not be revoked or suspended, in any case where he/she finds that there is
  an imminent danger to the public health or safety.”).
  429
    2017 Agreement and Release (MCKMDL00410006 at -0007-08); 2017 Memorandum of
  Agreement (MCKMDL00410070 at -0072).
  430
     McKesson Controlled Substance Monitoring Program (MCKMDL00409301 at -9306); Boggs
  Tr. (Jan. 17, 2019) at 366:4-7 (“Q. … [I]f it triggered a suspicious order, that order would be
  blocked, it would not be shipped, and that order would be reported to the DEA.”), 378:3-9 (“Q.
  [D]o you believe that the failure to report contributed to the opioid crisis? A. I don’t, because
  the order may very well have been blocked and not shipped. It doesn’t mean it was reported or
  not reported, but the order may have been blocked, and McKesson was blocking orders for quite
  some time.”).
  431
     Expert Report of James E. Rafalski (Apr. 15, 2019) at 74; Rafalski Tr. (May 13, 2019)
  370:25-371:3 (“Q. Blocking the order of the opioid pills before shipment is what prevents
  diversion from occurring, correct? A. Yes, sir.”).
  432
     Rafalski Tr. (May 13, 2019) at 370:25-371:3 (agreeing that “[b]locking the order of the
  opioid pills before shipment is what prevents diversion from occurring”).


                                                   101
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 107 of 141. PageID #: 166013




  the suspicious order to DEA is not what causes diversion.” 433 I have not seen any suggestion

  that the orders subject to the 2017 Settlement Agreement caused diversion.

  XII.   DEA Rarely Relied On or Used Suspicious Order Reports

         A.      DEA Rarely Used Suspicious Order Reports

         203.    During my time as a Diversion Investigator, suspicious order reports were not

  typically used by DEA to detect suspicious orders or to identify diversion. Diversion

  investigators typically did not rely on suspicious order reports while they were looking for

  sources of diversion. In my experience, suspicious order reports were not a priority of DEA field

  offices. In addition, suspicious order reports were not typically among the tools used by

  diversion investigators when conducting investigations of pharmacies suspected of diversion.

  DEA did not typically use suspicious order reports as a springboard to conduct investigations of

  pharmacies in my experience. 434

         204.    My experience at DEA was confirmed by testimony from DEA witnesses. DEA

  admitted that suspicious order reports were not consistently maintained by DEA field offices. 435

  Former DEA employee Kyle Wright also testified on multiple occasions that fifty to seventy-five


  433
     Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. You'd agree that not reporting the suspicious
  order to DEA is not what causes diversion? A. That's correct.”).
  434
     Wright Tr. (Feb. 28, 2019) at 84:9-21 (“Q. And I believe that you testified before, in your
  personal experience reviewing these Excessive Sales Reports, that half to three-quarters of them
  sometimes went into the trash can; is that right? A. Yes.”); Wright Tr. (US v. $463,497.72) at
  47:8-49:5 (“Q. It won’t just be filed away in a drawer? A. That was the problem with the
  Excessive Purchase System. It was under the Suspicious Order System. Q. Whose fault was
  that? Is that the distributor’s fault or the DEA’s fault? A. That would have been the DEA’s
  fault. Well, no. Let me -- let me reel some of that back in. … I would look through -- again, I
  had a ton of paper, and I would say half to three-quarters of that went in the trash can. It was
  meaningless. … Q. You’re not suggesting that H.D. Smith was dumping paper on the DEA? A.
  No, sir. No, sir. No, sir. Not at all. Q. Okay. A. I would just get a volume of paper.”).
  435
     Prevoznik Tr. (Apr. 17, 2019) at 383:9-12 (“Q. So in DEA’s view, were suspicious order
  reports maintained consistently across the field offices? A. No.”).


                                                 102
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 108 of 141. PageID #: 166014




  percent of the excessive order reports submitted by distributors to DEA ended up in the trash. 436

  Kyle Wright described the reports as “meaningless.” 437 Gary Boggs testified that suspicious

  order reports are “rarely” useful in identifying and investigating suspicious orders, and the focus

  on suspicious orders is “very misplaced.” 438 He also testified that the suspicious order reports

  that he receives while working at McKesson are not a useful tool for detecting potential

  diversion. 439




  436
     Wright Tr. (Feb. 28, 2019) at 84:9-21 (“Q. And I believe that you testified before, in your
  personal experience reviewing these Excessive Sales Reports, that half to three-quarters of them
  sometimes went into the trash can; is that right? A. Yes.”); Wright Tr. (US v. $463,497.72) at
  47:8-49:5 (“Q. It won’t just be filed away in a drawer? A. That was the problem with the
  Excessive Purchase System. It was under the Suspicious Order System. Q. Whose fault was
  that? Is that the distributor’s fault or the DEA’s fault? A. That would have been the DEA’s
  fault. Well, no. Let me -- let me reel some of that back in. … I would look through -- again, I
  had a ton of paper, and I would say half to three-quarters of that went in the trash can. It was
  meaningless. … Q. You’re not suggesting that H.D. Smith was dumping paper on the DEA? A.
  No, sir. No, sir. No, sir. Not at all. Q. Okay. A. I would just get a volume of paper.”).
  437
      Wright Tr. (US v. $463,497.72) at 47:12-22 (“A. … I had a ton of paper, and I would say half
  to three-quarters of that went in the trash can. It was meaningless. …”).
  438
      Boggs Tr. (Jan. 17, 2019) at 97:14-98:2 (“Q. … Suspicious orders can lead you to a
  suspicious customer, true? … A. Without knowing more about the customer, no.”), Boggs Tr.
  (Jan. 17, 2019) 368:1-369:7 (“Q. Why do you look at the [suspicious order] reports? A. To see
  if there’s anything in there that I should be concerned about, or if there's anything -- if a
  customer ordered an extremely large volume of something that would have been a -- not a typical
  order, I would be able to see that, and maybe decide that someone from our team needed to do
  some additional due diligence. Q. How often do you look at a suspicious order report and make
  a determination that something -- some additional diligence is warranted? A. I look at them
  probably every day, every other day. I mean, I look at them very frequently, but rarely do I find
  anything that -- of concern in those.”)
  439
     Boggs Tr. (Jan. 17, 2019) at 368:17-369:7 (“Q. Does that mean that you rarely have concerns
  about your customers, or -- is that what you're saying, you rarely have concerns about your
  customers? A. No, it means that rarely do I find any of those orders to be concerning. We do
  other due diligence of our customers that that due diligence -- because we’re looking and
  knowing our customer and conducting the due diligence of our customer, that we find additional
  red flags that are not borne out in a suspicious order report. Q. So -- so is the suspicious order
  report that you get every day, do you consider that a useful tool for detecting potential diversion?
  A. I do not.”).


                                                  103
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 109 of 141. PageID #: 166015




         B.      Submission of Additional Suspicious Order Reports by Distributors Would
                 Not Likely Have Helped Combat Diversion

         205.    It is unlikely that the submission of more suspicious order reports by distributors

  would have helped DEA combat diversion. 440 Distributors did not contribute to diversion by not

  submitting more suspicious order reports, particularly when orders were being blocked. 441

  Reporting suspicious orders to DEA was unlikely to prevent diversion during the height of the

  crisis, and failing to report suspicious orders to DEA likely does not contribute to diversion. 442

  That is because the simple fact that an order meets the regulatory definition of a suspicious order

  does not mean that order will be diverted. 443 DEA largely failed to review and use the suspicious




  440
      Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. You’d agree that not reporting the suspicious
  order is not what causes diversion? A. That’s correct.”); Boggs Tr. (Jan. 17, 2019) at 315:8-15
  (“Q. [I]n five years, none of these omits were reported to the DEA, correct? A. You asked me
  if we were maintaining effective controls by this document that you -- you created, and I’m
  saying that if there were 481 stops, that’s exactly maintaining effective controls against
  diversion. They didn’t ship them.”).
  441
      Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. You’d agree that not reporting the suspicious
  order is not what causes diversion? A. That’s correct.”); Boggs Tr. (Jan. 17, 2019) at 315:8-15
  (“Q. [I]n five years, none of these omits were reported to the DEA, correct? A. You asked me
  if we were maintaining effective controls by this document that you -- you created, and I’m
  saying that if there were 481 stops, that’s exactly maintaining effective controls against
  diversion. They didn’t ship them.”).
  442
     Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. … You’d agree that not reporting the
  suspicious order to DEA is not what causes diversion? A. That’s correct.”); Boggs Tr. (Jan. 17,
  2019) at 315:8-15 (“Q. [I]n five years, none of these omits were reported to the DEA, correct?
  A. You asked me if we were maintaining effective controls by this document that you -- you
  created, and I’m saying that if there were 481 stops, that’s exactly maintaining effective controls
  against diversion. They didn’t ship them.”).
  443
     Boggs Tr. (Jan. 17, 2019) at 97:14-98:2 (“Q. [S]uspicious orders can lead you to a suspicious
  customer, true? … A. Without learning more about the customer, no. … There is an assumption
  that a suspicious order equals a suspicious customer, and that is very misplaced from my
  experience.”); Ashley Tr. (Mar. 15, 2019) at 147:8-11 (“Q. Based on your experience, would
  you agree that there might be situations where an order is of an unusual size, but the order is not
  suspicious? A. Yes.”).


                                                   104
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 110 of 141. PageID #: 166016




  order reports in a manner that would identify potential diversion. 444 DEA did not typically rely

  on suspicious order reports from distributors to identify and investigate potential diversion. 445

  Finally, DEA had access to complete report information through its ARCOS database.

         C.      ARCOS Provided DEA Extensive Information

                 1.      Background on ARCOS

         206.    The Automation of Reports and Consolidated Order System, which is commonly

  known as “ARCOS,” is an “automated, comprehensive drug reporting system.” 446

  Manufacturers and distributors are required by the CSA to report their controlled substances

  transactions to DEA. 447 Manufacturers and distributors are required to report all transactions

  involving Schedule I and Schedule II substances and transactions involving certain Schedule III



  444
     Wright Tr. (Feb. 28, 2019) at 84:9-21 (“Q. And I believe you testified before, in your
  personal experience reviewing these Excessive Sales Reports, that half to three-quarters of them
  sometimes went into the trash can; is that right? A. Yes.”); Wright Tr. (US v. $463,497.72) at
  47:8-49:5 (“Q. It won’t just be filed away in a drawer? A. That was the problem with the
  Excessive Purchase System. It was under the Suspicious Order System. Q. Whose fault was
  that? Is that the distributor’s fault or the DEA’s fault? A. That would have been the DEA’s
  fault. Well, no. Let me -- let me reel some of that back in. … I would look through -- again, I
  had a ton of paper, and I would say half to three-quarters of that went in the trash can. It was
  meaningless. … Q. You’re not suggesting that H.D. Smith was dumping paper on the DEA? A.
  No, sir. No, sir. No, sir. Not at all. Q. Okay. A. I would just get a volume of paper.”).
  445
     Wright Tr. (Feb. 28, 2019) at 84:9-21 (“Q. And I believe you testified before, in your
  personal experience reviewing these Excessive Sales Reports, that half to three-quarters of them
  sometimes went into the trash can; is that right? A. Yes.”); Wright Tr. (US v. $463,497.72) at
  47:8-49:5 (“Q. It won’t just be filed away in a drawer? A. That was the problem with the
  Excessive Purchase System. It was under the Suspicious Order System. Q. Whose fault was
  that? Is that the distributor’s fault or the DEA’s fault? A. That would have been the DEA’s
  fault. Well, no. Let me -- let me reel some of that back in. … I would look through -- again, I
  had a ton of paper, and I would say half to three-quarters of that went in the trash can. It was
  meaningless. … Q. You’re not suggesting that H.D. Smith was dumping paper on the DEA? A.
  No, sir. No, sir. No, sir. Not at all. Q. Okay. A. I would just get a volume of paper.”).
  446
     DEA Website, Automation of Reports and Consolidated Orders System (ARCOS), available
  at https://www.deadiversion.usdoj.gov/arcos/index.html.
  447
     DEA Website, Automation of Reports and Consolidated Orders System (ARCOS), available
  at https://www.deadiversion.usdoj.gov/arcos/index.html.


                                                  105
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 111 of 141. PageID #: 166017




  narcotics and select Schedule IV substances. 448 Through ARCOS, DEA monitors the flow of

  opioids as they travel from the manufacturer to the distributor to hospitals, retail pharmacies,

  practitioners, mid-level practitioners, and teaching institutions. 449

                   2.      ARCOS Provides DEA with Comprehensive Reports

            207.   ARCOS is a robust system that provides DEA with large amounts of

  information. 450 Using ARCOS, DEA knows how many dosage units that a manufacturer sells. 451

  DEA also knows through ARCOS how many dosage units that a distributor has distributed to a

  registrant, such as hospitals and pharmacies. 452 DEA can also generate reports that show

  controlled substance distribution in grams and dosage units. 453

            208.   DEA is able to run a wide-range of reports using the ARCOS data submitted by

  manufacturers and distributors. Using ARCOS data submitted by manufacturers and

  distributors, DEA could create reports comparing the distribution of controlled substances of a

  particular state to the national average. 454 DEA could also run reports using ARCOS that show:




  448
     DEA Website, Automation of Reports and Consolidated Orders System (ARCOS), available
  at https://www.deadiversion.usdoj.gov/arcos/index.html.
  449
     DEA Website, Automation of Reports and Consolidated Orders System (ARCOS), available
  at https://www.deadiversion.usdoj.gov/arcos/index.html.
  450
        Wright Tr. (Mar. 4, 2019) at 538:3-10; Rannazzisi Tr. (Apr. 26, 2019) at 23:22-24:15.
  451
    Wright Tr. (Mar. 4, 2019) at 538:12-14 (“Q. ARCOS tells you how many pills a
  manufacturer makes, right? A. How many they sell, yes.”).
  452
     Wright Tr. (Mar. 4, 2019) at 538:16-19 (“Q. … ARCOS tells you how many pills have been
  distributed by a distributor to a pharmacy, doesn’t it? A. Correct.”.
  453
     Wright Tr. (Mar. 4, 2019) at 539:5-8 (“Q. And using ARCOS, DEA can generate statistical
  reports showing drug distribution in grams and dosage units. A. Correct.”).
  454
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 14, 17, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf.


                                                    106
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 112 of 141. PageID #: 166018




                 x      States having an above average distribution of controlled substances
                        compared to other states and the national average; 455

                 x      Counties having an above average distribution of controlled substances
                        compared to other counties in the state and the national average; 456

                 x      The number of dosage units purchased by a pharmacy in a particular state.
                        DEA could then compare the number of dosage units purchased by that
                        pharmacy to the average pharmacy purchases in that state and the national
                        average; 457

                 x      The number of dosage units supplied by each distributor to a pharmacy; 458
                        and

                 x      The top doctors purchasing a particular controlled substance
                        nationwide. 459

         209.    With ARCOS data at its fingertips, DEA had the tools it needed to identify and

  investigate suspicious pharmacies. Through ARCOS, DEA also had the tools to monitor




  455
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 19, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf.
  456
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 21, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf.
  457
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 24, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf; Wright Tr. (Mar. 4,
  2019) at 542:19-24 (“Q. And ARCOS reports can be generated to show the number of dosage
  units dispensed by a single pharmacy and compared that -- compare that to average pharmacy
  purchases in the state and across the United States; isn't that true? A. Yes, it can.”).
  458
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 26, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf; Wright Tr. (Mar. 4,
  2019) at 542:25-543:6 (“Q. And ARCOS reports can be generated to show the number of
  dosage units supplied by each distributor to a single pharmacy; isn’t that true? … A. Yes, sir.”).
  459
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation, at 25, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf.


                                                 107
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 113 of 141. PageID #: 166019




  excessive distribution of opioids to a particular town, county, or state. DEA has been able to run

  these types of reports using ARCOS data since at least 2005. 460

                    3.     DEA Failed to Use ARCOS Until 2005

            210.    DEA, however, did not use ARCOS data until 2005 to identify potentially

  suspicious pharmacies. Former DEA employee Kyle Wright testified that he did not start

  analyzing ARCOS data until 2005. 461 DEA relied on ARCOS data to identify certain potentially

  suspicious pharmacies during the Distributor Initiative. 462 DEA did not need suspicious order

  reports from distributors to identify potentially suspicious pharmacies during the Distributor

  Initiative. 463

                    4.     Distributors Did Not Have Access to ARCOS Data and Now Only
                           Have Limited Access

            211.    Distributors did not have access to the extensive reports available using ARCOS

  data. 464 Distributors only had access to their own data. Distributors did not have access to the

  ARCOS data of other distributors or the ARCOS data submitted by manufacturers. 465 A


  460
        Wright Tr. (Feb. 28, 2019) at 249:3-13.
  461
     Wright Tr. (Mar. 4, 2019) at 536:1-9 (Q. You … first started to analyze ARCOS data
  beginning around 2005; isn’t that correct? … A. Yes, sir. Q. And that -- that’s when you began
  working on the distributor initiative? A. Yes, sir.”).
  462
     Wright Tr. (Mar. 4, 2019) at 543:23-544:6 (“Q. [W]hen you were preparing for the
  distributor briefings … you were using these ARCOS reporting tools to identify pharmacies
  having extraordinarily large prescriptions in narcotics, and you present that data to the
  distributors, correct? A. Yes, sir.”).
  463
     Wright Tr. (Mar. 4, 2019) at 544:7-11 (“Q. You didn’t -- you didn’t need distributors’
  suspicious order reports to do that analysis [of pharmacies with extraordinarily large
  prescriptions in narcotics], did you? … A. No, sir.”.
  464
        Wright Tr. (Mar. 4, 2019) at 554:11-25; Rannazzisi Tr. (Apr. 26, 2019) at 25:6-20.
  465
      Wright Tr. (Mar. 4, 2019) at 554:11-25 (“Q. But DEA, up until 2018, did not permit other
  distributors to see the ARCOS data so that they could determine how much of a single -- of -- of
  a -- of a controlled substance was being shipped into a pharmacy by another distributor; isn’t that
  correct? … A. Yes, sir.”); Rannazzisi Tr. (Apr. 26, 2019) at 25:6-20 (“Q. Registrants did not
  have access to ARCOS data during you -- the time you led the Office of Diversion Control,

                                                   108
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 114 of 141. PageID #: 166020




  distributor could only rely on its own data, and a distributor did not have visibility into whether

  other distributors were supplying a particular pharmacy with controlled substances. 466 DEA

  understood that distributors attempting to identify potential diversion would benefit from access

  to information other than only the distributor’s own sales data and customer observations. 467

  DEA also understood that access to ARCOS data would have helped distributors identify

  potential diversion. 468

          212.    It was not until February 2018, however, that DEA agreed to share limited

  ARCOS data with registrants. 469 Prior to 2018, registrants had requested access from DEA to

  ARCOS data to help identify potential diversion, but DEA declined to provide access to greater

  information. 470 It was only in 2018 that DEA announced that it would permit limited access to




  correct? A. They had access to their own data that they submitted to ARCOS. But no, not
  other.”).
  466
      Wright Tr. (Mar. 4, 2019) at 554:11-25 (“Q. But DEA, up until 2018, did not permit other
  distributors to see the ARCOS data so that they could determine how much of a single -- of -- of
  a -- of a controlled substance was being shipped into a pharmacy by another distributor; isn’t that
  correct? … A. Yes, sir.”); Rannazzisi Tr. (Apr. 26, 2019) at 25:6-20 (“Q. Registrants did not
  have access to ARCOS data during you -- the time you led the Office of Diversion Control,
  correct? A. They had access to their own data that they submitted to ARCOS. But no, not
  other.”).
  467
     June Howard (“Howard”) Tr. (Apr. 25, 2019) at 29:23-30 (“Q. DEA understood that
  distributors trying to identify potential diversion would benefit from access to more information
  than just their own sales data and customer observations, right? …. A. Yes.”).
  468
     Howard Tr. (Apr. 25, 2019) at 44:23-45:4 (“Q. Would you agree that ARCOS data would
  have been helpful to distributors to identify potential diversion? … A. Yes.”).
  469
     DEA Press Release, “DEA Creates New Resource to Help Distributors Avoid Oversupplying
  Opioids,” (Feb. 14, 2018), available at https://www.dea.gov/press-releases/2018/02/14/dea-
  creates-new-resource-help-distributors-avoid-oversupplying-opioids.
  470
      Rannazzisi Tr. (Apr. 26, 2019) at 26:3-13 (“Q. Registrants requested ARCOS data from DEA
  at various times, but DEA declined to share it, correct? … A. Just answering the question in
  order -- Q. Yes. A. -- registrants have requested access to ARCOS -- for that data. And they
  have been declined, yes.”).


                                                  109
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 115 of 141. PageID #: 166021




  ARCOS data as part of its efforts to work more collaboratively with distributors and

  manufacturers. 471

         213.    Starting in February 2018, DEA allowed manufacturers and distributors to view

  the number of suppliers who sold a particular controlled substance to a customer within the

  previous six months.472 DEA announced in 2019 that it would allow further access to

  registrants. 473 DEA described the new access granted to registrants as a tool to “more effectively

  identify potential illicit drug diversion and combat the opioid epidemic.” 474 Manufacturers and

  distributors can now “view and download the number of distributors and the amount

  (anonymized data in both grams and dosage units)” that each unnamed supplier “sold to a

  prospective customer” in the last six months. 475




  471
     DEA Press Release, “DEA Creates New Resource to Help Distributors Avoid Oversupplying
  Opioids,” (Feb. 14, 2018), available at https://www.dea.gov/press-releases/2018/02/14/dea-
  creates-new-resource-help-distributors-avoid-oversupplying-opioids.
  472
     DEA Press Release, “DEA Creates New Resource to Help Distributors Avoid Oversupplying
  Opioids,” (Feb. 14, 2018), available at https://www.dea.gov/press-releases/2018/02/14/dea-
  creates-new-resource-help-distributors-avoid-oversupplying-opioids.
  473
     DEA Press Release, “DEA Announces Enhanced Tool for Registered Drug Manufacturers
  and Distributors to Combat Opioid Crisis,” (Feb. 26, 2019), available at
  https://www.dea.gov/press-releases/2019/02/26/dea-announces-enhanced-tool-registered-drug-
  manufacturers-and.
  474
     DEA Press Release, “DEA Announces Enhanced Tool for Registered Drug Manufacturers
  and Distributors to Combat Opioid Crisis,” (Feb. 26, 2019), available at
  https://www.dea.gov/press-releases/2019/02/26/dea-announces-enhanced-tool-registered-drug-
  manufacturers-and.
  475
     DEA Press Release, “DEA Announces Enhanced Tool for Registered Drug Manufacturers
  and Distributors to Combat Opioid Crisis,” (Feb. 26, 2019), available at
  https://www.dea.gov/press-releases/2019/02/26/dea-announces-enhanced-tool-registered-drug-
  manufacturers-and.


                                                  110
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 116 of 141. PageID #: 166022




  XIII. Distributors Do Not Possess DEA’s Law Enforcement Powers

         A.      Distributors Have Limited Information

         214.    Distributors only have access to limited amounts of information to determine if an

  order is suspicious or if a customer is potentially diverting controlled substances. 476 DEA, for

  example, has a policy that prohibits DEA investigators from informing a distributor if DEA was

  investigating a pharmacy customer of that distributor. 477 DEA would not inform a distributor

  that it was investigating a pharmacy customer even if DEA suspected the pharmacy of ongoing

  criminal conduct. 478 DEA also has access to ARCOS data that provides DEA with large

  amounts of information about controlled substance transactions as I describe above. DEA has

  acknowledged that access to ARCOS data would have been a helpful tool for distributors. 479

         215.    Distributors also have limited access to information about whether other

  distributors cut off a pharmacy customer. 480 DEA stopped sending notices to distributors that




  476
     Howard Tr. at 29:23-30:6 (“Q. DEA understood that distributors trying to identify potential
  diversion would benefit from access to more information than just their own sales data and
  customer observations, right? … A. Yes.”).
  477
     Rafalski Trial Tr. (US v. $463,497.72) at 506:6-15 (“A. Well, the DEA has a policy that
  prohibits DEA investigators from calling and telling people, distributors or any person handling
  controlled substances, whether or not to distribute a drug or not to distribute. The same premise
  would be with the pharmacy. We would never tell a pharmacist not to fill a prescription or to fill
  a prescription, and that’s DEA policy. Q. Even if you’re aware of ongoing criminal conduct
  involving that pharmacy? A. Yes.”).
  478
     Rafalski Trial Tr. (US v. $463,497.72) at 506:10-15 (“…A. We would never tell a pharmacist
  not to fill a prescription or to fill a prescription, and that’s DEA policy. Q. Even if you’re aware
  of ongoing criminal conduct involving that pharmacy? A. Yes.”).
  479
     Howard Tr. at 44:23-45:4 (“Q. Would you agree that ARCOS data would have been helpful
  to distributors to identify potential diversion? … A. Yes.”).
  480
     Howard Tr. at 29:23-30:6 (“Q. DEA understood that distributors trying to identify potential
  diversion would benefit from access to more information than just their own sales data and
  customer observations, right? … A. Yes.”).


                                                  111
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 117 of 141. PageID #: 166023




  another distributor terminated a particular pharmacy customer in 2007. 481 After 2007, DEA

  would not inform a distributor if another distributor terminated a pharmacy as a customer. DEA

  stopped informing distributors of a pharmacy’s termination “because diversion investigators in

  the field expressed concern about the notification.” 482 The notices were stopped by DEA

  because diversion investigators had concerns that the individuals on the notices that DEA sent to

  distributors “were legitimate pharmacies or doctors and needed their product for legitimate

  medical purposes.” 483 DEA had concerns that the pharmacies cut off by distributors “had

  legitimate purposes for ordering product and they should not be blacklisted.” 484 DEA also

  stopped notifying distributors of the terminations because of “the threat of potential

  litigation.” 485 Therefore, it was DEA’s policy not to tell a distributor that the distributor should


  481
     Howard Tr. at 45:9-13 (“Q. And do you know when the DEA stopped sending termination
  notices to distributors? A. Based on the DEA records that I reviewed, it appears that it ceased in
  December 2007.”).
  482
     Howard Tr. at 47:2-13 (“Q. Why did DEA stop sending the termination notices to
  distributors? A. Based on my review of the DEA records, it appears the notification process
  ceased because diversion investigators in the field expressed concern about the notification ….”).
  483
     Howard Tr. at 47:2-18 (“… A. Based on my review of the DEA records, it appears the
  notification process ceased because diversion investigators in the field expressed concern about
  the notification, and individuals on the listing were legitimate pharmacies or doctors and needed
  their product for legitimate medical purposes. …”).
  484
     Howard Tr. at 47:2-18 (“Q. Why did DEA stop sending the termination notices to
  distributors? A. Based on my review of the DEA records, it appears the notification process
  ceased because diversion investigators in the field expressed concern about the notification, and
  individuals on the listing were legitimate pharmacies or doctors and needed their product for
  legitimate medical purposes. Also, the threat of potential litigation. Q. And what were the
  concerns of the diversion investigators? A. That registrants that were identified had legitimate
  purposes for ordering product and they should not be blacklisted.”).
  485
     Howard Tr. at 31:3-10 (“Q. You would agree that the more information the distributor has on
  the pharmacy, the more helpful that would be to prevent diversion, correct. … A. Yes.”);
  Howard Tr. at 47:2-18 (“Q. Why did DEA stop sending the termination notices to distributors?
  A. Based on my review of the DEA records, it appears the notification process ceased because
  diversion investigators in the field expressed concern about the notification, and individuals on
  the listing were legitimate pharmacies or doctors and needed their product for legitimate medical
  purposes. Also, the threat of potential litigation.”).


                                                   112
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 118 of 141. PageID #: 166024




  not make sales to a particular pharmacy customer even though DEA recognized that distributors

  would benefit from having access to greater information. 486

            216.   It is also important to remember that distributors do not have access to

  information about the relationship between a particular prescriber and his or her patients.

  Distributors, for example, do not have access to a patient’s medical records. 487 DEA, however,

  can obtain a patient’s medical records through subpoena, which the distributor cannot. 488

            217.   Distributors lack many of sources of information that DEA uses to determine if a

  pharmacy or prescriber is engaged in diversion. Information on sales transactions involving

  controlled substances is often not enough information to determine if a doctor or pharmacy is

  engaged in a criminal diversion scheme. 489

            B.     Distributors Do Not Possess Law Enforcement Powers

            218.   Distributors lack the law enforcement powers held by DEA. Distributors cannot

  serve search warrants on a pharmacy, but DEA possesses the power to serve search warrants on


  486
     Rannazzisi Tr. (Apr. 26, 2019) at 44:1-10; Howard Tr. at 29:23-30:6 (“Q. DEA understood
  that distributors trying to identify potential diversion would benefit from access to more
  information than just their own sales data and customer observations, right? … A. Yes.”);
  Howard Tr. at 31:3-10 (“Q. You would agree that the more information the distributor has on
  the pharmacy, the more helpful that would be to prevent diversion, correct. … A. Yes.”);
  Howard 44:23-45:8 (“Q. Would you agree that ARCOS data would have been helpful to
  distributors to identify potential diversion? … A. Yes. Q. Now, DEA stopped sending
  termination notices to distributors, correct? A. Correct.”).
  487
     Rafalski Trial Tr. (US v. $463,497.72) at 508:5-9 (“Q. There were also some medical records
  you reviewed, correct? A. Yes, sir. Q. And those aren’t available to H.D. Smith? A. That’s
  correct.”); Boggs Tr. (Jan. 17, 2019) at 360:9-15 (“Q. Why not? A. We don’t see the
  prescription. We’re prohibited by law under HIPAA from knowing anything about the patient or
  any consultation between the patient and the doctor, and we don’t have access to prescription --
  the prescription itself.”).
  488
        Rafalski Trial Tr. (US v. $463,497.72) at 508:5-9.
  489
     Rafalski Trial Tr. (US v. $463,497.72) at 511:2-14; Howard Tr. at 29:23-30:6 (“Q. DEA
  understood that distributors trying to identify potential diversion would benefit from access to
  more information than just their own sales data and customer observations, right? … A. Yes.”).


                                                   113
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 119 of 141. PageID #: 166025




  pharmacies that are suspected of diversion. 490 DEA also does not share information that it learns

  from a search warrant with distributors. 491

         219.    Another law enforcement power possessed by DEA is its ability to force a

  pharmacy to provide DEA with surveillance tapes. 492 A distributor is unable to require a

  pharmacy to turn over surveillance tapes.



         C.      Distributors Cannot Police the Closed System of Distribution

         220.    DEA is required by the CSA to oversee the closed loop system of distribution,

  and DEA is granted the authority to police the closed loop system of distribution. Distributors

  lack the information and law enforcement powers needed to police the closed loop system of

  distribution. The CSA provides DEA with seven mechanisms to police the closed loop system of

  distribution according to Mr. Rannazzisi’s testimony to Congress. 493 The seven powers granted




  490
     Rafalski Trial Tr. (US v. $463,497.72) at 504:24-505:3 (“Q. One of the ways you used [to
  find out about criminal activity] was, you served search warrants? A. Yes, sir. Q. And those
  were pretty extensive, correct? A. Yes, sir.”).
  491
     Rafalski Trial Tr. (US v. $463,497.72) at 505:25-506:2 (“Q. And you never provided the
  results of those [warrants] to H.D. Smith? A. That’s correct.”).
  492
     Rafalski Trial Tr. (US v. $464,497.72) at 506:16-22 (“Q. You obtained surveillance tapes
  from Safescript? A. Yeah, but I would characterize those more as security tapes, if you are
  referring to the ones that were seized from the interior as part of Safescript’s security program.
  Q. And you never provided the results of -- the review of those tapes to H.D. Smith, did you?
  A. No, sir.”).
  493
     Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
  done to address this new drug epidemic? (July 26, 2006), at 68, available at
  https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.


                                                  114
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 120 of 141. PageID #: 166026




  to DEA are scheduling, registration, quotas, records and reports, import and export

  authorizations, security and investigational authority. 494 Mr. Rannazzisi explained that:

                   These mechanisms allow DEA to monitor and regulate a controlled
                   substance and its movement: in the case of the most potentially
                   dangerous drugs, in Schedule II, we register all persons who
                   handle them; we inspect the documentation of their distribution;
                   we control their import and export; and we control the amount
                   produced, bought, sold, and otherwise transferred. 495

            221.   Manufacturers, distributors, pharmacies, and doctors are required to register with

  DEA in order to handle controlled substances. 496 Those entities and prescribers are unable to

  lawfully handle or prescribe opioids without being registered with DEA. 497 DEA holds the

  authority to suspend or revoke a registrant’s controlled substance registration. 498 If DEA revokes

  or suspends a registrant’s registration, the registrant is unable to conduct transactions involving

  controlled substances. 499

            222.   In contrast, if a distributor terminates a pharmacy as a customer, that pharmacy

  can still purchase controlled substances from other distributors, and DEA does not inform




  494
     Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
  done to address this new drug epidemic? (July 26, 2006), at 68, available at
  https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
  495
     Statement of Joseph Rannazzisi, House Hearing on Prescription Drug Abuse: What is being
  done to address this new drug epidemic? (July 26, 2006), at 68, available at
  https://www.govinfo.gov/content/pkg/CHRG-109hhrg35338/pdf/CHRG-109hhrg35338.pdf.
  496
     Rannazzisi Tr. (Apr. 26, 2019) at 21:15-22:10 (describing that manufacturers, distributors,
  pharmacies, and doctors must all be registered in order to lawfully handle opioids).
  497
     Rannazzisi Tr. (Apr. 26, 2019) at 21:15-22:10 (describing that manufacturers, distributors,
  pharmacies, and doctors must all be registered in order to lawfully handle opioids).
  498
     Rannazzisi Tr. (Apr. 26, 2019) at 22:11-14 (“Q. Now, DEA can, when it determines it is
  legally appropriate, suspend or revoke a DEA registration. A. Yes.”).
  499
        Rannazzisi Tr. (Apr. 26, 2019) at 22:11-24.


                                                      115
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 121 of 141. PageID #: 166027




  distributors if a pharmacy is cut off by another distributor. 500 The only way to ensure that a

  suspicious pharmacy or prescriber is not able to handle controlled substances is for DEA to

  revoke or suspend the registration of that pharmacy or prescriber. It is DEA’s responsibility to

  ensure that registrants comply with the CSA and its regulations. 501

            223.   Distributors do not control the amount of opioids that enter the closed loop system

  of distribution. It is DEA that sets the quotas that limit the amount of opioids that enter into the

  closed loop system. 502 The quota set by DEA reflects the estimated legitimate medical,

  scientific, research, and industrial needs of the US. 503 DEA continually raised opioid quotas

  between 2000 and 2015. 504 By increasing opioid quotas which are required by regulation to

  reflect legitimate medical need, DEA told registrants that greater amounts of opioids should be

  available to treat patients’ legitimate medical needs.

            224.   DEA also told registrants through other channels that the increasing amounts of

  opioids were for legitimate medical purposes. DEA stated publicly that “the overwhelming

  majority of American physicians who prescribe controlled substances do so for legitimate




  500
     Howard Tr. at 45:9-13 (“Q. And do you know when the DEA stopped sending termination
  notices to distributors? A. Based on the DEA records that I reviewed, it appears that it ceased in
  December 2007.”).
  501
     Rannazzisi Tr. (Apr. 26, 2019) at 23:3-13 (“A. It’s DEA’s responsibility to ensure that the
  registrant population is complying with the code of federal regulations 21 C.F.R. and also 21
  USC, United States code.”).
  502
     Rannazzisi Tr. (Apr. 26, 2019) at 30:12-22 (“Q. DEA established quotas for controlled
  substances for each year, didn’t they. A. Yes, sir. Q. Quotas are set based on the estimated
  medical scientific research and industrial needs of the United States? A. Yes, sir. Q. Your
  office, the Office of Diversion Control, was responsible for setting quotas? A. Yes, sir.”).
  503
        Rannazzisi Tr. (Apr. 26, 2019) at 30:12-19.
  504
     Rannazzisi Tr. (Apr. 26, 2019) at 31:8-10 (“Q. And quota levels for opioids constantly
  increased under your watch, correct? A. Yes, sir.”).


                                                      116
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 122 of 141. PageID #: 166028




  medical purposes.” 505 DEA also said “the agency recognizes that nearly every prescription

  issued by a physician in the United States is for a legitimate medical purpose in the usual course

  of professional practice.” 506 In the same statement, DEA also said “[i]t would be a disservice to

  many patients if exaggerated statements regarding the likelihood of a DEA investigation resulted

  in physicians mistakenly concluding that they must scale back their patients’ use of controlled

  substances to levels below that which is medically appropriate.” 507

         225.    DEA also announced in a joint statement with twenty-one health groups that

  “[u]ndertreatment of pain is a serious problem in the United States, including pain among

  patients with chronic conditions and those who are critically ill or near death.” 508 DEA said

  “[e]ffective pain management is an integral and important aspect of quality medical care, and

  pain should be treated aggressively.” 509 DEA then stated “[f]or many patients, opioid

  analgesics—when used as recommended by established pain management guidelines—are the




  505
     Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,719
  (Sept. 6, 2006), available at https://www.govinfo.gov/content/pkg/FR-2006-09-06/pdf/E6-
  14517.pdf.
  506
     Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,720
  (Sept. 6, 2006), available at https://www.govinfo.gov/content/pkg/FR-2006-09-06/pdf/E6-
  14517.pdf.
  507
     Dispensing Controlled Substances for the Treatment of Pain, 71 Fed. Reg. 52,716, 52,720
  (Sept. 6, 2006), available at https://www.govinfo.gov/content/pkg/FR-2006-09-06/pdf/E6-
  14517.pdf.
  508
     Joint Statement from 21 Health Organizations and the Drug Enforcement Administration,
  “Promoting Pain Relief and Preventing Abuse of Pain Medications: A Critical Balancing Act
  (Oct. 23, 2001), available at https://www.deadiversion.usdoj.gov/pubs/advisories/painrelief.pdf.
  509
     Joint Statement from 21 Health Organizations and the Drug Enforcement Administration,
  “Promoting Pain Relief and Preventing Abuse of Pain Medications: A Critical Balancing Act
  (Oct. 23, 2001), available at https://www.deadiversion.usdoj.gov/pubs/advisories/painrelief.pdf.


                                                 117
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 123 of 141. PageID #: 166029




  most effective way to treat their pain, and often the only treatment option that provides

  significant relief.” 510

            226.   As discussed above, distributors do not have the ability to determine the

  legitimacy of a prescription for opioids because distributors do not possess the medical expertise

  and have no access to information about the prescriber-patient relationship. 511

  XIV. Response to the Expert Report of James Rafalski

            227.   I reviewed the expert report of James Rafalski submitted on April 15, 2019, and

  his deposition testimony.

            A.     Mr. Rafalski’s Assumption That McKesson Did Not Conduct Due Diligence
                   Is Incorrect

            228.   Mr. Rafalski’s report assumes that McKesson failed to conduct due diligence on

  potential suspicious orders of controlled substances and, after 2007, that McKesson conducted

  inadequate due diligence of suspicious orders. 512 In his report, Mr. Rafalski asserts that, “[f]rom

  at least 1997 to May 2007, there was no due diligence conducted by McKesson regarding

  potential suspicious orders of controlled substances.” 513 Mr. Rafalski also criticizes McKesson’s

  due diligence efforts after May 2007, stating that “while McKesson has had some sort of due

  diligence program in place since 2007, a review of those programs in practice make[s] clear that

  for all practical purposes, McKesson’s due diligence efforts have fallen short of what is




  510
     Joint Statement from 21 Health Organizations and the Drug Enforcement Administration,
  “Promoting Pain Relief and Preventing Abuse of Pain Medications: A Critical Balancing Act
  (Oct. 23, 2001), available at https://www.deadiversion.usdoj.gov/pubs/advisories/painrelief.pdf.
  511
     Boggs Tr. (Jan. 17, 2019) at 360:5-15 (“Q. So does the -- does McKesson’s compliance
  program target overprescribing, as you’ve just described it? A. It -- it can’t.”).
  512
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 73-74.
  513
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 73.


                                                   118
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 124 of 141. PageID #: 166030




  required.” 514

            229.   Neither of these statements is accurate, and both rest on Mr. Rafalski’s incorrect

  belief that if McKesson cannot produce a document proving diligence, then the diligence never

  happened. 515 Mr. Rafalski applies his mistaken assumption even for events occurring over 20

  years ago. Significantly, the CSA and its regulations do not require McKesson to retain

  diligence records at all. The CSA and its regulations require only that “inventory and other

  records” be maintained for two years. 516 In contrast, Mr. Rafalski contends that any records

  related to suspicious order reports must be maintained “forever” 517 to be in full compliance with

  21 C.F.R. § 1301.74(b).




  514
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 74.
  515
     Rafalski Tr. (May 13, 2019) at 289:10-24 (“Q. In your report, you come to the opinion that if
  a distributor's unable to locate a due diligence file, say, from 2006, that no due diligence was
  done, correct? If you can't put your hands on it today, you make the assumption that nothing was
  done; is that right? A. Yes, sir. Q. Is it possible that due diligence was done back in 2006 or
  even earlier, but those records weren't retained? A. Well, my opinion on that matter is if there
  were no records retained, then there was no due diligence because there's no record of it.”).
  516
     21 U.S.C. § 827(b). The CSA does not contain language requiring the retention of suspicious
  order reports or due diligence files. 21 U.S.C. § 827. The regulations issued under the CSA also
  only require distributors to retain “inventory and other records” for two years. 21 C.F.R. §
  1304.04; Prevoznik Tr. (May 17, 2019) at 1218:17-1219:10 (“Q. The DEA has certainly never
  issued any sort of guidance indicating that registrants must hold on to due diligence files for 15
  years, correct? A. Yes. The only guidance I know is it’s two years, two years for recordkeeping
  for the registrant. … Q. But there’s no requirement that a due diligence file even be maintained,
  correct? A. Correct. Q. So the two-year rule does not apply to any due diligence files, per se,
  correct? A. Correct. I was just pointing out that within the regs, there is records for a two-year
  period.”); Rannazzisi Tr. (May 15, 2019) 555:7-11 (“Q. Is there any requirement in the DEA
  regulations or guidance to maintain due diligence documentation for a certain period of time? A.
  There's no requirements.”). Section 1304.04 does not require distributors to retain suspicious
  order reports or due diligence files for two years. 21 C.F.R. § 1304.04; Prevoznik Tr. (May 17,
  2019) at 1216:8-12.
  517
        Rafalski Tr. (May 13, 2019) at 125:11-129:12.


                                                   119
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 125 of 141. PageID #: 166031




            B.     Mr. Rafalski’s Assumption That Recent Policy Interpretations Were Always
                   in Place Is Incorrect

            230.   Although Mr. Rafalski acknowledges that the industry is changing all the time, 518

  he purports to apply recently announced DEA guidance and standards retrospectively. For

  example, Mr. Rafalski applies the methodologies Plaintiffs derive from Masters

  Pharmaceuticals 519 to distributor shipping data from as early as 1996 – years before the Masters

  decision was issued in 2017. 520

            C.     The Five Methodologies That Found Over       Orders Shipped into
                   Cuyahoga and Summit Counties Are Suspicious Contradicts Reality

            231.   Mr. Rafalski, relying on Dr. McCann’s expert report, identifies five different

  suspicious order methodologies that purport to “identify suspicious orders that should not be

  shipped unless the distributors’ due diligence eliminated the suspicion of diversion.” 521 He then

  concludes that “[e]ach method would have identified a significant volume of orders of

  opiates…” 522 Specifically, Mr. Rafalski’s methodologies identify as suspicious orders up to

           of total dosage units of oxycodone that McKesson distributed to Cuyahoga County

  between 1996 and 2018; up to            of total dosage units of oxycodone that McKesson

  distributed to Summit County from 1996-2018; up                   of total dosage units of hydrocodone

  that McKesson distributed to Cuyahoga County between 1996 and 2018; and up to                  of

  total dosage units of hydrocodone that McKesson distributed to Summit County from 1996-


  518
     Rafalski Tr. (May 13, 2019) at 156:11-21 (“Q. … [T]he customers change, the customers’
  businesses change, the hospitals and the doctors change. All that stuff is constantly changing,
  correct? … A. It’s never a static industry.”).
  519
        Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (2017).
  520
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 41, 46.
  521
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 40-41.
  522
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 41.


                                                   120
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 126 of 141. PageID #: 166032




  2018. 523

            232.   Any contention that over       of the orders a distributor ships into a county are

  suspicious orders is inconsistent with my experience as a diversion investigator. It is also

  contrary to DEA’s own public statements and testimony. 524 These methodologies assume that

  the vast majority of registrants are not acting lawfully. In my experience, the vast majority of

  registrants act lawfully, and my opinion is confirmed by DEA’s public statements and

  testimony. 525

            D.     Any Lack of Suspicious Order Reports Does Not Contribute to Diversion

            233.   I also disagree with Mr. Rafalski’s conclusion that McKesson should have

  submitted more suspicious order reports. For example, Mr. Rafalski states that “[f]or Summit



  523
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 41.
  524
      Prevoznik Tr. (Apr. 17, 2019) at 401:5-17 (“Q. As to prescription opioids, DEA believes the
  overwhelming majority of prescribing in America is conducted responsibly? A. Yes, correct.
  Q. And DEA has stated that 99.5 percent of prescribers do not overprescribe opioids… A. I
  don’t know that we’ve said 99.5 percent. I’ve heard the figure 1 to 2 percent.”); Prevoznik Tr.
  (Apr. 17, 2019) at 403:14-19 (Q. So my question for you, the initial question, was, DEA has
  publicly stated that 99.5 percent of prescribers are not overprescribing, correct? A. Correct.”);
  Testimony of Joseph Rannazzisi, House Hearing on Examining the Growing Problems of
  Prescription Drugs and Heroin Abuse (Apr. 29, 2014) at 76 (“I think that if you are talking about
  99.5 percent of the prescribers, no, they are not overprescribing, but our focus is in rogue pain
  clinics and rogue doctors who are overprescribing.”), available at
  https://www.govinfo.gov/content/pkg/CHRG-113hhrg90923/pdf/CHRG-113hhrg90923.pdf;
  Testimony of Robert Patterson (Acting Administrator, DEA), House Hearing on Challenges and
  Solutions in the Opioid Crisis (May 8, 2018), at 32 (“But I go back to the fact that I look at the
  vast majority of doctors: 99.99 percent are all trying to do right by their patients.”), available at
  https://www.govinfo.gov/content/pkg/CHRG-115hhrg32941/pdf/CHRG-115hhrg32941.pdf.

  525
      Ashley Tr. at 329:14-22 (“Q. In you, frankly, remarkable career of rising from a secretary all
  the way up to an executive at DEA, isn’t it the case, Ms. Ashley, that the vast majority of
  registrants with whom you dealt were trying to comply with the CSA and implementing regs?...
  A. I agree with that, yes.”); September 27, 2006 Dear Registrant Letter (MCKMDL00478906 at
  -8907 (“DEA recognizes that the overwhelming majority of registered distributors act lawfully
  and take appropriate measures to prevent diversion.”).


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 127 of 141. PageID #: 166033




  and Cuyahoga Counties, McKesson failed to report a single suspicious order from May 2008 to

  July 31, 2013.” 526 But Mr. Rafalski fails to acknowledge that McKesson submitted ARCOS data

  to DEA during the period. As I discussed above, ARCOS data provides DEA with extensive

  information about distributors’ transactions involving controlled substances. DEA could run

  many different types of reports using ARCOS data, including the number of dosage units

  purchased by a pharmacy and the number of dosage units supplied by each distributor to a

  pharmacy. 527

            234.   Mr. Rafalski and I can agree, however, that not providing suspicious order reports

  likely does not cause diversion of controlled substances. 528 Instead, according to Mr. Rafalski,

  blocking a suspicious order is what prevents diversion. 529 As I discussed above, McKesson has

  automatically blocked all orders above the threshold set under the CSMP since April 2008. 530




  526
        Expert Report of James E. Rafalski (Apr. 15, 2019) at 79.
  527
     Kyle Wright, “ARCOS, Automation of Reports and Consolidated Orders System,”
  Presentation at 24, 26, available at
  https://www.deadiversion.usdoj.gov/mtgs/drug_chemical/2011/wright.pdf; Wright Tr. (Mar. 4,
  2019) at 542:19-543:11 (“Q. And ARCOS reports can be generated to show the number of
  dosage units supplied by each distributor to a single pharmacy; isn’t that true? … A. Yes, sir. Q.
  Now, [DEA has] been able to generate these types of reports using ARCOS since at least 2005,
  correct? A. Yes, sir.”).
  528
     Rafalski Tr. (May 13, 2019) at 371:20-23 (“Q. You’d agree that not reporting the suspicious
  order to DEA is not what causes diversion? A. That’s correct.”).
  529
     Rafalski Tr. (May 13, 2019) at 370:25-371:2 (“Q. Blocking the order of the opioid pills
  before shipment is what prevents diversion from occurring, correct? A. Yes, sir.”); Rafalski Tr.
  (May 13, 2019) at 371:20-23 (“Q. You’d agree that not reporting the suspicious order is not
  what causes diversion? A. That’s correct.”).
  530
    McKesson Controlled Substance Monitoring Program, 2008 (MCKMDL00409301 at -9306);
  Walker Tr. at 381:8-21.


                                                   122
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 128 of 141. PageID #: 166034




  XV.       Response to the Expert Reports of Seth Whitelaw

            235.   I reviewed the expert report of Seth Whitelaw submitted on April 15, 2019, and

  his deposition testimony.

            A.     DEA Does Not Use or Rely on the Federal Sentencing Guidelines When
                   Evaluating Suspicious Order Monitoring Programs

            I understand that Mr. Whitelaw relies on the Federal Sentencing Guidelines for

  Organizations to evaluate the compliance programs of DEA registrants for suspicious order

  monitoring. 531 Federal Sentencing Guidelines are used by courts after verdict in a federal

  criminal case. 532 Compliance professionals with DEA experience understand that the Federal

  Sentencing Guidelines are not used to evaluate suspicious order monitoring programs under the

  CSA. The Federal Sentencing Guidelines are not used by DEA Diversion Investigators when

  they evaluate suspicious order monitoring programs of registrants. 533 In addition, DEA

  Diversion Investigators are not trained to rely on the Federal Sentencing Guidelines when

  evaluating registrants’ suspicious order monitoring programs. 534




  531
        Expert Report of Seth Whitelaw (Apr. 15, 2019) at 7.
  532
    Prevoznik Tr. (May 17, 2019) at 1201:20-25 (“Q. Are you aware that the Federal Sentencing
  Guidelines are used by courts in sentencing after a verdict in a criminal case?...A. Yes.”).
  533
    Prevoznik Tr. (May 17, 2019) at 1202:2-11 (“Q. The DEA doesn’t use the Federal Sentencing
  Guidelines to evaluate registrants’ suspicious order monitoring programs, correct?...A. Yes.
  Correct. Q. Correct that they do not? A. Do not.”).
  534
     Prevoznik Tr. (May 17, 2019) at 1202:13-20 (“Q. Now, when you were training diversion
  investigators, did you ever instruct diversion investigators to rely on the Federal Sentencing
  Guidelines to evaluate registrants’ suspicious order monitoring programs?...A. No.”).

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 129 of 141. PageID #: 166035
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 130 of 141. PageID #: 166036




                               APPENDIX A
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 131 of 141. PageID #: 166037




                                     CARLOS M. AQUINO
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                                        Fax: 484-480-8985
                             Office Email: carlos@pharmadiversion.com
                                Website: www.pharmadiversion.com

                                       WORK EXPERIENCE

  January 2009 to Present
  PharmaDiversion LLC
  1167 West Baltimore Pike, Suite 231
  Media, PA 19063                                       Title: Compliance Consultant/Founder

     x   PharmaDiversion, LLC is a compliance consulting firm specializing in federal laws and
         regulations relating to the manufacturing and distribution of pharmaceutical Schedules II
         through V controlled substances and regulated chemical products that are enforced by the
         Drug Enforcement Administration (DEA) Office of Diversion Control (Diversion). Clients
         include: manufacturers, distributors, importers, exporters, hospitals/clinics, analytical labs,
         researchers, pharmacies and practitioners.

     x   Perform “DEA MOCK INSPECTION” as authentic as one done by DEA to evaluate that
         DEA registrants are in full compliance with DEA record-keeping requirements, that
         security requirements meets DEA requirements for the storing of controlled substances and
         that the registrant is in compliance with DEA Due Diligence policies to prevent diversion
         to the illicit market.

     x   Assist corporate legal counsel on DEA civil and administrative actions pertaining to
         allegation on failure to maintain complete and accurate records, lack of security for
         controlled substances or the lack of due diligence when handing controlled substances.

     x   Assist client that are State Registered Marijuana Processors/Growers with their security of
         their products and required records to be maintained as noted in their State regulations.

     x   Developed in-service training programs tailored to meet the needs of DEA registrants
         including manufacturers, distributors, importers/exporters, hospitals/clinics, analytical labs,
         researchers, pharmacies and practitioners to include physicians and veterinarians.

  July 1997 to January 2009
  Drug Enforcement Administration
  Philadelphia Field Division
  600 Arch Street, Room 10224
  Philadelphia, PA 19106      Title: DEA Diversion Group Supervisor/Diversion Investigator


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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 132 of 141. PageID #: 166038

   July 2005 to January 31, 2009, DEA Diversion Group Supervisor

     x   Supervise a staff of 11 DEA employees. The group includes diversion investigators, special
         agents, intelligence analysts and registration/investigative assistants.
     x   Supervise complex pharmaceutical investigations resulting in civil or criminal actions by
         federal, state or local prosecutors. They included diversion of controlled substances and
         regulated listed chemicals.
   July 1997 to July 2005, DEA Diversion Investigator

     x   Responsible for regulatory functions of DEA registrants that handles controlled substances
         and regulated listed chemicals. The business activities includes manufacturers,
         importers/exporters, distributors, pharmacies, physicians, researchers and analytical labs
         authorized to handle controlled substances in Schedules I through V and regulated listed
         chemicals.
     x   Participated in unannounced inspections of regulated facilities which involved reviewing
         all the records required by DEA, and the security of the controlled substance/regulated
         listed chemical vaults and cages within the facility.
     x   Coordinated unannounced inspections of importers of legitimate regulated chemicals sold
         to distributors who divert the chemicals. Traveled to Columbia, Peru and Venezuela to
         collaborate with DEA Country Offices, national police or military to ensure that regulated
         listed chemicals imported from the United States were used for legitimate industry use.

  January 1995 to July 1997
  Drug Enforcement Administration
  Philadelphia Field Division
  600 Arch Street, Room 10224
  Philadelphia, PA 19106                                           Title: DEA Legal Technician

     x   Assigned to the Philadelphia DEA Division Asset Forfeiture Unit as a Legal Technician to
         handle assets seized from defendants or subjects of federal DEA investigations to include
         money and tangible items such as cars, boats, etc. that were proceeds obtained from illicit
         drug activities.
     x   Input information into the DEA Seizure Asset Tracking System the sharing request from
         local law enforcement entities for the sharing of assets when such seizures were adjudicated
         through the court system.

  March 1971 to January 1995
  City of Philadelphia
  Philadelphia Police Department
  801 Race Street
  Philadelphia, PA 19106                       Title: Philadelphia Police Sergeant/Police Officer

   1985 to 1995–Assigned to the Philadelphia DEA Task Force

     x   Supervised and performed undercover investigations with regards to illicit and
         pharmaceutical into the illicit market.

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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 133 of 141. PageID #: 166039

     x   Supervised and led investigations conducted by DEA special agents and Philadelphia
         police officers investigating illicit distribution of Schedule I illicit drugs such as Heroin,
         Methamphetamine, Marijuana, etc.
   1971 to 1985–Police Sergeant/Police Officer

     x   Assigned to various positions within the police department including: Mobile
         Communication, Police Radio, Civil Affairs, City-Wide Vice, and 25th Police District.

                                  EDUCATION INFORMATION

     x   May 1981–Bachelor of Art Degree, Criminal Justice, Temple University, Philadelphia,
         Pennsylvania.
     x   July 1997–Basic Diversion Investigator Training, DEA Training Center, Quantico,
         Virginia–Twelve weeks of intensive training in regulatory on-site, criminal investigation
         of pharmaceutical drugs and the use of the Controlled Substances Act/Code of Federal
         Regulations pertaining to controlled substances and regulated chemicals.

     x   May 2007–Instructor Developmental Course, DEA Training Center, Quantico, Virginia
         Three weeks of training on methods for providing a training course as part of basic training
         or continuous training of diversion investigators and special agents assigned to a DEA
         Office of Diversion group.

                              PROFESSIONAL ORGANIZATIONS

     x   Spanish American Law Enforcement Association (SALEA)
     x   National Association of Drug Diversion Investigator (NADDI)
     x   Association of Federal Narcotic Agents (AFNA)
     x   Fraternal Order of Police Lodge 5 (FOP Lodge 5)
     x   Health Care Compliance Association (HCCA)
     x   Pharmacist Society of the State of New York (PSSNY)
     x   Philadelphia Association of Retail Druggists (PARD)
     x   Pennsylvania Pharmacist’s Association (PPA)
     x   National Association of State Controlled Substances Authorities (NASCSA)

                                       Testifying Experience

  East Brunswick Animal Hospital, LLC v. Mary Kwacz, MID-L-002102-16 (N.J. Super. Ct. Law
  Div. Mar. 3, 2018) (Expert witness; deposed prior to settlement).

  U.S. v. Wiseberg et al, 2015 WL 5813379 (S.D.N.Y. July 20, 2017) (Expert witness; testified at
  trial).

  McGowan v. Platte Valley Medical Group et al, CI 12 00589 (Neb. Dist. Ct. June 6, 2013)
  (Expert witness; deposed prior to settlement).

                                             Publications

  “How to Survive a DEA Inspection Series,” available at https://www.complianceonline.com.
                                                   3
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 134 of 141. PageID #: 166040




                               APPENDIX B
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 135 of 141. PageID #: 166041




                         APPENDIX B: MATERIALS CONSIDERED


  I.     Transcripts and Expert Reports

         A.     Deposition Transcripts

  Transcript of Deposition of Anna Lembke, Apr. 24, 2019 and accompanying exhibits
  Transcript of Deposition of Blaine Snider, Nov. 8, 2018 and accompanying exhibits
  Transcript of Deposition of Demetra Ashley, Mar. 15, 2019 and accompanying exhibits
  Transcript of Deposition of Donald Walker, Jan. 10, 2019 and accompanying exhibits
  Transcript of Deposition of Gary Boggs, July 19, 2018 and accompanying exhibits
  Transcript of Deposition of Gary Boggs, Jan. 17, 2019 and accompanying exhibits
  Transcript of Deposition of Gary Hilliard, Jan. 10, 2019 and accompanying exhibits
  Transcript of Deposition of James Rafalski, May 13, 2019 and accompanying exhibits
  Transcript of Deposition of James Rafalski, May 14, 2019 and accompanying exhibits
  Transcript of Deposition of Joseph Rannazzisi, Apr. 26, 2019 and accompanying exhibits
  Transcript of Deposition of Joseph Rannazzisi, May 15, 2019 and accompanying exhibits
  Transcript of Deposition of June Howard, Apr. 25, 2019 and accompanying exhibits
  Transcript of Deposition of Kyle Wright, Feb. 28, 2019 and accompanying exhibits
  Transcript of Deposition of Kyle Wright, Mar. 4, 2019 and accompanying exhibits
  Transcript of Deposition of Kyle Wright, July 7, 2011 (United States v. $463,497.72 in US
  Currency from Best Bank, E.D. Mich. No. 08-cv-11564 (E.D. Mich. Aug. 11, 20
  Transcript of Deposition of Michael Oriente, July 25, 2018 and accompanying exhibits
  Transcript of Deposition of Seth Whitelaw, May 16, 2019 and accompanying exhibits
  Transcript of Deposition of Seth Whitelaw, May 17, 2019 and accompanying exhibits
  Transcript of Deposition of Stacy Harper-Avilla, Apr. 11, 2019 and accompanying exhibits
  Transcript of Deposition of Thomas McDonald, Dec. 7, 2018 and accompanying exhibits
  Transcript of Deposition of Thomas Prevoznik, Apr. 17, 2019 and accompanying exhibits
  Transcript of Deposition of Thomas Prevoznik, Apr. 18, 2019 and accompanying exhibits
  Transcript of Deposition of Thomas Prevoznik, May 17, 2019 and accompanying exhibits
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 136 of 141. PageID #: 166042




  Transcript of Deposition of William de Gutierrez-Mahoney, Nov. 28, 2018 and accompanying
  exhibits
         B.     Trial Transcripts

  Transcript of Trial Testimony of Kyle Wright, United States v. $463,497.72 in US Currency
  from Best Bank, E.D. Mich. No. 08-cv-11564 (E.D. Mich. Aug. 11, 2011)
         C.     Expert Reports

  Expert Report of Anna Lembke (Mar. 25, 2019) and references cited
  Expert Report of James E. Rafalski (Apr. 15, 2019) and references cited
  Expert Report of Seth Whitelaw (Apr. 15, 2019) and references and diligence files cited
  II.    Documents Produced in this Litigation

         A.     McKesson

  MCKMDL00651873. McKesson Drug Operations Manual Section 55 (1997)
  MCKMDL00545378. McKesson Drug Operations Manual Section 55 (2000)
  MCKMDL00496859. Memorandum from Michael Mapes to Joseph Rannazzisi (Oct. 20, 2005)
  MCKMDL00496876. Memorandum from Michael Mapes to Joseph Rannazzisi (Jan. 23, 2006)
  MCKMDL00571361. Letter from Paul Julian to Joseph Rannazzisi (Jan. 18, 2006)
  MCKMDL00615308. February 7, 2007 Dear Registrant Letter
  MCKMDL00660789. McKesson Monthly Controlled Substance Suspicious Purchase Report
  MCKMDL00355251. McKesson Lifestyle Drug Monitoring Program (“LDMP”) (May 16,
  2007)
  MCKMDL00355527. Letter from John Gilbert to Linden Barber, Associate Chief Counsel of
  DEA’s Division and Regulatory Litigation Section’s Office of Chief Counsel (June 12, 2007)
  MCKMDL00478906. September 27, 2006 Dear Registrant Letter
  MCKMDL00478910. December 27, 2007 Dear Registrant Letter
  MCKMDL00380758. Healthcare Distribution Management Association (“HDMA”) Industry
  Compliance Guidelines (“ICG”): Reporting Suspicious Orders and Preventing Diversion of
  Controlled Substances (2008)
  MCKMDL00565245. McKesson CSMP FAQs for Pharmacies (Apr. 2008)




                                                 2
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 137 of 141. PageID #: 166043




  MCKMDL00516360. 2008 Settlement Agreement and Release Agreement, and Administrative
  Memorandum of Agreement between the U.S. Department of Justice and DEA, and McKesson
  (May 2, 2008)
  MCKMDL00409301. McKesson Controlled Substance Monitoring Program (“CSMP”) (Aug.
  18, 2008)
  MCKMDL00355595. “McKesson Pharmaceutical Controlled Substance Monitoring Program
  (CSMP)” Presentation to DEA (July 31, 2008)
  MCKMDL00355691. Email from Donald Walker (Jan. 22, 2009)
  MCKMDL00355693. Email from Donald Walker (Jan. 22, 2009)
  MCKMDL00000933. 2009 Lovell Drug Customer Questionnaire (Apr. 13, 2009)
  MCKMDL00636016. “McKesson Pharmaceutical: Controlled Substance Monitoring Program,”
  (June 30, 2011)
  MCKMDL00449807. June 12, 2012 Dear Registrant Letter
  MCKMDL00380743. ICG, Reporting Suspicious Orders and Preventing Diversion of
  Controlled Substances (2013)
  MCKMDL00354536. CSMP (Dec. 2, 2013)
  MCKMDL00409116. Presentation to the U.S. Attorney’s Office, Northern District of West
  Virginia and DEA (Mar. 12, 2014)
  MCKMDL00355101. CSMP Threshold Change Requests (July 3, 2014)
  MCKMDL00546617. McKesson Controlled Substance Monitoring Threshold Solver (Aug. 14,
  2013)
  MCKMDL00330099. Independent Small and Medium Chains (“ISMC”) CSMP (June 1, 2015)
  MCKMDL00354887. ISMC CSMP (Sept. 30, 2015)
  MCKMDL00410006. 2017 Agreement and Release (Jan. 17, 2017)
  MCKMDL00410070. 2017 Memorandum of Agreement (Jan. 17, 2017)
  MCKMDL00409766. AGI, Suspicious Order Monitoring Threshold System for McKesson
  Independent Retail Pharmacy Customers: Description and Rationale (May 12, 2017)
  MCKMDL00355260. Retail National Accounts CSMP (Apr. 17, 2018)
        B.     Cardinal

  CAH_MDL2804_02203353. Diversion Investigators Manual, 04/16/1996
  CAH_MDL_PRIORPROD_DEA07 01176247-R. Diversion Investigators Manual, 5/18/1993


                                              3
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 138 of 141. PageID #: 166044




  CAH_MDL_PRIORPROD_HOUSE-0002207. Report to the U.S. Attorney General by the
  Suspicious Orders Task Force (Oct. 1998)
  CAH_MDL_PRIORPROD_DEA07-01198690. DEA Chemical Handler’s Manual (Jan. 2004)
  CAH_MDL2804_01447421. Regulatory Section, DEA Headquarters, ODG Presentation (2010)
  CAH_MDL2804 00953317. Diversion Investigators Manual, 9/20/2011
         C.     Purdue

  PPLPC030000179742. DEA/OD 11th Pharmaceutical Industry Conference, Risk Management
  of Pharmaceutical Controlled Substances (Sept. 16, 2003)
         D.     ABDC

  ABDCMDL00269355. Letter from Chris Zimmerman to DEA (Sept. 30, 1996)
  ABDCMDL00315789. Letter from DEA to Chris Zimmerman (Oct. 29, 1996)
  ABDCMDL00037184. DEA Pharmaceutical Industry Conference, Wholesale Distribution,
  Diversion Control Program (Sept. 11, 2007)
         E.     DEA

  US-DEA-00025656. DEA Seminar Report: Controlled Substances Manufacturers and
  Wholesalers (Apr. 7-9, 1987)
  US-DEA-00025683. Letter Ronald Buzzeo to Walgreen Company (Dec. 27, 1988)
  US-DEA-00026139. NWDA Suspicious Order Monitoring System (June 21, 1993)
  US-DEA-00026154. Letter from Gene Haislip to Phillip Jordan (Dec. 8, 1993)
  US-DEA-00025672. Letter from G. Thomas Gitchel to Bergen Brunswig Corp. (Oct. 29, 1996)
  US-DEA-00025671. DEA Letter to Chris Zimmerman (July 23, 1998)
  US-DEA-00000352. Letter from Michael Mapes to Joseph Rannazzisi (Aug. 23, 2005)
  US-DEA-00000147. Letter from Michael Mapes to William Walker (Aug. 16, 2005)
  US-DEA-00008565. Letter from DEA Containing Questions for HDMA (June 1, 2011)
  US-DEA-00008577. HDMA Questions for DEA (July 2, 2013)
  US-DEA-00008563. Email from L. Milione to D. Ashley (June 22, 2016)
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                                              4
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 139 of 141. PageID #: 166045




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Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 140 of 141. PageID #: 166046




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                                                 6
Case: 1:17-md-02804-DAP Doc #: 1964-78 Filed: 07/23/19 141 of 141. PageID #: 166047




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  To the extent not listed above, materials I relied upon in my report include all materials cited to,
  or otherwise referenced, therein.




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